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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
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                                                                    :
 In re                                                              :    Chapter 11 Case No.
                                                                    :
 LEHMAN BROTHERS HOLDINGS INC., et al., :                                08-13555 (JMP)
                                                                    :
                                     Debtors.                       :    (Jointly Administered)
                                                                    :
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             MODIFIED THIRD AMENDED JOINT CHAPTER 11 PLAN OF
         LEHMAN BROTHERS HOLDINGS INC. AND ITS AFFILIATED DEBTORS




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                                                               Debtors in Possession




 Dated: New York, New York
        November 29, 2011




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                                                  ARTICLE I
                                     Definitions and Construction of Terms

         Definitions. As used in the Plan, the following terms shall have the respective meanings
 specified below:

        1.1     Administrative Expense Claim means any right to payment constituting a cost or
 expense of administration of any of the Chapter 11 Cases under sections 503(b) and 507(a)(2) of
 the Bankruptcy Code, including, without limitation, any actual and necessary expenses of
 preserving the estates of the Debtors, any actual and necessary expenses of operating the
 businesses of the Debtors, any indebtedness or obligations incurred or assumed by the Debtors in
 connection with the conduct of their business from and after the Commencement Date, all
 compensation and reimbursement of expenses to the extent Allowed by the Bankruptcy Court
 under sections 330 or 503 of the Bankruptcy Code.

       1.2    Affiliate shall have the meaning assigned to such term in section 101(2) of the
 Bankruptcy Code, excluding a Designated Entity.

        1.3    Affiliate Claim means (a) in the case of LBHI, any Claim asserted by an Affiliate
 of LBHI, other than an Administrative Expense Claim, a Priority Non-Tax Claim, a Secured
 Claim, a Senior Affiliate Claim or a Senior Affiliate Guarantee Claim, or (b) in the case of a
 Subsidiary Debtor, any Claim asserted by an Affiliate of that Subsidiary Debtor, other than an
 Administrative Expense Claim, a Priority Non-Tax Claim or a Secured Claim.

         1.4     Allowed means, with reference to any Claim against the Debtors, (a) any Claim
 that has been listed by the Debtors in their Schedules, as such Schedules may be amended by the
 Debtors from time to time in accordance with Bankruptcy Rule 1009, as liquidated in amount
 and not disputed or contingent and for which no contrary proof of claim has been filed, (b) any
 Claim allowed hereunder, (c) any Claim that is not Disputed, (d) any Claim that is compromised,
 settled, or otherwise resolved pursuant to the authority granted to the Debtors pursuant to a Final
 Order of the Bankruptcy Court, including, without limitation, the Derivatives Procedures Order,
 or under Section 9.4 of the Plan, or (e) any Claim that, if Disputed, has been Allowed by Final
 Order; provided, however, that Claims allowed solely for the purpose of voting to accept or
 reject the Plan pursuant to an order of the Bankruptcy Court shall not be considered “Allowed
 Claims” hereunder. Unless otherwise specified herein or by order of the Bankruptcy Court,
 “Allowed Administrative Expense Claim” or “Allowed Claim” shall not, for any purpose under
 the Plan, include interest on such Administrative Expense Claim or Claim from and after the
 Commencement Date. For purposes of a Foreign Proceeding, an Allowed Claim includes a
 Claim that has been accepted or allowed in a Foreign Proceeding by settlement with a Foreign
 Administrator or Final Order of a court of competent jurisdiction.

        1.5     Available Cash means (a) all Cash of a Debtor realized from its business
 operations, the sale or other disposition of its assets, the interest earned on its invested funds,
 recoveries from Litigation Claims or from any other source or otherwise less (b) the amount of
 Cash (i) necessary to pay holders of Allowed Administrative Expense Claims, Priority Tax
 Claims, Priority Non-Tax Claims, Secured Claims, Convenience Claims and Convenience
 Guarantee Claims against such Debtor in accordance with the Plan, and (ii) estimated and


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 reserved by such Debtor to (A) adequately fund the reasonable and necessary projected costs to
 carry out the provisions of the Plan with respect to such Debtor on and after the Effective Date,
 (B) pay all fees payable under section 1930 of chapter 123 of title 28 of the United States Code
 and (C) fund and maintain any postpetition reserve requirements in connection with any
 agreements or otherwise. Available Cash shall include the applicable portions of (i) excess
 amounts retained for Disputed Claims that become available in accordance with Section 8.4 of
 the Plan, (ii) amounts represented by undeliverable Distributions in accordance with Section 8.7,
 or (iii) amounts attributable to voided checks in accordance with Section 8.9 of the Plan.

         1.6     Avoidance Actions means any actions commenced or that may be commenced
 before or after the Effective Date pursuant to sections 544, 545, 547, 548, 549, 550, 551 or 553
 of the Bankruptcy Code.

         1.7     Ballot means the form distributed to each holder of an impaired Claim that is
 entitled to vote to accept or reject the Plan.

         1.8    Bankhaus Settlement Agreement means that certain Amended and Restated
 Settlement Agreement, dated March 1, 2011, among the Debtors and certain Debtor-Controlled
 Entities and the LBB Administrator, as amended by that certain Amendment #1, dated March 18,
 2011, to the Amended and Restated Settlement Agreement, which are annexed hereto as
 Schedule 3.

         1.9     Bankruptcy Code means title 11 of the United States Code, as amended from time
 to time, as applicable to the Chapter 11 Cases.

         1.10 Bankruptcy Court means the United States Bankruptcy Court for the Southern
 District of New York having jurisdiction over the Chapter 11 Cases.

         1.11 Bankruptcy Rules means the Federal Rules of Bankruptcy Procedure, as
 promulgated by the United States Supreme Court under section 2072 of title 28 of the United
 States Code, and any Local Rules of the Bankruptcy Court.

        1.12 Barclays Sale Order means the Order Under 11 U.S.C. § § 105(a), 363, and 365
 and Federal Rules of Bankruptcy Procedure 2002, 6004 and 6006 Authorizing and Approving
 (A) the Sale of Purchased Assets Free and Clear of Liens and Other Interests and (B)
 Assumption and Assignment of Executory Contracts and Unexpired Leases, entered by the
 Bankruptcy Court on September 20, 2008 in the Chapter 11 Cases [Docket No. 258] and the
 concurrent order entered in the LBI Proceeding on September 19, 2008 [Case No. 08-1420;
 Docket No. 3].

        1.13 Bar Date Order means the Order Pursuant to Section 502(b)(9) of the Bankruptcy
 Code and Bankruptcy Rule 3003(c)(3) Establishing the Deadline for Filing Proofs of Claim,
 Approving the Form and Manner of Notice thereof and Approving the Proof of Claim Form
 approved and entered by the Bankruptcy Court on July 2, 2009 [Docket No. 4271], as the same
 may be amended from time to time.

          1.14      BNC means BNC Mortgage LLC.



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        1.15 Business Day means any day other than a Saturday, a Sunday, and any other day
 on which commercial banks in New York, New York are required or authorized to close by law
 or executive order.

          1.16      Cash means legal tender of the United States of America.

         1.17 Causes of Action means, without limitation, any and all actions, causes of action,
 controversies, liabilities, obligations, rights, suits, damages, judgments, Claims, and demands
 whatsoever, whether known or unknown, reduced to judgment, liquidated or unliquidated, fixed
 or contingent, matured or unmatured, disputed or undisputed, secured or unsecured, assertable
 directly or derivatively, existing or hereafter arising, in law, equity, or otherwise, based in whole
 or in part upon any act or omission or other event occurring prior to the Effective Date.

          1.18      CES means CES Aviation LLC.

          1.19      CES V means CES Aviation V LLC.

          1.20      CES IX means CES Aviation IX LLC.

        1.21 Chapter 11 Cases means the voluntary cases commenced by the Debtors under
 chapter 11 of the Bankruptcy Code, which are being jointly administered and are currently
 pending before the Bankruptcy Court, styled In re Lehman Brothers Holdings Inc., et al.,
 Chapter 11 Case No. 08-13555 (JMP).

       1.22 Claim shall have the meaning assigned to such term in section 101(5) of the
 Bankruptcy Code.

         1.23 Class means a category of holders of Claims or Equity Interests as set forth in
 Article III of the Plan.

         1.24 Class 10A Subordinated Notes means, collectively, (a) the Floating Rate Junior
 Subordinated Deferrable Interest Debentures due 2035 issued pursuant to the Eighth
 Supplemental Indenture, dated as of August 19, 2005, between LBHI and JPMorgan Chase
 Bank, as trustee; (b) the Fixed/Floating Rate Subordinated Notes due 2016 Series 5065, issued
 pursuant to a final term sheet dated as of September 26, 2006 under the Euro Medium-Term
 Note Program; (c) the Floating Rate Subordinated Notes due 2037 Series EB17, issued pursuant
 to a final term sheet dated as of January 23, 2007 under the Euro Medium-Term Note Program;
 (d) the Fixed/Floating Rate Subordinated Notes due 2019 Series 6222, issued pursuant to the
 final term sheet dated as of February 14, 2007 under the Euro Medium-Term Note Program; and
 (e) the Floating Rate Subordinated Notes due 2037 Series EB 18, issued pursuant to a final term
 sheet, dated as of May 30, 2007, under the Euro Medium-Term Note Program.

        1.25 Class 10B Subordinated Notes means, collectively, (a) the 6.375% Subordinated
 Deferrable Interest Debentures due 2052, issued pursuant to the Fourth Supplemental Indenture,
 dated as of March 17, 2003, between LBHI and JPMorgan Chase Bank, as trustee; (b) the
 6.375% Subordinated Deferrable Interest Debentures due October 2052, issued pursuant to the
 Fifth Supplemental Indenture, dated as of October 31, 2003, between LBHI and JPMorgan Chase
 Bank, as trustee; (c) the 6.00% Subordinated Deferrable Interest Debentures due 2053, issued


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 pursuant to the Sixth Supplemental Indenture, dated as of April 22, 2004, between LBHI and
 JPMorgan Chase Bank, as trustee; (d) the 6.24% Subordinated Deferrable Interest Debentures
 due 2054, issued pursuant to the Seventh Supplemental Indenture, dated as of January 18, 2005,
 between LBHI and JPMorgan Chase Bank, as trustee; (e) the 5.75% Subordinated Notes due
 2017, issued pursuant to the Ninth Supplemental Indenture, dated as of October 24, 2006,
 between LBHI and JPMorgan Chase Bank, as trustee; (f) the Fixed and Floating Rate
 Subordinated Notes Due 2032, issued pursuant to the Tenth Supplemental Indenture, dated as of
 May 1, 2007, between LBHI and JPMorgan Chase Bank, as trustee; (g) the 6.50% Subordinated
 Notes Due 2017, issued pursuant to the Thirteenth Supplemental Indenture, dated as of July 19,
 2007, between LBHI and The Bank of New York, as trustee; (h) the 6.875% Subordinated Notes
 Due 2037, issued pursuant to the Fourteenth Supplemental Indenture, dated as of July 19, 2007,
 between LBHI and The Bank of New York, as trustee; (i) the 6.75% Subordinated Notes Due
 2017, issued pursuant to the Fifteenth Supplemental Indenture, dated as of December 21, 2007,
 between LBHI and The Bank of New York, as trustee; and (j) the 7.50% Subordinated Notes
 Due 2038, issued pursuant to the Sixteenth Supplemental Indenture, dated as of May 9, 2008,
 between LBHI and The Bank of New York, as trustee.

         1.26 Class 10C Subordinated Notes means, collectively, (a) the 5.707% Remarketable
 Junior Subordinated Debentures due 2043, issued pursuant to the Eleventh Supplemental
 Indenture, dated as of May 17, 2007, between LBHI and U.S. Bank National Association, as
 trustee; and (b) the Floating Rate Remarketable Junior Subordinated Debentures due 2043,
 issued pursuant to the Twelfth Supplemental Indenture, dated as of May 17, 2007, between
 LBHI and U.S. Bank National Association, as trustee.

         1.27 Closing Date means the date upon which all of the Chapter 11 Cases have been
 closed in accordance with Section 6.6 of the Plan.

        1.28 Collateral means any property or interest in Property of the Estates of the Debtors
 subject to a Lien to secure the payment of a Claim, which Lien is not subject to avoidance or
 otherwise invalid and unenforceable under the Bankruptcy Code or applicable non-bankruptcy
 law.

         1.29 Commencement Date means (a) September 15, 2008 with respect to LBHI, (b)
 September 16, 2008 with respect to LB 745, (c) September 23, 2008 with respect to PAMI
 Statler, (d) October 3, 2008 with respect to LBCS, LBSF and LOTC, (d) October 5, 2008 with
 respect to LBDP, LCPI, LBCC, LBFP, CES, CES V, CES IX, East Dover and LS Finance, (e)
 January 7, 2009 with respect to LUXCO, (f) January 9, 2009 with respect to BNC, (g) February
 9, 2009 with respect to SASCO and LB Rose Ranch, (h) April 23, 2009 with respect to LB 2080,
 (i) December 14, 2009 with respect to Merit, and (j) December 22, 2009 with respect to
 Somerset and Preferred Somerset.

       1.30 Confirmation Date means the date upon which the Bankruptcy Court enters a
 Confirmation Order on the docket of the Chapter 11 Cases as applicable to each Debtor.

       1.31 Confirmation Hearing means the hearing held by the Bankruptcy Court, as the
 same may be continued from time to time, to consider confirmation of the Plan.




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        1.32 Confirmation Order means an order of the Bankruptcy Court confirming the Plan
 pursuant to section 1129 of the Bankruptcy Code as applicable to each Debtor.

        1.33 Contributing Class means each of LBHI Class 5, LBHI Class 9A, LCPI Class 4A,
 LCPI Class 4B, LCPI Class 5B, LCPI Class 5C, LBCS Class 4, LBCS Class 5B, LBCS Class
 5C, LBSF Class 4A, LBSF Class 5B, LBSF Class 5C, LOTC Class 4, LOTC Class 5B, LOTC
 Class 5C, LBCC Class 4, LBCC Class 5B and LBCC Class 5C.

         1.34 Convenience Claim means any Senior Unsecured Claim or General Unsecured
 Claim other than a Claim on account of a public debt security issued by LBHI, a Claim asserted
 by a nominee on behalf of one or more beneficial holders of such Claim or a Claim of a
 Designated Entity that is (a) Allowed in an amount of fifty thousand dollars ($50,000) or less or
 (b) Allowed in an amount greater than fifty thousand dollars ($50,000) but which is reduced to
 fifty thousand dollars ($50,000) (i) by an irrevocable written election by the holder of such
 Allowed Claim made on a properly delivered Ballot or (ii) pursuant to a settlement agreement
 between the applicable Debtor and holder of such Claim entered into after the Voting Deadline;
 provided, however that (1) any Claim that was Allowed in excess of fifty thousand dollars
 ($50,000) may not be subdivided into multiple Claims of fifty thousand dollars ($50,000) or less
 for purposes of receiving treatment as a Convenience Claim, (2) Claims in the same Class held
 by a Creditor shall be aggregated for purposes of determining whether such Claims are eligible
 to be Convenience Claims, (3) Claims acquired after the Commencement Date shall not be
 aggregated unless such Claims are in the same Classes, are held by a Creditor and were
 originally held by one Creditor, and (4) Claims held by a Creditor prior to the Commencement
 Date shall not be aggregated with Claims acquired by such Creditor after the Commencement
 Date.

         1.35 Convenience Guarantee Claim means any Senior Third-Party Guarantee Claim or
 Third-Party Guarantee Claim other than a Claim on account of a public debt security issued by
 LBHI, a Claim asserted by a nominee on behalf of one or more beneficial holders of such Claim
 or a Claim of a Designated Entity that is (a) Allowed in an amount of fifty thousand dollars
 ($50,000) or less or (b) Allowed in an amount greater than fifty thousand dollars ($50,000) but
 which is reduced to fifty thousand dollars ($50,000) (i) by an irrevocable written election by the
 holder of such Allowed Claim made on a properly delivered Ballot or (ii) pursuant to a
 settlement agreement between the applicable Debtor and holder of such Claim entered into after
 the Voting Deadline; provided, however that (1) any Claim that was Allowed in excess of fifty
 thousand dollars ($50,000) may not be subdivided into multiple Claims of fifty thousand dollars
 ($50,000) or less for purposes of receiving treatment as a Convenience Guarantee Claim, (2)
 Claims in the same Class held by a Creditor shall be aggregated for purposes of determining
 whether such Claims are eligible to be Convenience Guarantee Claims, (3) Claims acquired after
 the Commencement Date shall not be aggregated unless such Claims are in the same Classes, are
 held by a Creditor and were originally held by one Creditor, and (4) Claims held by a Creditor
 prior to the Commencement Date shall not be aggregated with Claims acquired by such Creditor
 after the Commencement Date.

       1.36 Creditor shall have the meaning assigned to such term in section 101(10) of the
 Bankruptcy Code.



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        1.37 Creditors’ Committee means the statutory committee of unsecured creditors
 appointed in the Chapter 11 Cases pursuant to section 1102 of the Bankruptcy Code.

        1.38 Debtor means BNC, CES, CES V, CES IX, East Dover, LB 745, LB 2080, LB
 Rose Ranch, LBCC, LBCS, LBDP, LBFP, LBHI, LBSF, LCPI, LOTC, LS Finance, LUXCO,
 Merit, PAMI Statler, Preferred Somerset, SASCO and Somerset, each in its individual capacity
 as debtor and debtor in possession in its Chapter 11 Case pursuant to sections 101(13), 1107(a)
 and 1108 of the Bankruptcy Code.

         1.39 Debtor Allocation Agreement means the agreement contained in the Plan
 Supplement among two or more of the Debtors that identifies, allocates and sets forth other
 agreed rights and obligations with respect to (a) the costs and benefits of Jointly Owned
 Litigation Claims, (b) commonly held tax benefits and obligations, (c) expenses of
 administration of the Chapter 11 Cases, and (d) certain other inter-Debtor related issues.

         1.40 Debtors’ Claims Schedule means the schedule attached hereto as Schedule 2
 setting forth the amounts of Senior Affiliate Claims, Senior Affiliate Guarantee Claims or
 Affiliate Claims, as applicable, of a Debtor against another Debtor.

       1.41 Debtor-Controlled Entity means a non-Debtor Affiliate of the Debtors that is
 managed and controlled by a Debtor as of the Effective Date.

        1.42        Designated Entity means each of the Racers Trusts and the holder of the Fenway
 Claims.

         1.43 Derivatives Procedures Order means the Order Pursuant to Sections 105 and 365
 of the Bankruptcy Code to Establish Procedures for the Settlement or Assumption or Assignment
 of Prepetition Derivatives Contracts, approved and entered by the Bankruptcy Court on
 December 16, 2008 [Docket No. 2257], as amended or may be amended from time to time.

        1.44 Director Selection Committee means the committee established pursuant to
 Section 7.2(b) of the Plan, the members of which are identified in the Plan Supplement.

        1.45 Disclosure Statement means that certain disclosure statement relating to the Plan,
 including, without limitation, all exhibits and schedules thereto, as approved by the Bankruptcy
 Court pursuant to section 1125 of the Bankruptcy Code.

         1.46 Disputed means, with reference to any Claim, (a) any Claim proof of which was
 timely and properly filed that is (i) disputed in whole or in part under the Plan, including, without
 limitation, any Senior Affiliate Claim, Senior Affiliate Guarantee Claim or Affiliate Claim that is
 not Allowed in accordance with Section 6.5(b) of the Plan, or (ii) as to which a timely objection
 and/or request for estimation has been interposed, which objection and/or request for estimation
 has not been withdrawn or determined by a Final Order, or (b) any Claim, proof of which was
 required to be filed by the Bar Date Order or another Final Order of the Bankruptcy Court in a
 form and manner proscribed in such order, but as to which a proof of Claim was not timely or
 properly filed.




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          1.47      Distribution means any initial or subsequent payment or transfer made under the
 Plan.

         1.48 Distribution Date means any date on which a Distribution is made upon at least
 thirty (30) Business Days written notice filed on the docket of the Chapter 11 Cases or otherwise
 communicated to holders of Allowed Claims.

          1.49      East Dover means East Dover Limited.

         1.50 Effective Date means the first Business Day on which the conditions to
 effectiveness of the Plan set forth in Article XII have been satisfied or waived and on which the
 Plan shall become effective with respect to a Debtor.

        1.51 Equity Interest means (a) shares of common stock, preferred stock, other forms of
 ownership interest, or any other equity security (as defined in section 101(16) of the Bankruptcy
 Code) in any Debtor that was in existence immediately prior to or on the Commencement Date
 for such Debtor, and (b) Allowed Claims against LBHI arising out of, relating to, or in
 connection with any of the foregoing that are subject to section 510(b) of the Bankruptcy Code.

        1.52 Excess LBSF Settlement Amount means the Distributions, if any, made in
 accordance with the last sentence of Section 6.5(f) of the Plan to holders of Allowed Claims in
 LBSF Class 5A in the event holders of Allowed Claims in LBSF Class 4A are satisfied in full.

        1.53 Excess LCPI Settlement Amount means the Distributions, if any, made in
 accordance with the last sentence of Section 6.5(e) of the Plan to holders of Allowed Claims in
 LCPI Class 5A in the event holders of Allowed Claims in LCPI Class 4A are satisfied in full.

         1.54 Excess Plan Adjustment means the Distributions (including the Plan Adjustment),
 if any, made in accordance with the last sentence of Section 6.5(a) of the Plan in the event that
 holders of Allowed Claims in an LBHI Class 3 or LBHI Class 7 are satisfied in full to
 Participating Debtors for the exclusive benefit of (i) holders of Allowed Claims in such
 Participating Debtors’ Contributing Classes and, in addition to the foregoing, (ii) (A) in the case
 of LBHI, LBHI Class 9B or (B) in the case of LBSF, LBSF Class 4B.

        1.55 Excess Plan Adjustment Portion means, with respect to each Contributing Class
 and LBHI Class 9B and LBSF Class 4B, (a) if the Excess Plan Adjustment is equal to the Plan
 Adjustment, the portion of the Plan Adjustment contributed by such Contributing Class, LBHI
 Class 9B or LBSF Class 4B and (b) if the Excess Plan Adjustment is less than the Plan
 Adjustment, the portion of the Excess Plan Adjustment that bears the same relationship to the
 Excess Plan Adjustment as the portion of the Plan Adjustment contributed by such Contributing
 Class, LBHI Class 9B or LBSF Class 4B bears to the Plan Adjustment, contributed by all
 Contributing Classes and LBHI Class 9B and LBSF Class 4B.

         1.56 Fenway Claim means the Claim asserted by LBHI in connection with the Fenway
 transaction, which shall be Allowed in accordance with Section 6.5(h) of the Plan.

       1.57 Final Order means an order of the Bankruptcy Court or any other court of
 competent jurisdiction as to which the time to appeal, petition for certiorari, or move for


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 reargument or rehearing has expired and as to which no appeal, petition for certiorari, or other
 proceedings for reargument or rehearing shall then be pending or as to which any right to appeal,
 petition for certiorari, reargue, or rehear shall have been waived in writing in form and substance
 satisfactory to the Debtors or, in the event that an appeal, writ of certiorari, or reargument or
 rehearing thereof has been sought, such order of the Bankruptcy Court or other court of
 competent jurisdiction shall have been determined by the highest court to which such order was
 appealed, or certiorari, reargument, or rehearing shall have been denied and the time to take any
 further appeal, petition for certiorari, or move for reargument or rehearing shall have expired;
 provided, however, that the possibility that a motion under Rule 59 or Rule 60 of the Federal
 Rules of Civil Procedure, or any analogous rule under the Bankruptcy Rules or applicable law,
 may be filed with respect to such order shall not cause such order not to be a Final Order.

         1.58 Foreign Administrator means each of the persons or entities that is managing the
 affairs and representing the insolvency estate of a Non-Controlled Affiliate that is subject to a
 Foreign Proceeding.

         1.59 Foreign Proceeding means an insolvency, administration, liquidation,
 rehabilitation, receivership or like proceeding commenced by or initiated against a Non-
 Controlled Affiliate in a jurisdiction outside of the United States.

        1.60 General Unsecured Claim means, (a) in the case of LBHI, any Claim other than
 an Administrative Expense Claim, a Priority Tax Claim, a Priority Non-Tax Claim, a Secured
 Claim, a Senior Unsecured Claim, a Senior Affiliate Claim, a Senior Affiliate Guarantee Claim,
 a Senior Third-Party Guarantee Claim, an Affiliate Claim, a Third-Party Guarantee Claim, a
 Subordinated Claim or a Section 510(b) Claim, or (b) in the case of each Subsidiary Debtor, any
 Claim other than an Administrative Expense Claim, a Priority Tax Claim, a Priority Non-Tax
 Claim, a Secured Claim or an Affiliate Claim.

        1.61 Governmental Unit shall have the meaning assigned to such term in section
 101(27) of the Bankruptcy Code.

         1.62 Guarantee Claim means a Claim asserted against LBHI on the basis of a
 guarantee, promise, pledge, indemnity or similar agreement by LBHI (a) to satisfy an obligation
 or liability of another entity or (b) with respect to asset values, collection or net worth of another
 entity.

         1.63 Hong Kong Lehman Entities In Liquidation shall have the meaning assigned to
 such term in the Hong Kong Settlement Agreement.

         1.64 Hong Kong Settlement Agreement means that certain Settlement and Plan
 Support Agreement, dated July 31, 2011, among the Debtors and the Hong Kong Lehman
 Entities In Liquidation, which is annexed hereto as Schedule 5.

        1.65 Independent Directors means Michael L. Ainslie, John F. Akers, Roger S.
 Berlind, Thomas H. Cruikshank, Marsha Johnson Evans, Sir Christopher Gent, Jerry A.
 Grundhofer, Roland A. Hernandez, Henry Kaufman and John D. Macomber.




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         1.66 Intercompany Funding Balance means that portion of LBHI’s Claim against a
 Subsidiary Debtor, in the amount reflected on page 3 of the Debtors’ Claims Schedule, that
 relates to the funding of operations of such Subsidiary Debtor but does not relate to specific
 transactions, such as derivative contracts or repurchase agreements.

          1.67      IRS means the Internal Revenue Service.

         1.68 Jointly Owned Litigation Claims means any Litigation Claims that may be, are or
 are asserted to be owned, either jointly or individually, by one or more of the Debtors.

          1.69      LAMCO means LAMCO Holdings LLC and its subsidiary Affiliates.

          1.70      LB 745 means LB 745 LLC.

          1.71      LB 2080 means LB 2080 Kalakaua Owners LLC.

          1.72      LBB means Lehman Brothers Bankhaus AG (in Insolvenz).

        1.73 LBB Administrator means Dr. Michael C. Frege in his capacity as insolvency
 administrator (Insolvenzverwalter) of LBB.

          1.74      LBCC means Lehman Brothers Commercial Corporation.

          1.75      LBCS means Lehman Brothers Commodities Services Inc.

          1.76      LBDP means Lehman Brothers Derivative Products Inc.

          1.77      LBFP means Lehman Brothers Financial Products Inc.

          1.78      LBHI means Lehman Brothers Holdings Inc.

         1.79 LBHI Stock means the common or preferred stock of LBHI outstanding on the
 Effective Date.

          1.80      LBI means Lehman Brothers Inc.

         1.81 LBI Proceeding means the proceeding commenced under the Securities Investor
 Protection Act of 1970, as amended, with respect to LBI.

          1.82      LB Rose Ranch means LB Rose Ranch LLC.

          1.83      LBSF means Lehman Brothers Special Financing Inc.

         1.84 LBSF Additional Settlement Amount means the first $70 million that is recovered
 by LBSF in respect of “Total Assets” in excess of $14,156,000,000, the amount of “Total
 Assets” of LBSF estimated in Exhibit 4 to the Disclosure Statement, dated June 29, 2011, which
 shall be distributed to only holders of Allowed Claims in LBSF Class 4A and LBSF Class 5C in
 accordance with Section 6.5(d) of the Plan.



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         1.85 LBSF Settlement Amount means the first $100 million of Distributions made to
 LBHI on account of its Allowed Affiliate Claim against LBSF that shall be automatically
 redistributed in accordance with Section 6.5(f) of the Plan.

          1.86      LBSN means Lehman Brothers Securities N.V.

          1.87      LBT means Lehman Brothers Treasury Co. B.V.

         1.88 LBT Trustees means Rutger J. Schimmelpenninck and Frédéric Verhoeven, in
 their capacity as bankruptcy trustees (curatoren) for LBT.

        1.89 LBT Settlement Agreement that certain Settlement Agreement, dated August 30,
 2011, among the Debtors and the LBT Trustees, which is annexed hereto as Schedule 6.

          1.90      LCPI means Lehman Commercial Paper Inc.

         1.91 LCPI Settlement Amount means the first $100 million of Distributions made to
 LBHI on account of its Allowed Affiliate Claim against LCPI that shall be automatically
 redistributed in accordance with Section 6.5(e) of the Plan.

         1.92 Lehman means LBHI together with all of its direct and indirect Affiliates existing
 on or after the LBHI Commencement Date.

          1.93      Lehman ALI means Lehman ALI Inc.

       1.94 Lehman Singapore Entities means the Lehman Singapore Liquidation Companies
 and the Lehman Singapore Non-Liquidation Companies as such terms are defined in the
 Singapore Settlement Agreement.

       1.95 Lien shall have the meaning assigned to such term in section 101(37) of the
 Bankruptcy Code.

         1.96 Liquidating Trust means a trust that may be created after the Effective Date in
 accordance with the provisions of Article X of the Plan and a Liquidating Trust Agreement for
 the benefit of holders of Allowed Claims or Equity Interests and as determined by the Plan
 Administrator consistent with the purposes of any such Liquidating Trust pursuant to Section
 10.2 of the Plan.

        1.97 Liquidating Trust Agreement means an agreement evidencing the terms and
 provisions governing a Liquidating Trust that shall be entered into prior to the establishment of
 such Liquidating Trust and pursuant to which a Liquidating Trustee shall manage and administer
 Liquidating Trust Assets.

         1.98 Liquidating Trust Assets means the assets of a Debtor or Debtor-Controlled Entity
 to be transferred to a Liquidating Trust as may be determined by the Plan Administrator, which
 shall be described in a Liquidating Trust Agreement.




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        1.99 Liquidating Trust Beneficiaries means those holders of Allowed Claims against or
 Equity Interests in a Debtor to the extent such holders receive Liquidating Trust Interests.

        1.100 Liquidating Trustee means the person or entity appointed by the Plan
 Administrator prior to the creation of a Liquidating Trust to administer such Liquidating Trust in
 accordance with the provisions of Article X of the Plan and a Liquidating Trust Agreement;
 provided, however, that under no circumstance shall a Liquidating Trustee be a director or officer
 with respect to any entity over which the Liquidating Trust has control.

         1.101 Liquidating Trust Interests means the non-certificated beneficial interests of a
 Liquidating Trust allocable to holders of Allowed Claims and/or Equity Interests in accordance
 with the terms and conditions of a Liquidating Trust Agreement, which may or may not be
 transferable.

          1.102 Litigation Claims means any and all Causes of Action held by a Debtor.

          1.103 LOTC means Lehman Brothers OTC Derivatives Inc.

          1.104 LS Finance means Lehman Scottish Finance L.P.

          1.105 LUXCO means Luxembourg Residential Properties Loan Finance S.a.r.l.

          1.106 Merit means Merit, LLC.

        1.107 New Securities means the securities that may be distributed by a Debtor or
 Debtor-Controlled Entity after the Effective Date to the holders of Allowed Claims against or
 Equity Interests in such Debtor representing an interest in an existing or newly formed entity of a
 Debtor or Debtor-Controlled Entity pursuant to and in a manner consistent with Section 15.2 of
 the Plan.

         1.108 Non-Controlled Affiliate means an Affiliate of the Debtors that is not currently
 managed and controlled by a Debtor as of the Effective Date, including, without limitation, all
 Affiliates that are subject to a Foreign Proceeding and LBI.

        1.109 Opco Plan Proponents means those entities that are “Non-Consolidation Plan
 Proponents,” as identified in Schedule A to the Joint Chapter 11 Plan For Lehman Brothers
 Holdings Inc. and Its Affiliated Debtors Other Than Merit, LLC, LB Somerset, LLC and LB
 Preferred Somerset LLC Proposed by Non-Consolidation Plan Proponents, filed on April 25,
 2011 [Docket No. 16229], that have Claims against LBSF and LCPI.

         1.110 Ordinary Course Professional Order means the Amended Order Pursuant to
 Sections 105(a), 327, 328, and 330 of the Bankruptcy Code Authorizing the Debtors to Employ
 Professionals Utilized in the Ordinary Course of Business, approved and entered by the
 Bankruptcy Court on March 25, 2010 [Docket No. 7822], as the same may be amended from
 time to time.

          1.111 PAMI Statler means PAMI Statler Arms LLC.



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        1.112 Participating Debtors means LBHI together with each of the Participating
 Subsidiary Debtors.

          1.113 Participating Subsidiary Debtor means LCPI, LBSF, LOTC, LBCC or LBCS.

         1.114 Plan means, collectively, the chapter 11 plans of each of the Debtors, and (where
 specified herein) individually, the chapter 11 plan of each Debtor, including, without limitation,
 the Plan Supplement and all exhibits, supplements, appendices, and schedules hereto, either in its
 present form or as each of the foregoing may be altered, amended or modified from time to time.

         1.115 Plan Administrator means LBHI pursuant to the authority granted in Section 6.1
 of the Plan.

        1.116 Plan Adjustment means the sum of (a) the Racers Adjustment and (b) the sum of
 (i) each of the Distributions (excluding Distributions on account of the LBSF Settlement
 Amount, the LBSF Additional Settlement Amount and the LCPI Settlement Amount) made to
 holders of Allowed Claims in each Contributing Class, multiplied by (ii) the Plan Adjustment
 Percentage applicable to each such Contributing Class, that shall be redistributed in accordance
 with Section 6.5(a) of the Plan.

        1.117 Plan Adjustment Percentage means the percentage applicable to a Contributing
 Class of a Participating Debtor as set forth on Schedule 1 hereto.

         1.118 Plan Supplement means the document containing the forms of documents
 specified in Section 15.5 of the Plan.

         1.119 Plan Support Agreement means an agreement to support the Plan that has been or
 will be executed by a PSA Creditor.

        1.120 Plan Trust means the trust established under New York law to hold the Plan Trust
 Stock on and after the Effective Date.

         1.121 Plan Trust Agreement means the agreement contained in the Plan Supplement
 creating and setting forth the terms and conditions that shall govern the Plan Trust.

        1.122 Plan Trust Stock means one new share of LBHI common stock to be issued to the
 Plan Trust upon cancellation of the LBHI Stock in accordance with Section 4.17(b) of the Plan.

         1.123 Plan Trustee means any of the persons acting as trustee of the Plan Trust pursuant
 to Section 7.4 of the Plan.

          1.124 Preferred Somerset means LB Preferred Somerset LLC.

        1.125 Primary Claim means a Claim against a Primary Obligor for which a
 corresponding Guarantee Claim has been asserted.

         1.126 Primary Obligor means an entity other than LBHI that is purportedly obligated or
 liable on a Claim with respect to which a Guarantee Claim has been asserted.


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       1.127 Priority Non-Tax Claim means any Claim, other than an Administrative Expense
 Claim or a Priority Tax Claim, entitled to priority in payment under section 507(a) of the
 Bankruptcy Code or, to the extent applicable, 12 U.S.C. § 4617(b)(15).

         1.128 Priority Tax Claim means any Claim of a Governmental Unit of the kind entitled
 to priority in payment as specified in sections 502(i) and 507(a)(8) of the Bankruptcy Code.

        1.129 Property of the Estate means all property of a Debtor pursuant to section 541 of
 the Bankruptcy Code.

         1.130 Pro Rata Share means with respect to an Allowed Claim or Equity Interest (a)
 within the same Class, the proportion that an Allowed Claim or Equity Interest bears to the sum
 of all Allowed Claims and Disputed Claims or Allowed Equity Interests and Disputed Equity
 Interests within such Class, or (b) among all Classes, the proportion that a Class of Allowed
 Claims bears to the sum of all Allowed Claims and Disputed Claims; provided, however, that
 Administrative Expense Claims, Priority Tax Claims, Priority Non-Tax Claims, Secured Claims,
 Convenience Claims, Convenience Guarantee Claims and Section 510(b) Claims shall not be
 considered for purposes of “Pro Rata Share” among all Classes; provided, further, however, that
 only the following Claims shall be considered in the determination of “Pro Rata Share” among
 all Classes with respect to the following Distributions:

                (i)   Available Cash in the case of LBHI: Senior Unsecured Claims, Senior
 Affiliate Claims, Senior Affiliate Guarantee Claims, Senior Third-Party Guarantee Claims,
 General Unsecured Claims, Affiliate Claims, Third-Party Guarantee Claims and Subordinated
 Claims.

               (ii)    Available Cash in the case of a Subsidiary Debtor: General Unsecured
 Claims and Affiliate Claims.

               (iii) LBSF Settlement Amount: General Unsecured Claims against LBSF other
 than Claims of any of the Racers Trusts.

               (iv)   LBSF Additional Settlement Amount: (1) General Unsecured Claims
 against LBSF other than Claims of any of the Racers Trusts, and (2) Affiliate Claims against
 LBSF other than Claims of any of the Participating Debtors.

               (v)    LCPI Settlement Amount: General Unsecured Claims against LCPI other
 than Claims of any Designated Entity.

              (vi)   Plan Adjustment: Senior Unsecured Claims against LBHI and General
 Unsecured Claims against LBHI.

                (vii) Subordinated Class 10A Distribution:       Senior Unsecured Claims and
 Senior Affiliate Claims.

                (viii) Subordinated Class 10B Distribution: Senior Unsecured Claims, Senior
 Affiliate Claims, Senior Affiliate Guarantee Claims and Senior Third-Party Guarantee Claims.



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                (ix)  Subordinated Class 10C Distribution: Senior Unsecured Claims, Senior
 Affiliate Claims, Senior Affiliate Guarantee Claims, Senior Third-Party Guarantee Claims,
 Subordinated Class 10A Claims and Subordinated Class 10B Claims.

         1.131 PSA Creditor means any Creditor identified on Schedule 4 (as the same may be
 amended from time to time) that is a party to a Plan Support Agreement with the Debtors that has
 not been terminated, and the Ad Hoc Group of Lehman Brothers Creditors, and each former,
 current and future member thereof that executes a Plan Support Agreement prior to the hearing
 to consider approval of the Disclosure Statement, and each of its officers, directors, managers,
 members, accountants, financial advisors, investment bankers, agents, restructuring advisors,
 attorneys, representatives or other professionals serving during the pendency of the Chapter 11
 Cases (solely in their capacity as officers, directors, managers, members, accountants, financial
 advisors, investment bankers, agents, restructuring advisors, attorneys, representatives or other
 professionals serving during the pendency of the Chapter 11 Cases).

         1.132 Racers 2007-A Trust means the Restructured Assets with Enhanced Returns
 Series 2007-A Trust.

         1.133 Racers Adjustment means the Distributions made to the Racers 2007-A Trust on
 account of (a) in the case of LBSF, $1 billion of its Allowed Claim against LBSF or (b) in the
 case of LBHI, $1 billion of its Allowed Guarantee Claim against LBHI.

      1.134 Racers MM Trust means the Restructured Assets with Enhanced Returns 2007-7-
 MM Trust.

          1.135 Racers Trusts means the Racers 2007-A Trust and the Racers MM Trust.

         1.136 Released Parties means, collectively, and in each case, solely in such capacity, the
 Debtors, the Independent Directors, the Plan Administrator, the Creditors’ Committee, each
 current and former member of the Creditors’ Committee and, with respect to each of the
 foregoing, their respective officers, directors, managers, members, accountants, financial
 advisors, investment bankers, agents, restructuring advisors, attorneys, representatives or other
 professionals serving during the pendency of the Chapter 11 Cases (solely in their capacity as
 officers, directors, managers, members, accountants, financial advisors, investment bankers,
 agents, restructuring advisors, attorneys, representatives or other professionals serving during the
 pendency of the Chapter 11 Cases).

          1.137 SASCO means Structured Asset Securities Corporation.

        1.138 Schedules means the schedules of assets and liabilities, schedules of current
 income and current expenditures and the statements of financial affairs filed by the Debtors as
 required by section 521 of the Bankruptcy Code and Bankruptcy Rule 1007, including any
 supplements or amendments thereto through the Confirmation Date.

        1.139 Secured Claim means any Claim (a) to the extent reflected in the Schedules or
 upon a proof of Claim as a Secured Claim, which is secured by a Lien on Collateral to the extent
 of the value of such Collateral, as determined in accordance with section 506(a) of the



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 Bankruptcy Code or (b) that is subject to a valid right of setoff pursuant to section 553 of the
 Bankruptcy Code.

        1.140 Section 510(b) Claim means any Claim against LBHI that is subject to section
 510(b) of the Bankruptcy Code other than any Claim arising out of, relating to, or in connection
 with Equity Interests in LBHI.

         1.141 Senior Affiliate Claim means any Claim asserted by an Affiliate of LBHI that is
 entitled to a contractual right of priority in payment to all Subordinated Claims (excluding an
 “Other Financial Obligation” as defined in the Class 10B Subordinated Notes or Class 10C
 Subordinated Notes), other than a Senior Affiliate Guarantee Claim.

         1.142 Senior Affiliate Guarantee Claim means any Guarantee Claim asserted by an
 Affiliate of LBHI that is entitled to a contractual right of priority in payment to Subordinated
 Class 10B Claims and Subordinated Class 10C Claims, but not Subordinated Class 10A Claims
 (excluding an “Other Financial Obligation” as defined in the Class 10B Subordinated Notes or
 Class 10C Subordinated Notes).

       1.143 Senior Notes means, collectively, the various notes issued by LBHI as to which
 Wilmington Trust Co. serves as indenture trustee.

         1.144 Senior Third-Party Guarantee Claim means any Guarantee Claim asserted by a
 third-party that is not an Affiliate of LBHI that is entitled to a contractual right of priority in
 payment to Subordinated Class 10B Claims and Subordinated Class 10C Claims, but not
 Subordinated Class 10A Claims (excluding an “Other Financial Obligation” as defined in the
 Class 10B Subordinated Notes or Class 10C Subordinated Notes).

        1.145 Senior Unsecured Claim means any Claim against LBHI that is entitled to a
 contractual right of priority in payment to all Subordinated Claims (excluding an “Other
 Financial Obligation” as defined in the Class 10B Subordinated Notes or Class 10C
 Subordinated Notes), other than a Senior Affiliate Claim, Senior Affiliate Guarantee Claim and
 Senior Third-Party Guarantee Claim.

       1.146 Singapore Settlement Agreement means that certain Settlement Agreement, dated
 August 24, 2011, among the Debtors, certain Debtor-Controlled Entities and the Lehman
 Singapore Entities, which is annexed hereto as Schedule 7.

        1.147 SIPA Trustee means James W. Giddens as trustee appointed under the Securities
 Investor Protection Act of 1970 to administer LBI’s estate.

          1.148 Somerset means LB Somerset LLC.

         1.149 Stock Trading Restrictions Order means the Order Pursuant to Sections 105(a)
 and 362 of the Bankruptcy Code Approving Restrictions on Certain Transfers of Interests in the
 Debtors’ Estates and Establishing Notification Procedures Relating Thereto [Docket No. 1386],
 as the same may be amended from time to time.




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         1.150 Structured Securities Claims means the Claims against LBHI arising out of
 structured securities issued or guaranteed by LBHI, which Claims are listed in Exhibit A to the
 Structured Securities Motion.

        1.151 Structured Securities Motion means the Motion Pursuant to Sections 105(a) and
 502(b) of the Bankruptcy Code and Bankruptcy Rule 9019 for Approval of Procedures for
 Determining the Allowed Amount of Claims Filed Based on Structured Securities Issued or
 Guaranteed by Lehman Brothers Holdings Inc., filed substantially contemporaneously with the
 Plan.

         1.152 Structured Securities Order means an order of the Bankruptcy Court granting the
 Structured Securities Motion and approving the procedures for the allowance of Structured
 Securities Claims pursuant to the Structured Securities Valuation Methodologies.

        1.153 Structured Securities Valuation Methodologies means the methodologies annexed
 as Exhibit 11 to the Disclosure Statement for the valuation of Structured Securities Claims.

        1.154 Subordinated Class 10A Distribution means the total Distribution that would have
 been made to holders of Allowed Subordinated Class 10A Claims but for the reallocation of such
 Distribution pursuant to Section 6.4 of the Plan.

        1.155 Subordinated Class 10B Distribution means the total Distribution that would have
 been made to holders of Allowed Subordinated Class 10B Claims but for the reallocation of such
 Distribution pursuant to Section 6.4 of the Plan.

        1.156 Subordinated Class 10C Distribution means the total Distribution that would have
 been made to holders of Allowed Subordinated Class 10C Claims but for the reallocation of such
 Distribution pursuant to Section 6.4 of the Plan.

        1.157 Subordinated Claim means any Subordinated Class 10A Claim, Subordinated
 Class 10B Claim or Subordinated Class 10C Claim.

        1.158 Subordinated Class 10A Claim means any Claim against LBHI arising under the
 Class 10A Subordinated Notes.

        1.159 Subordinated Class 10B Claim means any Claim against LBHI arising under the
 Class 10B Subordinated Notes.

        1.160 Subordinated Class 10C Claim means any Claim against LBHI arising under the
 Class 10C Subordinated Notes.

       1.161 Subordinated Notes means, collectively, the Class 10A Subordinated Notes, Class
 10B Subordinated Notes and Class 10C Subordinated Notes.

          1.162 Subsidiary Debtor means each of the Debtors other than LBHI.

          1.163 Third-Party Guarantee Claim means any Guarantee Claim asserted by an entity
 that is not an Affiliate of LBHI other than a Senior Third-Party Guarantee Claim.


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       1.164 Voting Deadline means the date fixed by the Bankruptcy Court as the last date
 upon which holders of Claims may vote to accept or reject the Plan

         Rules of Construction. Wherever from the context it appears appropriate, each term
 stated in either the singular or the plural shall include both the singular and the plural and
 pronouns stated in the masculine, feminine, or neuter gender shall include the masculine,
 feminine, and neuter. Unless otherwise specified, all section, article, schedule, or exhibit
 references in the Plan are to the respective Section in, Article of, Schedule to, or Exhibit to, the
 Plan. The words “herein,” “hereof,” “hereto,” “hereunder,” and other words of similar import
 refer to the Plan as a whole and not to any particular section, subsection, or clause contained in
 the Plan. The rules of construction contained in section 102 of the Bankruptcy Code shall apply
 to the construction of the Plan. The headings in the Plan are for convenience of reference only
 and shall not limit or otherwise affect the provisions of the Plan.

                                                 ARTICLE II
                                          Treatment of Administrative
                                     Expense Claims and Priority Tax Claims

         2.1     Administrative Expense Claims. Except to the extent that a holder of an Allowed
 Administrative Expense Claim has been paid by a Debtor prior to the Effective Date or agrees to
 less favorable treatment, each holder of an Allowed Administrative Expense Claim shall receive
 Cash from the Debtor obligated for the payment of such Allowed Administrative Expense Claim
 in an amount equal to the Allowed amount of such Administrative Expense Claim on the later of
 the Effective Date and the date such Administrative Expense Claim becomes an Allowed
 Administrative Expense Claim, or as soon thereafter as is practicable; provided, however, that
 Allowed Administrative Expense Claims representing liabilities incurred in the ordinary course
 of business by a Debtor or other obligations incurred by such Debtor shall be paid in full and
 performed by such Debtor in the ordinary course of business in accordance with the terms and
 subject to the conditions of any agreements governing, instruments evidencing, or other
 documents relating to such transactions.

         2.2    Professional Compensation and Reimbursement Claims.                  Other than a
 professional retained by the Debtors pursuant to the Ordinary Course Professional Order, any
 entity seeking an award of the Bankruptcy Court of compensation for services rendered and/or
 reimbursement of expenses incurred on behalf of the Debtors and the Creditors’ Committee
 through and including the Effective Date under section 105(a), 363(b), 503(b)(2), 503(b)(3),
 503(b)(4) or 503(b)(5) of the Bankruptcy Code shall (a) file its final application for allowance of
 such compensation and/or reimbursement by no later than the date that is 120 days after the
 Effective Date or such other date as may be fixed by the Bankruptcy Court, and (b) be paid by or
 on behalf of the Debtor in full and in Cash in the amounts Allowed upon (i) the date the order
 granting such award becomes a Final Order, or as soon thereafter as practicable, or (ii) such other
 terms as may be mutually agreed upon by the claimant and the Debtor obligated for the payment
 of such Allowed Claim. The Debtors are authorized to pay compensation for professional
 services rendered and reimburse expenses incurred on behalf of the Debtors and the Creditors’
 Committee after the Effective Date in the ordinary course and without Bankruptcy Court
 approval.



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         2.3     Priority Tax Claims. Except to the extent that a holder of an Allowed Priority
 Tax Claim has been paid prior to the Effective Date or agrees to less favorable treatment, each
 holder of an Allowed Priority Tax Claim shall receive from one or more of the Debtors obligated
 for the payment of such Allowed Priority Tax Claim, and at the sole option of such Debtor(s), (i)
 Cash in an amount equal to the Allowed amount of such Priority Tax Claim on the later of the
 Effective Date and the date such Priority Tax Claim becomes an Allowed Priority Tax Claim, or
 as soon thereafter as is practicable, or (ii) equal Cash payments to be made initially on the
 Effective Date or as soon thereafter as practicable and semi-annually thereafter in an aggregate
 amount equal to such Allowed Priority Tax Claim, together with interest at a fixed annual rate
 determined under applicable non-bankruptcy law, over a period from the Effective Date through
 the fifth (5th) anniversary after the Commencement Date; provided, however, that such election
 shall be without prejudice to the Debtor’s right to prepay such Allowed Priority Tax Claim in full
 or in part without penalty.

                                                 ARTICLE III
                                 Classification Of Claims And Equity Interests

        Claims against the Debtors, other than Administrative Expense Claims and Priority Tax
 Claims, and Equity Interests are classified for all purposes (unless otherwise specified), including
 voting and Distribution pursuant to the Plan, as follows:

          3.1       LBHI
 Class    Designation                                             Impairment     Entitlement to Vote
 1        Priority Non-Tax Claims                                 Impaired       Yes
 2        Secured Claims                                          Impaired       Yes
 3        Senior Unsecured Claims                                 Impaired       Yes
 4A       Senior Affiliate Claims                                 Impaired       Yes
 4B       Senior Affiliate Guarantee Claims                       Impaired       Yes
 5        Senior Third-Party Guarantee Claims                     Impaired       Yes
 6A       Convenience Claims                                      Impaired       Yes
 6B       Convenience Guarantee Claims                            Impaired       Yes
 7        General Unsecured Claims                                Impaired       Yes
 8        Affiliate Claims                                        Impaired       Yes
 9A       Third-Party Guarantee Claims other than of the Racers   Impaired       Yes
          Trusts
 9B       Third-Party Guarantee Claims of the Racers Trusts       Impaired       Yes
 10A      Subordinated Class 10A Claims                           Impaired       No (deemed to reject)
 10B      Subordinated Class 10B Claims                           Impaired       No (deemed to reject)
 10C      Subordinated Class 10C Claims                           Impaired       No (deemed to reject)
 11       Section 510(b) Claims                                   Impaired       No (deemed to reject)
 12       Equity Interests                                        Impaired       No (deemed to reject)




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          3.2       LCPI
 Class    Designation                                                  Impairment   Entitlement to Vote
 1        Priority Non-Tax Claims                                      Impaired     Yes
 2        Secured Claims                                               Impaired     Yes
 3        Convenience Claims                                           Impaired     Yes
 4A       General Unsecured Claims other than those of Designated      Impaired     Yes
          Entities
 4B       General Unsecured Claims of Designated Entities              Impaired     Yes
 5A       Affiliate Claims of LBHI                                     Impaired     Yes
 5B       Affiliate Claims of Participating Subsidiary Debtors         Impaired     Yes
 5C       Affiliate Claims other than those of Participating Debtors   Impaired     Yes
 6        Equity Interests                                             Impaired     No (deemed to reject)


          3.3       LBCS
 Class    Designation                                                  Impairment   Entitlement to Vote
 1        Priority Non-Tax Claims                                      Impaired     Yes
 2        Secured Claims                                               Impaired     Yes
 3        Convenience Claims                                           Impaired     Yes
 4        General Unsecured Claims                                     Impaired     Yes
 5A       Affiliate Claims of LBHI                                     Impaired     Yes
 5B       Affiliate Claims of Participating Subsidiary Debtors         Impaired     Yes
 5C       Affiliate Claims other than those of Participating Debtors   Impaired     Yes
 6        Equity Interests                                             Impaired     No (deemed to reject)


          3.4       LBSF
 Class    Designation                                                  Impairment   Entitlement to Vote
 1        Priority Non-Tax Claims                                      Impaired     Yes
 2        Secured Claims                                               Impaired     Yes
 3        Convenience Claims                                           Impaired     Yes
 4A       General Unsecured Claims other than those of the Racers      Impaired     Yes
          Trusts
 4B       General Unsecured Claims of the Racers Trusts                Impaired     Yes
 5A       Affiliate Claims of LBHI                                     Impaired     Yes
 5B       Affiliate Claims of Participating Subsidiary Debtors         Impaired     Yes
 5C       Affiliate Claims other than those of Participating Debtors   Impaired     Yes




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 Class    Designation                                                  Impairment   Entitlement to Vote
 6        Equity Interests                                             Impaired     No (deemed to reject)


          3.5       LOTC
 Class    Designation                                                  Impairment   Entitlement to Vote
 1        Priority Non-Tax Claims                                      Impaired     Yes
 2        Secured Claims                                               Impaired     Yes
 3        Convenience Claims                                           Impaired     Yes
 4        General Unsecured Claims                                     Impaired     Yes
 5A       Affiliate Claims of LBHI                                     Impaired     Yes
 5B       Affiliate Claims of Participating Subsidiary Debtors         Impaired     Yes
 5C       Affiliate Claims other than those of Participating Debtors   Impaired     Yes
 6        Equity Interests                                             Impaired     No (deemed to reject)


          3.6       LBCC
 Class    Designation                                                  Impairment   Entitlement to Vote
 1        Priority Non-Tax Claims                                      Impaired     Yes
 2        Secured Claims                                               Impaired     Yes
 3        Convenience Claims                                           Impaired     Yes
 4        General Unsecured Claims                                     Impaired     Yes
 5A       Affiliate Claims of LBHI                                     Impaired     Yes
 5B       Affiliate Claims of Participating Subsidiary Debtors         Impaired     Yes
 5C       Affiliate Claims other than those of Participating Debtors   Impaired     Yes
 6        Equity Interests                                             Impaired     No (deemed to reject)


          3.7       LBDP
 Class    Designation                                                  Impairment   Entitlement to Vote
 1        Priority Non-Tax Claims                                      Impaired     Yes
 2        Secured Claims                                               Impaired     Yes
 3        General Unsecured Claims                                     Impaired     Yes
 4A       Affiliate Claims of LBHI                                     Impaired     Yes
 4B       Affiliate Claims other than those of LBHI                    Impaired     Yes
 5        Equity Interests                                             Impaired     No (deemed to reject)




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          3.8       LBFP
 Class    Designation                                        Impairment   Entitlement to Vote
 1        Priority Non-Tax Claims                            Impaired     Yes
 2        Secured Claims                                     Impaired     Yes
 3        General Unsecured Claims                           Impaired     Yes
 4A       Affiliate Claims of LBHI                           Impaired     Yes
 4B       Affiliate Claims other than those of LBHI          Impaired     Yes
 5        Equity Interests                                   Impaired     No (deemed to reject)


          3.9       LB 745
 Class    Designation                                        Impairment   Entitlement to Vote
 1        Priority Non-Tax Claims                            Impaired     Yes
 2        Secured Claims                                     Impaired     Yes
 3        General Unsecured Claims                           Impaired     Yes
 4A       Affiliate Claims of LBHI                           Impaired     Yes
 4B       Affiliate Claims other than those of LBHI          Impaired     Yes
 5        Equity Interests                                   Impaired     No (deemed to reject)


          3.10      PAMI Statler
 Class    Designation                                        Impairment   Entitlement to Vote
 1        Priority Non-Tax Claims                            Impaired     Yes
 2        Secured Claims                                     Impaired     Yes
 3        General Unsecured Claims                           Impaired     Yes
 4A       Affiliate Claims of LBHI                           Impaired     Yes
 4B       Affiliate Claims other than those of LBHI          Impaired     Yes
 5        Equity Interests                                   Impaired     No (deemed to reject)


          3.11      CES
 Class    Designation                                        Impairment   Entitlement to Vote
 1        Priority Non-Tax Claims                            Impaired     Yes
 2        Secured Claims                                     Impaired     Yes
 3        General Unsecured Claims                           Impaired     Yes
 4A       Affiliate Claims of LBHI                           Impaired     Yes
 4B       Affiliate Claims other than those of LBHI          Impaired     Yes
 5        Equity Interests                                   Impaired     No (deemed to reject)




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          3.12      CES V
 Class    Designation                                        Impairment   Entitlement to Vote
 1        Priority Non-Tax Claims                            Impaired     Yes
 2        Secured Claims                                     Impaired     Yes
 3        General Unsecured Claims                           Impaired     Yes
 4A       Affiliate Claims of LBHI                           Impaired     Yes
 4B       Affiliate Claims other than those of LBHI          Impaired     Yes
 5        Equity Interests                                   Impaired     No (deemed to reject)


          3.13      CES IX
 Class    Designation                                        Impairment   Entitlement to Vote
 1        Priority Non-Tax Claims                            Impaired     Yes
 2        Secured Claims                                     Impaired     Yes
 3        General Unsecured Claims                           Impaired     Yes
 4A       Affiliate Claims of LBHI                           Impaired     Yes
 4B       Affiliate Claims other than those of LBHI          Impaired     Yes
 5        Equity Interests                                   Impaired     No (deemed to reject)


          3.14      East Dover
 Class    Designation                                        Impairment   Entitlement to Vote
 1        Priority Non-Tax Claims                            Impaired     Yes
 2        Secured Claims                                     Impaired     Yes
 3        General Unsecured Claims                           Impaired     Yes
 4A       Affiliate Claims of LBHI                           Impaired     Yes
 4B       Affiliate Claims other than those of LBHI          Impaired     Yes
 5        Equity Interests                                   Impaired     No (deemed to reject)


          3.15      LS Finance
 Class    Designation                                        Impairment   Entitlement to Vote
 1        Priority Non-Tax Claims                            Impaired     Yes
 2        Secured Claims                                     Impaired     Yes
 3        General Unsecured Claims                           Impaired     Yes
 4A       Affiliate Claims of LBHI                           Impaired     Yes
 4B       Affiliate Claims other than those of LBHI          Impaired     Yes
 5        Equity Interests                                   Impaired     No (deemed to reject)




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          3.16      LUXCO
 Class    Designation                                        Impairment   Entitlement to Vote
 1        Priority Non-Tax Claims                            Impaired     Yes
 2        Secured Claims                                     Impaired     Yes
 3        General Unsecured Claims                           Impaired     Yes
 4A       Affiliate Claims of LBHI                           Impaired     Yes
 4B       Affiliate Claims other than those of LBHI          Impaired     Yes
 5        Equity Interests                                   Impaired     No (deemed to reject)


          3.17      BNC
 Class    Designation                                        Impairment   Entitlement to Vote
 1        Priority Non-Tax Claims                            Impaired     Yes
 2        Secured Claims                                     Impaired     Yes
 3        General Unsecured Claims                           Impaired     Yes
 4A       Affiliate Claims of LBHI                           Impaired     Yes
 4B       Affiliate Claims other than those of LBHI          Impaired     Yes
 5        Equity Interests                                   Impaired     No (deemed to reject)


          3.18      LB Rose Ranch
 Class    Designation                                        Impairment   Entitlement to Vote
 1        Priority Non-Tax Claims                            Impaired     Yes
 2        Secured Claims                                     Impaired     Yes
 3        General Unsecured Claims                           Impaired     Yes
 4A       Affiliate Claims of LBHI                           Impaired     Yes
 4B       Affiliate Claims other than those of LBHI          Impaired     Yes
 5        Equity Interests                                   Impaired     No (deemed to reject)


          3.19      SASCO
 Class    Designation                                        Impairment   Entitlement to Vote
 1        Priority Non-Tax Claims                            Impaired     Yes
 2        Secured Claims                                     Impaired     Yes
 3        General Unsecured Claims                           Impaired     Yes
 4A       Affiliate Claims of LBHI                           Impaired     Yes
 4B       Affiliate Claims other than those of LBHI          Impaired     Yes
 5        Equity Interests                                   Impaired     No (deemed to reject)




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          3.20      LB 2080
 Class    Designation                                        Impairment   Entitlement to Vote
 1        Priority Non-Tax Claims                            Impaired     Yes
 2        Secured Claims                                     Impaired     Yes
 3        General Unsecured Claims                           Impaired     Yes
 4A       Affiliate Claims of LBHI                           Impaired     Yes
 4B       Affiliate Claims other than those of LBHI          Impaired     Yes
 5        Equity Interests                                   Impaired     No (deemed to reject)


          3.21      Merit
 Class    Designation                                        Impairment   Entitlement to Vote
 1        Priority Non-Tax Claims                            Impaired     Yes
 2        Secured Claims                                     Impaired     Yes
 3        General Unsecured Claims                           Impaired     Yes
 4A       Affiliate Claims of LBHI                           Impaired     Yes
 4B       Affiliate Claims other than those of LBHI          Impaired     Yes
 5        Equity Interests                                   Impaired     No (deemed to reject)


          3.22      Preferred Somerset
 Class    Designation                                        Impairment   Entitlement to Vote
 1        Priority Non-Tax Claims                            Impaired     Yes
 2        Secured Claims                                     Impaired     Yes
 3        General Unsecured Claims                           Impaired     Yes
 4A       Affiliate Claims of LBHI                           Impaired     Yes
 4B       Affiliate Claims other than those of LBHI          Impaired     Yes
 5        Equity Interests                                   Impaired     No (deemed to reject)


          3.23      Somerset
 Class    Designation                                        Impairment   Entitlement to Vote
 1        Priority Non-Tax Claims                            Impaired     Yes
 2        Secured Claims                                     Impaired     Yes
 3        General Unsecured Claims                           Impaired     Yes
 4A       Affiliate Claims of LBHI                           Impaired     Yes
 4B       Affiliate Claims other than those of LBHI          Impaired     Yes
 5        Equity Interests                                   Impaired     No (deemed to reject)




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                                            ARTICLE IV
                       Treatment of Claims Against and Equity Interests in LBHI

          4.1       LBHI Class 1 – Priority Non-Tax Claims against LBHI.

                (a)   Impairment and Voting. LBHI Class 1 is impaired by the Plan. Each
 holder of an Allowed Claim in LBHI Class 1 is entitled to vote to accept or reject the Plan.

               (b)    Distributions. Except to the extent that the holder of an Allowed Claim in
 LBHI Class 1 agrees to less favorable treatment or has been paid by or on behalf of LBHI on
 account of such Claim prior to the Effective Date, on the later of the Effective Date and the date
 such Claim becomes Allowed, or as soon thereafter as is practicable, each holder of an Allowed
 Claim in LBHI Class 1 shall be paid by LBHI in Cash in full.

          4.2       LBHI Class 2 – Secured Claims against LBHI.

                (a)   Impairment and Voting. LBHI Class 2 is impaired by the Plan. Each
 holder of an Allowed Claim in LBHI Class 2 is entitled to vote to accept or reject the Plan.

                  (b)     Distributions. Except to the extent that the holder of an Allowed Claim in
 LBHI Class 2 agrees to less favorable treatment, each holder of an Allowed Claim in LBHI Class
 2 shall be satisfied by, at the option of LBHI: (i) payment in Cash by LBHI in full on the later
 of the Effective Date and the date such Claim becomes Allowed, or as soon thereafter as is
 practicable; (ii) the sale or disposition proceeds of the Collateral securing such Allowed Claim to
 the extent of the value of the Collateral securing such Allowed Claim; (iii) surrender to the
 holder of such Allowed Claim of the Collateral securing such Allowed Claim; or (iv) such
 treatment that leaves unaltered the legal, equitable, and contractual rights to which the holder of
 the Allowed Claim is entitled. In the event an Allowed Claim in LBHI Class 2 is treated under
 clause (i) or (ii) above, the Liens securing such Claim shall be deemed released and extinguished
 without further order of the Bankruptcy Court.

          4.3       LBHI Class 3 – Senior Unsecured Claims against LBHI.

                (a)   Impairment and Voting. LBHI Class 3 is impaired by the Plan. Each
 holder of an Allowed Claim in LBHI Class 3 is entitled to vote to accept or reject the Plan.

                 (b)     Distributions. Each holder of an Allowed Claim in LBHI Class 3 shall
 receive its Pro Rata Share of (i) Available Cash from LBHI, (ii) Subordinated Class 10A
 Distribution, (iii) Subordinated Class 10B Distribution, (iv) Subordinated Class 10C Distribution
 and (v) the Plan Adjustment.

          4.4       LBHI Class 4A – Senior Affiliate Claims against LBHI.

                (a)   Impairment and Voting. LBHI Class 4A is impaired by the Plan. Each
 holder of an Allowed Claim in LBHI Class 4A is entitled to vote to accept or reject the Plan.

              (b)   Distributions. Subject to Section 6.5(b) of the Plan, each holder of an
 Allowed Claim in LBHI Class 4A shall receive its Pro Rata Share of (i) Available Cash from


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 LBHI, (ii) Subordinated Class 10A Distribution, (iii) Subordinated Class 10B Distribution and
 (iv) Subordinated Class 10C Distribution.

          4.5       LBHI Class 4B – Senior Affiliate Guarantee Claims against LBHI.

                (a)   Impairment and Voting. LBHI Class 4B is impaired by the Plan. Each
 holder of an Allowed Claim in LBHI Class 4B is entitled to vote to accept or reject the Plan.

               (b)     Distributions. Subject to Section 6.5(b) of the Plan, each holder of an
 Allowed Claim in LBHI Class 4B shall receive its Pro Rata Share of (i) Available Cash from
 LBHI, (ii) Subordinated Class 10B Distribution and (iii) Subordinated Class 10C Distribution.

          4.6       LBHI Class 5 – Senior Third-Party Guarantee Claims against LBHI.

                (a)   Impairment and Voting. LBHI Class 5 is impaired by the Plan. Each
 holder of an Allowed Claim in LBHI Class 5 is entitled to vote to accept or reject the Plan.

                (b)    Distributions. Each holder of an Allowed Claim in LBHI Class 5 shall
 receive its Pro Rata Share of (i) (A) Available Cash from LBHI, (B) Subordinated Class 10B
 Distribution and (C) Subordinated Class 10C Distribution; provided, however, that the applicable
 Plan Adjustment Percentage of the Distributions set forth in clauses (A), (B) and (C) above shall
 be automatically redistributed pursuant to Section 6.5(a) of the Plan, and (ii) the Excess Plan
 Adjustment Portion with respect to LBHI Class 5.

          4.7       LBHI Class 6A – Convenience Claims against LBHI.

                (a)   Impairment and Voting. LBHI Class 6A is impaired by the Plan. Each
 holder of an Allowed Claim in LBHI Class 6A is entitled to vote to accept or reject the Plan.

               (b)      Distributions. Each holder of an Allowed Claim in LBHI Class 6A shall
 receive Cash from LBHI in an amount equal to .26 multiplied by the amount of such Claim, in
 full and complete satisfaction of such Allowed Claim, on the later of the Effective Date and the
 date such Claim becomes an Allowed Claim, or as soon thereafter as is practicable.

          4.8       LBHI Class 6B – Convenience Guarantee Claims against LBHI.

                (a)   Impairment and Voting. LBHI Class 6B is impaired by the Plan. Each
 holder of an Allowed Claim in LBHI Class 6B is entitled to vote to accept or reject the Plan.

               (b)      Distributions. Each holder of an Allowed Claim in LBHI Class 6B shall
 receive Cash from LBHI in an amount equal to .17 multiplied by the amount of such Claim, in
 full and complete satisfaction of such Allowed Claim, on the later of the Effective Date and the
 date such Claim becomes an Allowed Claim, or as soon thereafter as is practicable.




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          4.9       LBHI Class 7 – General Unsecured Claims against LBHI.

                (a)   Impairment and Voting. LBHI Class 7 is impaired by the Plan. Each
 holder of an Allowed Claim in LBHI Class 7 is entitled to vote to accept or reject the Plan.

                 (b)    Distributions. Each holder of an Allowed Claim in LBHI Class 7 shall
 receive its Pro Rata Share of (i) Available Cash from LBHI and (ii) the Plan Adjustment.

          4.10      LBHI Class 8 – Affiliate Claims against LBHI.

                (a)   Impairment and Voting. LBHI Class 8 is impaired by the Plan. Each
 holder of an Allowed Claim in LBHI Class 8 is entitled to vote to accept or reject the Plan.

              (b)   Distributions. Subject to Section 6.5(b) of the Plan, each holder of an
 Allowed Claim in LBHI Class 8 shall receive its Pro Rata Share of Available Cash from LBHI.

          4.11      LBHI Class 9A – Third-Party Guarantee Claims against LBHI.

                (a)   Impairment and Voting. LBHI Class 9A is impaired by the Plan. Each
 holder of an Allowed Claim in LBHI Class 9A is entitled to vote to accept or reject the Plan.

                (b)    Distributions. Each holder of an Allowed Claim in LBHI Class 9A shall
 receive from LBHI its Pro Rata Share of (i) Available Cash; provided, however, that the
 applicable Plan Adjustment Percentage of such Distribution shall be automatically redistributed
 pursuant to Section 6.5(a) of the Plan, and (ii) the Excess Plan Adjustment Portion with respect
 to LBHI Class 9A.

          4.12      LBHI Class 9B – Third-Party Guarantee Claims of the Racers Trusts against
 LBHI.

                (a)   Impairment and Voting. LBHI Class 9B is impaired by the Plan. Each
 holder of an Allowed Claim in LBHI Class 9B is entitled to vote to accept or reject the Plan.

               (b)     Distributions. Subject to Section 6.5(g) of the Plan, each holder of an
 Allowed Claim in LBHI Class 9B shall receive from LBHI its Pro Rata Share of (i) Available
 Cash; provided, however, that the Racers Adjustment shall be automatically redistributed
 pursuant to Section 6.5(a) of the Plan, and (ii) the Excess Plan Adjustment Portion with respect
 to LBHI Class 9B.

          4.13      LBHI Class 10A – Subordinated Class 10A Claims against LBHI.

                (a)    Impairment and Voting. LBHI Class 10A is impaired by the Plan. Each
 holder of an Allowed Claim in LBHI Class 10A is not entitled to vote to accept or reject the Plan
 and is conclusively deemed to have rejected the Plan.

              (b)      Distributions. Holders of Allowed Claims in LBHI Class 10A shall not
 receive any Distributions on account of such Claims unless and until all holders of Allowed
 Claims in LBHI Class 3 and LBHI Class 4A are satisfied in full, in which case each holder of an


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 Allowed Claim in LBHI Class 10A shall receive its Pro Rata Share of (i) Available Cash from
 LBHI and (ii) Subordinated Class 10C Distribution.

          4.14      LBHI Class 10B – Subordinated Class 10B Claims against LBHI.

                (a)    Impairment and Voting. LBHI Class 10B is impaired by the Plan. Each
 holder of an Allowed Claim in LBHI Class 10B is not entitled to vote to accept or reject the Plan
 and is conclusively deemed to have rejected the Plan.

                (b)     Distributions. Holders of Allowed Claims in LBHI Class 10B shall not
 receive any Distributions on account of such Claims unless and until all holders of Allowed
 Claims in LBHI Class 3, LBHI Class 4A, LBHI Class 4B and LBHI Class 5 are satisfied in full,
 in which case each holder of an Allowed Claim in LBHI Class 10B shall receive its Pro Rata
 Share of (i) Available Cash from LBHI and (ii) Subordinated Class 10C Distribution.

          4.15      LBHI Class 10C – Subordinated Class 10C Claims against LBHI.

                (a)    Impairment and Voting. LBHI Class 10C is impaired by the Plan. Each
 holder of an Allowed Claim in LBHI Class 10C is not entitled to vote to accept or reject the Plan
 and is conclusively deemed to have rejected the Plan.

               (b)     Distributions. Holders of Allowed Claims in LBHI Class 10C shall not
 receive any Distributions on account of such Claims unless and until all holders of Allowed
 Claims in LBHI Class 3, LBHI Class 4A, LBHI Class 4B, LBHI Class 5, LBHI Class 10A and
 LBHI Class 10B are satisfied in full, in which case each holder of an Allowed Claim in LBHI
 Class 10C shall receive its Pro Rata Share of Available Cash from LBHI.

          4.16      LBHI Class 11 – Section 510(b) Claims against LBHI.

                (a)    Impairment and Voting. LBHI Class 11 is impaired by the Plan. Each
 holder of an Allowed Claim in LBHI Class 11 is not entitled to vote to accept or reject the Plan
 and is conclusively deemed to have rejected the Plan.

               (b)     Distributions. Holders of Allowed Claims in LBHI Class 11 shall not
 receive any Distributions on account of such Claims unless and until all holders of Allowed
 Claims against LBHI other than Claims in LBHI Class 11 are satisfied in full, in which case each
 holder of an Allowed Claim in LBHI Class 11 shall receive its Pro Rata Share of Available Cash
 from LBHI.

          4.17      LBHI Class 12 – Equity Interests in LBHI.

                (a)    Impairment and Voting. LBHI Class 12 is impaired by the Plan. Each
 holder of an Equity Interest in LBHI Class 12 is not entitled to vote to accept or reject the Plan
 and is conclusively deemed to have rejected the Plan.

                (b)     Stock Exchange. On the Effective Date, all LBHI Stock shall be
 cancelled and the Plan Trust Stock shall be issued to the Plan Trust which will hold such share
 for the benefit of the holders of such former LBHI Stock consistent with their former relative


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 priority and economic entitlements; provided, however, that the Plan Trust may not exercise any
 voting rights appurtenant thereto in conflict with Article VII of the Plan. On or promptly after
 the Effective Date, the Plan Administrator shall file with the Securities and Exchange
 Commission a Form 15 for the purpose of terminating the registration of any of LBHI’s publicly
 traded securities.

                 (c)    Distributions. Each holder of an Equity Interest in LBHI (through their
 interest in the new share of LBHI common stock or otherwise) shall neither receive nor retain
 any Property of the Estate or direct interest in Property of the Estate of LBHI on account of such
 Equity Interests; provided, however, that in the event that all Allowed Claims in LBHI Classes 1
 through 11 have been satisfied in full in accordance with the Bankruptcy Code and the Plan, each
 holder of an Equity Interest in LBHI may receive its share of any remaining assets of LBHI
 consistent with such holder’s rights of payment existing immediately prior to the
 Commencement Date. Unless otherwise determined by the Plan Administrator, on the date that
 LBHI’s Chapter 11 Case is closed in accordance with Section 6.6 of the Plan, the Plan Trust
 Stock issued pursuant to subsection (b) above shall be deemed cancelled and of no further force
 and effect provided that such cancellation does not adversely impact the Debtors’ estates.

                (d)    Non-Transferable. The continuing rights of holders of Equity Interests
 (including through their interest in the Plan Trust Stock or otherwise) shall be nontransferable
 except by operation of law.

                                          ARTICLE V
              Treatment of Claims Against and Equity Interests in Subsidiary Debtors

          5.1       LCPI Class 1 – Priority Non-Tax Claims against LCPI.

                (a)   Impairment and Voting. LCPI Class 1 is impaired by the Plan. Each
 holder of an Allowed Claim in LCPI Class 1 is entitled to vote to accept or reject the Plan.

               (b)    Distributions. Except to the extent that the holder of an Allowed Claim in
 LCPI Class 1 agrees to less favorable treatment or has been paid by or on behalf of LCPI on
 account of such Claim prior to the Effective Date, on the later of the Effective Date and the date
 such Claim becomes Allowed, or as soon thereafter as is practicable, each holder of an Allowed
 Claim in LCPI Class 1 shall be paid by LCPI in Cash in full.

          5.2       LCPI Class 2 – Secured Claims against LCPI.

                (a)   Impairment and Voting. LCPI Class 2 is impaired by the Plan. Each
 holder of an Allowed Claim in LCPI Class 2 is entitled to vote to accept or reject the Plan.

                  (b)     Distributions. Except to the extent that the holder of an Allowed Claim in
 LCPI Class 2 agrees to less favorable treatment, each holder of an Allowed Claim in LCPI Class
 2 shall be satisfied by, at the option of LCPI: (i) payment in Cash by LCPI in full on the later of
 the Effective Date and the date such Claim becomes Allowed, or as soon thereafter as is
 practicable; (ii) the sale or disposition proceeds of the Collateral securing such Allowed Claim to
 the extent of the value of the Collateral securing such Allowed Claim; (iii) surrender to the
 holder of such Allowed Claim of the Collateral securing such Allowed Claim; or (iv) such


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 treatment that leaves unaltered the legal, equitable, and contractual rights to which the holder of
 the Allowed Claim is entitled. In the event an Allowed Claim in LCPI Class 2 is treated under
 clause (i) or (ii) above, the Liens securing such Claim shall be deemed released and extinguished
 without further order of the Bankruptcy Court.

          5.3       LCPI Class 3 – Convenience Claims against LCPI.

                (a)   Impairment and Voting. LCPI Class 3 is impaired by the Plan. Each
 holder of an Allowed Claim in LCPI Class 3 is entitled to vote to accept or reject the Plan.

               (b)      Distributions. Each holder of an Allowed Claim in LCPI Class 3 shall
 receive Cash from LCPI in an amount equal to .60 multiplied by the amount of such Claim, in
 full and complete satisfaction of such Allowed Claim, on the later of the Effective Date and the
 date such Claim becomes an Allowed Claim, or as soon thereafter as is practicable.

         5.4     LCPI Class 4A – General Unsecured Claims other than those of Designated
 Entities against LCPI.

                (a)   Impairment and Voting. LCPI Class 4A is impaired by the Plan. Each
 holder of an Allowed Claim in LCPI Class 4A is entitled to vote to accept or reject the Plan.

                (b)    Distributions. Each holder of an Allowed Claim in LCPI Class 4A shall
 receive its Pro Rata Share (i) from LCPI of (A) Available Cash; provided, however, that the
 applicable Plan Adjustment Percentage of such Distribution shall be automatically redistributed
 pursuant to Section 6.5(a) of the Plan, and (B) the Excess Plan Adjustment Portion with respect
 to LCPI Class 4A, and (ii) the LCPI Settlement Amount.

          5.5       LCPI Class 4B – General Unsecured Claims of Designated Entities against LCPI.

                (a)   Impairment and Voting. LCPI Class 4B is impaired by the Plan. Each
 holder of an Allowed Claim in LCPI Class 4B is entitled to vote to accept or reject the Plan.

               (b)     Distributions. Subject to Sections 6.5(g) or 6.5(h), each holder of an
 Allowed Claim in LCPI Class 4B shall receive from LCPI its Pro Rata Share of (i) Available
 Cash; provided, however, that the applicable Plan Adjustment Percentage of such Distribution
 shall be automatically redistributed pursuant to Section 6.5(a) of the Plan, and (ii) the Excess
 Plan Adjustment Portion with respect to LCPI Class 4B.

          5.6       LCPI Class 5A – Affiliate Claims of LBHI against LCPI.

                  (a)     Impairment and Voting. LCPI Class 5A is impaired by the Plan. LBHI
 is entitled to vote to accept or reject the Plan.

                  (b)   Distributions. Subject to Sections 6.5(b) and 6.5(c) of the Plan, LBHI
 shall receive from LCPI (i) its Pro Rata Share of Available Cash; provided, however, that the
 LCPI Settlement Amount shall be automatically redistributed pursuant to Section 6.5(e) of the
 Plan, and (ii) the Excess LCPI Settlement Amount.



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          5.7       LCPI Class 5B – Affiliate Claims of Participating Subsidiary Debtors against
 LCPI.

                (a)   Impairment and Voting. LCPI Class 5B is impaired by the Plan. Each
 holder of an Allowed Claim in LCPI Class 5B is entitled to vote to accept or reject the Plan.

               (b)     Distributions. Subject to Section 6.5(b) of the Plan, each holder of an
 Allowed Claim in LCPI Class 5B shall receive from LCPI its Pro Rata Share of (i) Available
 Cash; provided, however, that the applicable Plan Adjustment Percentage of such Distribution
 shall be automatically redistributed pursuant to Section 6.5(a) of the Plan, and (ii) the Excess
 Plan Adjustment Portion with respect to LCPI Class 5B.

         5.8   LCPI Class 5C – Affiliate Claims other than those of Participating Debtors
 against LCPI.

                (a)   Impairment and Voting. LCPI Class 5C is impaired by the Plan. Each
 holder of an Allowed Claim in LCPI Class 5C is entitled to vote to accept or reject the Plan.

               (b)     Distributions. Subject to Section 6.5(b) of the Plan, each holder of an
 Allowed Claim in LCPI Class 5C shall receive from LCPI its Pro Rata Share of (i) Available
 Cash; provided, however, that the applicable Plan Adjustment Percentage of such Distribution
 shall be automatically redistributed pursuant to Section 6.5(a) of the Plan, and (ii) the Excess
 Plan Adjustment Portion with respect to LCPI Class 5C.

          5.9       LCPI Class 6 – Equity Interests in LCPI.

                (a)    Impairment and Voting. LCPI Class 6 is impaired by the Plan. Each
 holder of an Equity Interest in LCPI Class 6 is not entitled to vote to accept or reject the Plan and
 is conclusively deemed to have rejected the Plan.

                (b)     Distributions. Equity Interests in LCPI shall be cancelled if and when
 LCPI is dissolved in accordance with Section 7.4 of the Plan. Each holder of an Equity Interest
 in LCPI shall neither receive nor retain any Property of the Estate or direct interest in Property of
 the Estate of LCPI on account of such Equity Interests thereafter; provided, however, that in the
 event that all Allowed Claims against LCPI have been satisfied in full in accordance with the
 Bankruptcy Code and the Plan, each holder of an Equity Interest in LCPI may receive its Pro
 Rata Share of any remaining assets in LCPI.

          5.10      LBCS Class 1 – Priority Non-Tax Claims against LBCS.

                (a)   Impairment and Voting. LBCS Class 1 is impaired by the Plan. Each
 holder of an Allowed Claim in LBCS Class 1 is entitled to vote to accept or reject the Plan.

               (b)    Distributions. Except to the extent that the holder of an Allowed Claim in
 LBCS Class 1 agrees to less favorable treatment or has been paid by or on behalf of LBCS on
 account of such Claim prior to the Effective Date, on the later of the Effective Date and the date
 such Claim becomes Allowed, or as soon thereafter as is practicable, each holder of an Allowed
 Claim in LBCS Class 1 shall be paid by LBCS in Cash in full.


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          5.11      LBCS Class 2 – Secured Claims against LBCS.

                (a)   Impairment and Voting. LBCS Class 2 is impaired by the Plan. Each
 holder of an Allowed Claim in LBCS Class 2 is entitled to vote to accept or reject the Plan.

                  (b)     Distributions. Except to the extent that the holder of an Allowed Claim in
 LBCS Class 2 agrees to less favorable treatment, each holder of an Allowed Claim in LBCS
 Class 2 shall be satisfied by, at the option of LBCS: (i) payment in Cash by LBCS in full on the
 later of the Effective Date and the date such Claim becomes Allowed, or as soon thereafter as is
 practicable; (ii) the sale or disposition proceeds of the Collateral securing such Allowed Claim to
 the extent of the value of the Collateral securing such Allowed Claim; (iii) surrender to the
 holder of such Allowed Claim of the Collateral securing such Allowed Claim; or (iv) such
 treatment that leaves unaltered the legal, equitable, and contractual rights to which the holder of
 the Allowed Claim is entitled. In the event an Allowed Claim in LBCS Class 2 is treated under
 clause (i) or (ii) above, the Liens securing such Claim shall be deemed released and extinguished
 without further order of the Bankruptcy Court.

          5.12      LBCS Class 3 – Convenience Claims against LBCS.

                (a)   Impairment and Voting. LBCS Class 3 is impaired by the Plan. Each
 holder of an Allowed Claim in LBCS Class 3 is entitled to vote to accept or reject the Plan.

               (b)      Distributions. Each holder of an Allowed Claim in LBCS Class 3 shall
 receive Cash from LBCS in an amount equal to .55 multiplied by the amount of such Claim, in
 full and complete satisfaction of such Allowed Claim, on the later of the Effective Date and the
 date such Claim becomes an Allowed Claim, or as soon thereafter as is practicable.

          5.13      LBCS Class 4 – General Unsecured Claims against LBCS.

                (a)   Impairment and Voting. LBCS Class 4 is impaired by the Plan. Each
 holder of an Allowed Claim in LBCS Class 4 is entitled to vote to accept or reject the Plan.

                (b)    Distributions. Each holder of an Allowed Claim in LBCS Class 4 shall
 receive from LBCS its Pro Rata Share of (i) Available Cash; provided, however, that the
 applicable Plan Adjustment Percentage of such Distribution shall be automatically redistributed
 pursuant to Section 6.5(a) of the Plan, and (ii) the Excess Plan Adjustment Portion with respect
 to LBCS Class 4.

          5.14      LBCS Class 5A – Affiliate Claims of LBHI against LBCS.

                  (a)     Impairment and Voting. LBCS Class 5A is impaired by the Plan. LBHI
 is entitled to vote to accept or reject the Plan.

                 (b)    Distributions. Subject to Sections 6.5(b) and 6.5(c) of the Plan, LBHI
 shall receive its Pro Rata Share of Available Cash from LBCS.




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          5.15      LBCS Class 5B – Affiliate Claims of Participating Subsidiary Debtors against
 LBCS.

                (a)   Impairment and Voting. LBCS Class 5B is impaired by the Plan. Each
 holder of an Allowed Claim in LBCS Class 5B is entitled to vote to accept or reject the Plan.

               (b)     Distributions. Subject to Section 6.5(b) of the Plan, each holder of an
 Allowed Claim in LBCS Class 5B shall receive from LBCS its Pro Rata Share of (i) Available
 Cash; provided, however, that the applicable Plan Adjustment Percentage of such Distribution
 shall be automatically redistributed pursuant to Section 6.5(a) of the Plan, and (ii) the Excess
 Plan Adjustment Portion with respect to LBCS Class 5B.

         5.16 LBCS Class 5C – Affiliate Claims other than those of Participating Debtors
 against LBCS.

                (a)   Impairment and Voting. LBCS Class 5C is impaired by the Plan. Each
 holder of an Allowed Claim in LBCS Class 5C is entitled to vote to accept or reject the Plan.

               (b)     Distributions. Subject to Section 6.5(b) of the Plan, each holder of an
 Allowed Claim in LBCS Class 5C shall receive from LBCS its Pro Rata Share of (i) Available
 Cash; provided, however, that the applicable Plan Adjustment Percentage of such Distribution
 shall be automatically redistributed pursuant to Section 6.5(a) of the Plan, and (ii) the Excess
 Plan Adjustment Portion with respect to LBCS Class 5C.

          5.17      LBCS Class 6 – Equity Interests in LBCS.

                (a)    Impairment and Voting. LBCS Class 6 is impaired by the Plan. Each
 holder of an Equity Interest in LBCS Class 6 is not entitled to vote to accept or reject the Plan
 and is conclusively deemed to have rejected the Plan.

                (b)     Distributions. Equity Interests in LBCS shall be cancelled if and when
 LBCS is dissolved in accordance with Section 7.4 of the Plan. Each holder of an Equity Interest
 in LBCS shall neither receive nor retain any Property of the Estate or direct interest in Property
 of the Estate of LBCS on account of such Equity Interests thereafter; provided, however, that in
 the event that all Allowed Claims against LBCS have been satisfied in full in accordance with
 the Bankruptcy Code and the Plan, each holder of an Equity Interest in LBCS may receive its Pro
 Rata Share of any remaining assets in LBCS.

          5.18      LBSF Class 1 – Priority Non-Tax Claims against LBSF.

                (a)   Impairment and Voting. LBSF Class 1 is impaired by the Plan. Each
 holder of an Allowed Claim in LBSF Class 1 is entitled to vote to accept or reject the Plan.

               (b)    Distributions. Except to the extent that the holder of an Allowed Claim in
 LBSF Class 1 agrees to less favorable treatment or has been paid by or on behalf of LBSF on
 account of such Claim prior to the Effective Date, on the later of the Effective Date and the date
 such Claim becomes Allowed, or as soon thereafter as is practicable, each holder of an Allowed
 Claim in LBSF Class 1 shall be paid by LBSF in Cash in full.


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          5.19      LBSF Class 2 – Secured Claims against LBSF.

                (a)   Impairment and Voting. LBSF Class 2 is impaired by the Plan. Each
 holder of an Allowed Claim in LBSF Class 2 is entitled to vote to accept or reject the Plan.

                  (b)     Distributions. Except to the extent that the holder of an Allowed Claim in
 LBSF Class 2 agrees to less favorable treatment, each holder of an Allowed Claim in LBSF
 Class 2 shall be satisfied by, at the option of LBSF: (i) payment in Cash by LBSF in full on the
 later of the Effective Date and the date such Claim becomes Allowed, or as soon thereafter as is
 practicable; (ii) the sale or disposition proceeds of the Collateral securing such Allowed Claim to
 the extent of the value of the Collateral securing such Allowed Claim; (iii) surrender to the
 holder of such Allowed Claim of the Collateral securing such Allowed Claim; or (iv) such
 treatment that leaves unaltered the legal, equitable, and contractual rights to which the holder of
 the Allowed Claim is entitled. In the event an Allowed Claim in LBSF Class 2 is treated under
 clause (i) or (ii) above, the Liens securing such Claim shall be deemed released and extinguished
 without further order of the Bankruptcy Court.

          5.20      LBSF Class 3 – Convenience Claims against LBSF.

                (a)   Impairment and Voting. LBSF Class 3 is impaired by the Plan. Each
 holder of an Allowed Claim in LBSF Class 3 is entitled to vote to accept or reject the Plan.

               (b)      Distributions. Each holder of an Allowed Claim in LBSF Class 3 shall
 receive Cash from LBSF in an amount equal to .32 multiplied by the amount of such Claim, in
 full and complete satisfaction of such Allowed Claim, on the later of the Effective Date and the
 date such Claim becomes an Allowed Claim, or as soon thereafter as is practicable.

         5.21 LBSF Class 4A – General Unsecured Claims other than those of the Racers Trusts
 against LBSF.

                (a)   Impairment and Voting. LBSF Class 4A is impaired by the Plan. Each
 holder of an Allowed Claim in LBSF Class 4A is entitled to vote to accept or reject the Plan.

                (b)    Distributions. Each holder of an Allowed Claim in LBSF Class 4A shall
 receive its Pro Rata Share (i) from LBSF of (A) Available Cash; provided, however, that the
 applicable Plan Adjustment Percentage of such Distribution shall be automatically redistributed
 pursuant to Section 6.5(a) of the Plan, (B) the Excess Plan Adjustment Portion with respect to
 LBSF Class 4A, and (C) the LBSF Additional Settlement Amount, and (ii) the LBSF Settlement
 Amount.

          5.22      LBSF Class 4B – General Unsecured Claims of the Racers Trusts against LBSF.

                (a)   Impairment and Voting. LBSF Class 4B is impaired by the Plan. Each
 holder of an Allowed Claim in LBSF Class 4B is entitled to vote to accept or reject the Plan.

               (b)    Distributions. Subject to Sections 6.5(d) and 6.5(g) of the Plan, each
 holder of an Allowed Claim in LBSF Class 4B shall receive from LBSF its Pro Rata Share of (i)
 Available Cash; provided, however, that the Racers Adjustment shall be automatically


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 redistributed pursuant to Section 6.5(a) of the Plan, and (ii) the Excess Plan Adjustment Portion
 with respect to LBSF Class 4B.

          5.23      LBSF Class 5A – Affiliate Claims of LBHI against LBSF.

                  (a)     Impairment and Voting. LBSF Class 5A is impaired by the Plan. LBHI
 is entitled to vote to accept or reject the Plan.

                 (b)     Distributions. Subject to Sections 6.5(b), 6.5(c) and 6.5(d) of the Plan,
 LBHI shall receive from LBSF (i) its Pro Rata Share of Available Cash; provided, however, that
 the LBSF Settlement Amount shall be automatically redistributed pursuant to Section 6.5(f) of
 the Plan, and (ii) the Excess LBSF Settlement Amount.

          5.24      LBSF Class 5B – Affiliate Claims of Participating Subsidiary Debtors against
 LBSF.

                (a)   Impairment and Voting. LBSF Class 5B is impaired by the Plan. Each
 holder of an Allowed Claim in LBSF Class 5B is entitled to vote to accept or reject the Plan.

                (b)     Distributions. Subject to Sections 6.5(b) and 6.5(d) of the Plan, each
 holder of an Allowed Claim in LBSF Class 5B shall receive from LBSF its Pro Rata Share of (i)
 Available Cash; provided, however, that the applicable Plan Adjustment Percentage of such
 Distribution shall be automatically redistributed pursuant to Section 6.5(a) of the Plan, and (ii)
 the Excess Plan Adjustment Portion with respect to LBSF Class 5B.

         5.25 LBSF Class 5C – Affiliate Claims other than those of Participating Debtors
 against LBSF.

                (a)   Impairment and Voting. LBSF Class 5C is impaired by the Plan. Each
 holder of an Allowed Claim in LBSF Class 5C is entitled to vote to accept or reject the Plan.

               (b)     Distributions. Subject to Section 6.5(b) of the Plan, each holder of an
 Allowed Claim in LBSF Class 5C shall receive from LBSF its Pro Rata Share of (i) Available
 Cash; provided, however, that the applicable Plan Adjustment Percentage of such Distribution
 shall be automatically redistributed pursuant to Section 6.5(a) of the Plan, (ii) the Excess Plan
 Adjustment Portion with respect to LBSF Class 5C and (iii) the LBSF Additional Settlement
 Amount.

          5.26      LBSF Class 6 – Equity Interests in LBSF.

                (a)    Impairment and Voting. LBSF Class 6 is impaired by the Plan. Each
 holder of an Equity Interest in LBSF Class 6 is not entitled to vote to accept or reject the Plan
 and is conclusively deemed to have rejected the Plan.

                (b)    Distributions. Equity Interests in LBSF shall be cancelled if and when
 LBSF is dissolved in accordance with Section 7.4 of the Plan. Each holder of an Equity Interest
 in LBSF shall neither receive nor retain any Property of the Estate or direct interest in Property
 of the Estate of LBSF on account of such Equity Interests thereafter; provided, however, that in


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 the event that all Allowed Claims against LBSF have been satisfied in full in accordance with the
 Bankruptcy Code and the Plan, each holder of an Equity Interest in LBSF may receive its Pro
 Rata Share of any remaining assets in LBSF.

          5.27      LOTC Class 1 – Priority Non-Tax Claims against LOTC.

                (a)   Impairment and Voting. LOTC Class 1 is impaired by the Plan. Each
 holder of an Allowed Claim in LOTC Class 1 is entitled to vote to accept or reject the Plan.

               (b)    Distributions. Except to the extent that the holder of an Allowed Claim in
 LOTC Class 1 agrees to less favorable treatment or has been paid by or on behalf of LOTC on
 account of such Claim prior to the Effective Date, on the later of the Effective Date and the date
 such Claim becomes Allowed, or as soon thereafter as is practicable, each holder of an Allowed
 Claim in LOTC Class 1 shall be paid by LOTC in Cash in full.

          5.28      LOTC Class 2 – Secured Claims against LOTC.

                (a)   Impairment and Voting. LOTC Class 2 is impaired by the Plan. Each
 holder of an Allowed Claim in LOTC Class 2 is entitled to vote to accept or reject the Plan.

                  (b)     Distributions. Except to the extent that the holder of an Allowed Claim in
 LOTC Class 2 agrees to less favorable treatment, each holder of an Allowed Claim in LOTC
 Class 2 shall be satisfied by, at the option of LOTC: (i) payment in Cash by LOTC in full on
 the later of the Effective Date and the date such Claim becomes Allowed, or as soon thereafter as
 is practicable; (ii) the sale or disposition proceeds of the Collateral securing such Allowed Claim
 to the extent of the value of the Collateral securing such Allowed Claim; (iii) surrender to the
 holder of such Allowed Claim of the Collateral securing such Allowed Claim; or (iv) such
 treatment that leaves unaltered the legal, equitable, and contractual rights to which the holder of
 the Allowed Claim is entitled. In the event an Allowed Claim in LOTC Class 2 is treated under
 clause (i) or (ii) above, the Liens securing such Claim shall be deemed released and extinguished
 without further order of the Bankruptcy Court.

          5.29      LOTC Class 3 – Convenience Claims against LOTC.

                (a)   Impairment and Voting. LOTC Class 3 is impaired by the Plan. Each
 holder of an Allowed Claim in LOTC Class 3 is entitled to vote to accept or reject the Plan.

                (b)     Distributions. Each holder of an Allowed Claim in LOTC Class 3 shall
 receive Cash from LOTC in an amount equal to .34 multiplied by the amount of such Claim, in
 full and complete satisfaction of such Allowed Claim, on the later of the Effective Date and the
 date such Claim becomes an Allowed Claim, or as soon thereafter as is practicable.

          5.30      LOTC Class 4 – General Unsecured Claims against LOTC.

                (a)   Impairment and Voting. LOTC Class 4 is impaired by the Plan. Each
 holder of an Allowed Claim in LOTC Class 4 is entitled to vote to accept or reject the Plan.




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                (b)    Distributions. Each holder of an Allowed Claim in LOTC Class 4 shall
 receive from LOTC its Pro Rata Share of (i) Available Cash; provided, however, that the
 applicable Plan Adjustment Percentage of such Distribution shall be automatically redistributed
 pursuant to Section 6.5(a) of the Plan, and (ii) the Excess Plan Adjustment Portion with respect
 to LOTC Class 4.

          5.31      LOTC Class 5A – Affiliate Claims of LBHI against LOTC.

                  (a)     Impairment and Voting. LOTC Class 5A is impaired by the Plan. LBHI
 is entitled to vote to accept or reject the Plan.

                 (b)    Distributions. Subject to Sections 6.5(b) and 6.5(c) of the Plan, LBHI
 shall receive its Pro Rata Share of Available Cash from LOTC.

          5.32      LOTC Class 5B – Affiliate Claims of Participating Subsidiary Debtors against
 LOTC.

                (a)   Impairment and Voting. LOTC Class 5B is impaired by the Plan. Each
 holder of an Allowed Claim in LOTC Class 5B is entitled to vote to accept or reject the Plan.

               (b)     Distributions. Subject to Section 6.5(b) of the Plan, each holder of an
 Allowed Claim in LOTC Class 5B shall receive from LOTC its Pro Rata Share of (i) Available
 Cash; provided, however, that the applicable Plan Adjustment Percentage of such Distribution
 shall be automatically redistributed pursuant to Section 6.5(a) of the Plan, and (ii) the Excess
 Plan Adjustment Portion with respect to LOTC Class 5B.

         5.33 LOTC Class 5C – Affiliate Claims other than those of Participating Debtors
 against LOTC.

                (a)   Impairment and Voting. LOTC Class 5C is impaired by the Plan. Each
 holder of an Allowed Claim in LOTC Class 5C is entitled to vote to accept or reject the Plan.

               (b)     Distributions. Subject to Section 6.5(b) of the Plan, each holder of an
 Allowed Claim in LOTC Class 5C shall receive from LOTC its Pro Rata Share of (i) Available
 Cash; provided, however, that the applicable Plan Adjustment Percentage of such Distribution
 shall be automatically redistributed pursuant to Section 6.5(a) of the Plan, and (ii) the Excess
 Plan Adjustment Portion with respect to LOTC Class 5C.

          5.34      LOTC Class 6 – Equity Interests in LOTC.

                (a)    Impairment and Voting. LOTC Class 6 is impaired by the Plan. Each
 holder of an Equity Interest in LOTC Class 6 is not entitled to vote to accept or reject the Plan
 and is conclusively deemed to have rejected the Plan.

                (b)   Distributions. Equity Interests in LOTC shall be cancelled if and when
 LOTC is dissolved in accordance with Section 7.4 of the Plan. Each holder of an Equity Interest
 in LOTC shall neither receive nor retain any Property of the Estate or direct interest in Property
 of the Estate of LOTC on account of such Equity Interests thereafter; provided, however, that in


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 the event that all Allowed Claims against LOTC have been satisfied in full in accordance with
 the Bankruptcy Code and the Plan, each holder of an Equity Interest in LOTC may receive its
 Pro Rata Share of any remaining assets in LOTC.

          5.35      LBCC Class 1 – Priority Non-Tax Claims against LBCC.

                (a)   Impairment and Voting. LBCC Class 1 is impaired by the Plan. Each
 holder of an Allowed Claim in LBCC Class 1 is entitled to vote to accept or reject the Plan.

               (b)    Distributions. Except to the extent that the holder of an Allowed Claim in
 LBCC Class 1 agrees to less favorable treatment or has been paid by or on behalf of LBCC on
 account of such Claim prior to the Effective Date, on the later of the Effective Date and the date
 such Claim becomes Allowed, or as soon thereafter as is practicable, each holder of an Allowed
 Claim in LBCC Class 1 shall be paid by LBCC in Cash in full.

          5.36      LBCC Class 2 – Secured Claims against LBCC.

                (a)   Impairment and Voting. LBCC Class 2 is impaired by the Plan. Each
 holder of an Allowed Claim in LBCC Class 2 is entitled to vote to accept or reject the Plan.

                  (b)     Distributions. Except to the extent that the holder of an Allowed Claim in
 LBCC Class 2 agrees to less favorable treatment, each holder of an Allowed Claim in LBCC
 Class 2 shall be satisfied by, at the option of LBCC: (i) payment in Cash by LBCC in full on
 the later of the Effective Date and the date such Claim becomes Allowed, or as soon thereafter as
 is practicable; (ii) the sale or disposition proceeds of the Collateral securing such Allowed Claim
 to the extent of the value of the Collateral securing such Allowed Claim; (iii) surrender to the
 holder of such Allowed Claim of the Collateral securing such Allowed Claim; or (iv) such
 treatment that leaves unaltered the legal, equitable, and contractual rights to which the holder of
 the Allowed Claim is entitled. In the event an Allowed Claim in LBCC Class 2 is treated under
 clause (i) or (ii) above, the Liens securing such Claim shall be deemed released and extinguished
 without further order of the Bankruptcy Court.

          5.37      LBCC Class 3 – Convenience Claims against LBCC.

                (a)   Impairment and Voting. LBCC Class 3 is impaired by the Plan. Each
 holder of an Allowed Claim in LBCC Class 3 is entitled to vote to accept or reject the Plan.

                (b)     Distributions. Each holder of an Allowed Claim in LBCC Class 3 shall
 receive Cash from LBCC in an amount equal to .49 multiplied by the amount of such Claim, in
 full and complete satisfaction of such Allowed Claim, on the later of the Effective Date and the
 date such Claim becomes an Allowed Claim, or as soon thereafter as is practicable.

          5.38      LBCC Class 4 – General Unsecured Claims against LBCC.

                (a)   Impairment and Voting. LBCC Class 4 is impaired by the Plan. Each
 holder of an Allowed Claim in LBCC Class 4 is entitled to vote to accept or reject the Plan.




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                (b)    Distributions. Each holder of an Allowed Claim in LBCC Class 4 shall
 receive from LBCC its Pro Rata Share of (i) Available Cash; provided, however, that the
 applicable Plan Adjustment Percentage of such Distribution shall be automatically redistributed
 pursuant to Section 6.5(a) of the Plan, and (ii) the Excess Plan Adjustment Portion with respect
 to LBCC Class 4.

          5.39      LBCC Class 5A – Affiliate Claims of LBHI against LBCC.

                  (a)     Impairment and Voting. LBCC Class 5A is impaired by the Plan. LBHI
 is entitled to vote to accept or reject the Plan.

                 (b)    Distributions. Subject to Sections 6.5(b) and 6.5(c) of the Plan, LBHI
 shall receive its Pro Rata Share of Available Cash from LBCC.

          5.40      LBCC Class 5B – Affiliate Claims of Participating Subsidiary Debtors against
 LBCC.

                (a)   Impairment and Voting. LBCC Class 5B is impaired by the Plan. Each
 holder of an Allowed Claim in LBCC Class 5B is entitled to vote to accept or reject the Plan.

               (b)     Distributions. Subject to Section 6.5(b) of the Plan, each holder of an
 Allowed Claim in LBCC Class 5B shall receive from LBCC its Pro Rata Share of (i) Available
 Cash; provided, however, that the applicable Plan Adjustment Percentage of such Distribution
 shall be automatically redistributed pursuant to Section 6.5(a) of the Plan, and (ii) the Excess
 Plan Adjustment Portion with respect to LBCC Class 5B.

         5.41 LBCC Class 5C – Affiliate Claims other than those of Participating Debtors
 against LBCC.

                (a)   Impairment and Voting. LBCC Class 5C is impaired by the Plan. Each
 holder of an Allowed Claim in LBCC Class 5C is entitled to vote to accept or reject the Plan.

               (b)     Distributions. Subject to Section 6.5(b) of the Plan, each holder of an
 Allowed Claim in LBCC Class 5C shall receive from LBCC its Pro Rata Share of (i) Available
 Cash; provided, however, that the applicable Plan Adjustment Percentage of such Distribution
 shall be automatically redistributed pursuant to Section 6.5(a) of the Plan, and (ii) the Excess
 Plan Adjustment Portion with respect to LBCC Class 5C.

          5.42      LBCC Class 6 – Equity Interests in LBCC.

                (a)    Impairment and Voting. LBCC Class 6 is impaired by the Plan. Each
 holder of an Equity Interest in LBCC Class 6 is not entitled to vote to accept or reject the Plan
 and is conclusively deemed to have rejected the Plan.

                (b)   Distributions. Equity Interests in LBCC shall be cancelled if and when
 LBCC is dissolved in accordance with Section 7.4 of the Plan. Each holder of an Equity Interest
 in LBCC shall neither receive nor retain any Property of the Estate or direct interest in Property
 of the Estate of LBCC on account of such Equity Interests thereafter; provided, however, that in


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 the event that all Allowed Claims against LBCC have been satisfied in full in accordance with
 the Bankruptcy Code and the Plan, each holder of an Equity Interest in LBCC may receive its
 Pro Rata Share of any remaining assets in LBCC.

          5.43      LBDP Class 1 – Priority Non-Tax Claims against LBDP.

                (a)   Impairment and Voting. LBDP Class 1 is impaired by the Plan. Each
 holder of an Allowed Claim in LBDP Class 1 is entitled to vote to accept or reject the Plan.

               (b)    Distributions. Except to the extent that the holder of an Allowed Claim in
 LBDP Class 1 agrees to less favorable treatment or has been paid by or on behalf of LBDP on
 account of such Claim prior to the Effective Date, on the later of the Effective Date and the date
 such Claim becomes Allowed, or as soon thereafter as is practicable, each holder of an Allowed
 Claim in LBDP Class 1 shall be paid by LBDP in Cash in full.

          5.44      LBDP Class 2 – Secured Claims against LBDP.

                (a)   Impairment and Voting. LBDP Class 2 is impaired by the Plan. Each
 holder of an Allowed Claim in LBDP Class 2 is entitled to vote to accept or reject the Plan.

                  (b)     Distributions. Except to the extent that the holder of an Allowed Claim in
 LBDP Class 2 agrees to less favorable treatment, each holder of an Allowed Claim in LBDP
 Class 2 shall be satisfied by, at the option of LBDP: (i) payment in Cash by LBDP in full on the
 later of the Effective Date and the date such Claim becomes Allowed, or as soon thereafter as is
 practicable; (ii) the sale or disposition proceeds of the Collateral securing such Allowed Claim to
 the extent of the value of the Collateral securing such Allowed Claim; (iii) surrender to the
 holder of such Allowed Claim of the Collateral securing such Allowed Claim; or (iv) such
 treatment that leaves unaltered the legal, equitable, and contractual rights to which the holder of
 the Allowed Claim is entitled. In the event an Allowed Claim in LBDP Class 2 is treated under
 clause (i) or (ii) above, the Liens securing such Claim shall be deemed released and extinguished
 without further order of the Bankruptcy Court.

          5.45      LBDP Class 3 – General Unsecured Claims against LBDP.

                (a)   Impairment and Voting. LBDP Class 3 is impaired by the Plan. Each
 holder of an Allowed Claim in LBDP Class 3 is entitled to vote to accept or reject the Plan.

                 (b)    Distributions. Each holder of an Allowed Claim in LBDP Class 3 shall
 receive its Pro Rata Share of Available Cash from LBDP.

          5.46      LBDP Class 4A – Affiliate Claims of LBHI against LBDP.

                    (a)       Impairment and Voting. LBHI is entitled to vote to accept or reject the
 Plan.

                 (b)    Distributions. Subject to Sections 6.5(b) and 6.5(c) of the Plan, LBHI
 shall receive its Pro Rata Share of Available Cash from LBDP.



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          5.47      LBDP Class 4B – Affiliate Claims other than those of LBHI against LBDP.

                (a)   Impairment and Voting. LBDP Class 4B is impaired by the Plan. Each
 holder of an Allowed Claim in LBDP Class 4B is entitled to vote to accept or reject the Plan.

              (b)   Distributions. Subject to Section 6.5(b) of the Plan, each holder of an
 Allowed Claim in LBDP Class 4B shall receive its Pro Rata Share of Available Cash from
 LBDP.

          5.48      LBDP Class 5 – Equity Interests in LBDP.

                (a)    Impairment and Voting. LBDP Class 5 is impaired by the Plan. Each
 holder of an Equity Interest in LBDP Class 5 is not entitled to vote to accept or reject the Plan
 and is conclusively deemed to have rejected the Plan.

                (b)     Distributions. Equity Interests in LBDP shall be cancelled if and when
 LBDP is dissolved in accordance with Section 7.4 of the Plan. Each holder of an Equity Interest
 in LBDP shall neither receive nor retain any Property of the Estate or direct interest in Property
 of the Estate of LBDP on account of such Equity Interests thereafter; provided, however, that in
 the event that all Allowed Claims against LBDP have been satisfied in full in accordance with
 the Bankruptcy Code and the Plan, each holder of an Equity Interest in LBDP may receive its
 Pro Rata Share of any remaining assets in LBDP.

          5.49      LBFP Class 1 – Priority Non-Tax Claims against LBFP.

                (a)   Impairment and Voting. LBFP Class 1 is impaired by the Plan. Each
 holder of an Allowed Claim in LBFP Class 1 is entitled to vote to accept or reject the Plan.

               (b)    Distributions. Except to the extent that the holder of an Allowed Claim in
 LBFP Class 1 agrees to less favorable treatment or has been paid by or on behalf of LBFP on
 account of such Claim prior to the Effective Date, on the later of the Effective Date and the date
 such Claim becomes Allowed, or as soon thereafter as is practicable, each holder of an Allowed
 Claim in LBFP Class 1 shall be paid by LBFP in Cash in full.

          5.50      LBFP Class 2 – Secured Claims against LBFP.

                (a)   Impairment and Voting. LBFP Class 2 is impaired by the Plan. Each
 holder of an Allowed Claim in LBFP Class 2 is entitled to vote to accept or reject the Plan.

                  (b)     Distributions. Except to the extent that the holder of an Allowed Claim in
 LBFP Class 2 agrees to less favorable treatment, each holder of an Allowed Claim in LBFP
 Class 2 shall be satisfied by, at the option of LBFP: (i) payment in Cash by LBFP in full on the
 later of the Effective Date and the date such Claim becomes Allowed, or as soon thereafter as is
 practicable; (ii) the sale or disposition proceeds of the Collateral securing such Allowed Claim to
 the extent of the value of the Collateral securing such Allowed Claim; (iii) surrender to the
 holder of such Allowed Claim of the Collateral securing such Allowed Claim; or (iv) such
 treatment that leaves unaltered the legal, equitable, and contractual rights to which the holder of
 the Allowed Claim is entitled. In the event an Allowed Claim in LBFP Class 2 is treated under


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 clause (i) or (ii) above, the Liens securing such Claim shall be deemed released and extinguished
 without further order of the Bankruptcy Court.

          5.51      LBFP Class 3 – General Unsecured Claims against LBFP.

                (a)   Impairment and Voting. LBFP Class 3 is impaired by the Plan. Each
 holder of an Allowed Claim in LBFP Class 3 is entitled to vote to accept or reject the Plan.

                 (b)    Distributions. Each holder of an Allowed Claim in LBFP Class 3 shall
 receive its Pro Rata Share of Available Cash from LBFP.

          5.52      LBFP Class 4A – Affiliate Claims of LBHI against LBFP.

                  (a)     Impairment and Voting. LBFP Class 4A is impaired by the Plan. LBHI
 is entitled to vote to accept or reject the Plan.

                 (b)    Distributions. Subject to Sections 6.5(b) and 6.5(c) of the Plan, LBHI
 shall receive its Pro Rata Share of Available Cash from LBFP.

          5.53      LBFP Class 4B – Affiliate Claims other than those of LBHI against LBFP.

                (a)   Impairment and Voting. LBFP Class 4B is impaired by the Plan. Each
 holder of an Allowed Claim in LBFP Class 4B is entitled to vote to accept or reject the Plan.

              (b)    Distributions. Subject to Section 6.5(b) of the Plan, each holder of an
 Allowed Claim in LBFP Class 4B shall receive its Pro Rata Share of Available Cash from LBFP.

          5.54      LBFP Class 5 – Equity Interests in LBFP.

                (a)    Impairment and Voting. LBFP Class 5 is impaired by the Plan. Each
 holder of an Equity Interest in LBFP Class 5 is not entitled to vote to accept or reject the Plan
 and is conclusively deemed to have rejected the Plan.

                 (b)    Distributions. Equity Interests in LBFP shall be cancelled if and when
 LBFP is dissolved in accordance with Section 7.4 of the Plan. Each holder of an Equity Interest
 in LBFP shall neither receive nor retain any Property of the Estate or direct interest in Property
 of the Estate of LBFP on account of such Equity Interests thereafter; provided, however, that in
 the event that all Allowed Claims against LBFP have been satisfied in full in accordance with the
 Bankruptcy Code and the Plan, each holder of an Equity Interest in LBFP may receive its Pro
 Rata Share of any remaining assets in LBFP.

          5.55      LB 745 Class 1 – Priority Non-Tax Claims against LB 745.

                (a)   Impairment and Voting. LB 745 Class 1 is impaired by the Plan. Each
 holder of an Allowed Claim in LB 745 Class 1 is entitled to vote to accept or reject the Plan.

              (b)     Distributions. Except to the extent that the holder of an Allowed Claim in
 LB 745 Class 1 agrees to less favorable treatment or has been paid by or on behalf of LB 745 on



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 account of such Claim prior to the Effective Date, on the later of the Effective Date and the date
 such Claim becomes Allowed, or as soon thereafter as is practicable, each holder of an Allowed
 Claim in LB 745 Class 1 shall be paid by LB 745 in Cash in full.

          5.56      LB 745 Class 2 – Secured Claims against LB 745.

                (a)   Impairment and Voting. LB 745 Class 2 is impaired by the Plan. Each
 holder of an Allowed Claim in LB 745 Class 2 is entitled to vote to accept or reject the Plan.

                  (b)     Distributions. Except to the extent that the holder of an Allowed Claim in
 LB 745 Class 2 agrees to less favorable treatment, each holder of an Allowed Claim in LB 745
 Class 2 shall be satisfied by, at the option of LB 745: (i) payment in Cash by LB 745 in full on
 the later of the Effective Date and the date such Claim becomes Allowed, or as soon thereafter as
 is practicable; (ii) the sale or disposition proceeds of the Collateral securing such Allowed Claim
 to the extent of the value of the Collateral securing such Allowed Claim; (iii) surrender to the
 holder of such Allowed Claim of the Collateral securing such Allowed Claim; or (iv) such
 treatment that leaves unaltered the legal, equitable, and contractual rights to which the holder of
 the Allowed Claim is entitled. In the event an Allowed Claim in LB 745 Class 2 is treated
 under clause (i) or (ii) above, the Liens securing such Claim shall be deemed released and
 extinguished without further order of the Bankruptcy Court.

          5.57      LB 745 Class 3 – General Unsecured Claims against LB 745.

                (a)   Impairment and Voting. LB 745 Class 3 is impaired by the Plan. Each
 holder of an Allowed Claim in LB 745 Class 3 is entitled to vote to accept or reject the Plan.

                 (b)    Distributions. Each holder of an Allowed Claim in LB 745 Class 3 shall
 receive its Pro Rata Share of Available Cash from LB 745.

          5.58      LB 745 Class 4A – Affiliate Claims of LBHI against LB 745.

                (a)     Impairment and Voting. LB 745 Class 4A is impaired by the Plan.
 LBHI is entitled to vote to accept or reject the Plan.

                 (b)    Distributions. Subject to Sections 6.5(b) and 6.5(c) of the Plan, LBHI
 shall receive its Pro Rata Share of Available Cash from LB 745.

          5.59      LB 745 Class 4B – Affiliate Claims other than those of LBHI against LB 745.

                (a)   Impairment and Voting. LB 745 Class 4B is impaired by the Plan. Each
 holder of an Allowed Claim in LB 745 Class 4B is entitled to vote to accept or reject the Plan.

              (b)    Distributions. Subject to Section 6.5(b) of the Plan, each holder of an
 Allowed Claim in LB 745 Class 4B shall receive its Pro Rata Share of Available Cash from LB
 745.




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          5.60      LB 745 Class 5 – Equity Interests in LB 745.

                (a)    Impairment and Voting. LB 745 Class 5 is impaired by the Plan. Each
 holder of an Equity Interest in LB 745 Class 5 is not entitled to vote to accept or reject the Plan
 and is conclusively deemed to have rejected the Plan.

                (b)    Distributions. Equity Interests in LB 745 shall be cancelled if and when
 LB 745 is dissolved in accordance with Section 7.4 of the Plan. Each holder of an Equity
 Interest in LB 745 shall neither receive nor retain any Property of the Estate or direct interest in
 Property of the Estate of LB 745 on account of such Equity Interests thereafter; provided,
 however, that in the event that all Allowed Claims against LB 745 have been satisfied in full in
 accordance with the Bankruptcy Code and the Plan, each holder of an Equity Interest in LB 745
 may receive its Pro Rata Share of any remaining assets in LB 745.

          5.61      PAMI Statler Class 1 – Priority Non-Tax Claims against PAMI Statler.

               (a)    Impairment and Voting. PAMI Statler Class 1 is impaired by the Plan.
 Each holder of an Allowed Claim in PAMI Statler Class 1 is entitled to vote to accept or reject
 the Plan.

               (b)    Distributions. Except to the extent that the holder of an Allowed Claim in
 PAMI Statler Class 1 agrees to less favorable treatment or has been paid by or on behalf of
 PAMI Statler on account of such Claim prior to the Effective Date, on the later of the Effective
 Date and the date such Claim becomes Allowed, or as soon thereafter as is practicable, each
 holder of an Allowed Claim in PAMI Statler Class 1 shall be paid by PAMI Statler in Cash in
 full.

          5.62      PAMI Statler Class 2 – Secured Claims against PAMI Statler.

               (a)    Impairment and Voting. PAMI Statler Class 2 is impaired by the Plan.
 Each holder of an Allowed Claim in PAMI Statler Class 2 is entitled to vote to accept or reject
 the Plan.

                (b)     Distributions. Except to the extent that the holder of an Allowed Claim in
 PAMI Statler Class 2 agrees to less favorable treatment, each holder of an Allowed Claim in
 PAMI Statler Class 2 shall be satisfied by, at the option of PAMI Statler: (i) payment in Cash
 by PAMI Statler in full on the later of the Effective Date and the date such Claim becomes
 Allowed, or as soon thereafter as is practicable; (ii) the sale or disposition proceeds of the
 Collateral securing such Allowed Claim to the extent of the value of the Collateral securing such
 Allowed Claim; (iii) surrender to the holder of such Allowed Claim of the Collateral securing
 such Allowed Claim; or (iv) such treatment that leaves unaltered the legal, equitable, and
 contractual rights to which the holder of the Allowed Claim is entitled. In the event an Allowed
 Claim in PAMI Statler Class 2 is treated under clause (i) or (ii) above, the Liens securing such
 Claim shall be deemed released and extinguished without further order of the Bankruptcy Court.




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            5.63    PAMI Statler Class 3 – General Unsecured Claims against PAMI Statler.

               (a)    Impairment and Voting. PAMI Statler Class 3 is impaired by the Plan.
 Each holder of an Allowed Claim in PAMI Statler Class 3 is entitled to vote to accept or reject
 the Plan.

                 (b)    Distributions. Each holder of an Allowed Claim in PAMI Statler Class 3
 shall receive its Pro Rata Share of Available Cash from PAMI Statler.

            5.64    PAMI Statler Class 4A – Affiliate Claims of LBHI against PAMI Statler.

                (a)     Impairment and Voting. PAMI Statler Class 4A is impaired by the Plan.
 LBHI is entitled to vote to accept or reject the Plan.

                 (b)    Distributions. Subject to Sections 6.5(b) and 6.5(c) of the Plan, LBHI
 shall receive its Pro Rata Share of Available Cash from PAMI Statler.

            5.65    PAMI Statler Class 4B – Affiliate Claims other than those of LBHI against PAMI
 Statler.

               (a)     Impairment and Voting. PAMI Statler Class 4B is impaired by the Plan.
 Each holder of an Allowed Claim in PAMI Statler Class 4B is entitled to vote to accept or reject
 the Plan.

               (b)  Distributions. Subject to Section 6.5(b) of the Plan, each holder of an
 Allowed Claim in PAMI Statler Class 4B shall receive its Pro Rata Share of Available Cash from
 PAMI Statler.

            5.66    PAMI Statler Class 5 – Equity Interests in PAMI Statler.

                 (a)     Impairment and Voting. PAMI Statler Class 5 is impaired by the Plan.
 Each holder of an Equity Interest in PAMI Statler Class 5 is not entitled to vote to accept or
 reject the Plan and is conclusively deemed to have rejected the Plan.

                 (b)    Distributions. Equity Interests in PAMI Statler shall be cancelled if and
 when PAMI Statler is dissolved in accordance with Section 7.4 of the Plan. Each holder of an
 Equity Interest in PAMI Statler shall neither receive nor retain any Property of the Estate or
 direct interest in Property of the Estate of PAMI Statler on account of such Equity Interests
 thereafter; provided, however, that in the event that all Allowed Claims against PAMI Statler
 have been satisfied in full in accordance with the Bankruptcy Code and the Plan, each holder of
 an Equity Interest in PAMI Statler may receive its Pro Rata Share of any remaining assets in
 PAMI Statler.

            5.67    CES Class 1 – Priority Non-Tax Claims against CES.

                (a)   Impairment and Voting. CES Class 1 is impaired by the Plan. Each
 holder of an Allowed Claim in CES Class 1 is entitled to vote to accept or reject the Plan.



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               (b)    Distributions. Except to the extent that the holder of an Allowed Claim in
 CES Class 1 agrees to less favorable treatment or has been paid by or on behalf of CES on
 account of such Claim prior to the Effective Date, on the later of the Effective Date and the date
 such Claim becomes Allowed, or as soon thereafter as is practicable, each holder of an Allowed
 Claim in CES Class 1 shall be paid by CES in Cash in full.

          5.68      CES Class 2 – Secured Claims against CES.

                (a)   Impairment and Voting. CES Class 2 is impaired by the Plan. Each
 holder of an Allowed Claim in CES Class 2 is entitled to vote to accept or reject the Plan.

                  (b)    Distributions. Except to the extent that the holder of an Allowed Claim in
 CES Class 2 agrees to less favorable treatment, each holder of an Allowed Claim in CES Class 2
 shall be satisfied by, at the option of CES: (i) payment in Cash by CES in full on the later of the
 Effective Date and the date such Claim becomes Allowed, or as soon thereafter as is practicable;
 (ii) the sale or disposition proceeds of the Collateral securing such Allowed Claim to the extent
 of the value of the Collateral securing such Allowed Claim; (iii) surrender to the holder of such
 Allowed Claim of the Collateral securing such Allowed Claim; or (iv) such treatment that leaves
 unaltered the legal, equitable, and contractual rights to which the holder of the Allowed Claim is
 entitled. In the event an Allowed Claim in CES Class 2 is treated under clause (i) or (ii) above,
 the Liens securing such Claim shall be deemed released and extinguished without further order
 of the Bankruptcy Court.

          5.69      CES Class 3 – General Unsecured Claims against CES.

                (a)   Impairment and Voting. CES Class 3 is impaired by the Plan. Each
 holder of an Allowed Claim in CES Class 3 is entitled to vote to accept or reject the Plan.

                 (b)    Distributions. Each holder of an Allowed Claim in CES Class 3 shall
 receive its Pro Rata Share of Available Cash from CES.

          5.70      CES Class 4A – Affiliate Claims of LBHI against CES.

                 (a)     Impairment and Voting. CES Class 4A is impaired by the Plan. LBHI is
 entitled to vote to accept or reject the Plan.

                 (b)    Distributions. Subject to Sections 6.5(b) and 6.5(c) of the Plan, LBHI
 shall receive its Pro Rata Share of Available Cash from CES.

          5.71      CES Class 4B – Affiliate Claims other than those of LBHI against CES.

                (a)   Impairment and Voting. CES Class 4B is impaired by the Plan. Each
 holder of an Allowed Claim in CES Class 4B is entitled to vote to accept or reject the Plan.

              (b)    Distributions. Subject to Section 6.5(b) of the Plan, each holder of an
 Allowed Claim in CES Class 4B shall receive its Pro Rata Share of Available Cash from CES.




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          5.72      CES Class 5 – Equity Interests in CES.

                (a)    Impairment and Voting. CES Class 5 is impaired by the Plan. Each
 holder of an Equity Interest in CES Class 5 is not entitled to vote to accept or reject the Plan and
 is conclusively deemed to have rejected the Plan.

                (b)     Distributions. Equity Interests in CES shall be cancelled if and when
 CES is dissolved in accordance with Section 7.4 of the Plan. Each holder of an Equity Interest
 in CES shall neither receive nor retain any Property of the Estate or direct interest in Property of
 the Estate of CES on account of such Equity Interests thereafter; provided, however, that in the
 event that all Allowed Claims against CES have been satisfied in full in accordance with the
 Bankruptcy Code and the Plan, each holder of an Equity Interest in CES may receive its Pro Rata
 Share of any remaining assets in CES.

          5.73      CES V Class 1 – Priority Non-Tax Claims against CES V.

                (a)   Impairment and Voting. CES V Class 1 is impaired by the Plan. Each
 holder of an Allowed Claim in CES V Class 1 is entitled to vote to accept or reject the Plan.

               (b)    Distributions. Except to the extent that the holder of an Allowed Claim in
 CES V Class 1 agrees to less favorable treatment or has been paid by or on behalf of CES V on
 account of such Claim prior to the Effective Date, on the later of the Effective Date and the date
 such Claim becomes Allowed, or as soon thereafter as is practicable, each holder of an Allowed
 Claim in CES V Class 1 shall be paid by CES V in Cash in full.

          5.74      CES V Class 2 – Secured Claims against CES V.

                (a)   Impairment and Voting. CES V Class 2 is impaired by the Plan. Each
 holder of an Allowed Claim in CES V Class 2 is entitled to vote to accept or reject the Plan.

                  (b)     Distributions. Except to the extent that the holder of an Allowed Claim in
 CES V Class 2 agrees to less favorable treatment, each holder of an Allowed Claim in CES V
 Class 2 shall be satisfied by, at the option of CES V: (i) payment in Cash by CES V in full on
 the later of the Effective Date and the date such Claim becomes Allowed, or as soon thereafter as
 is practicable; (ii) the sale or disposition proceeds of the Collateral securing such Allowed Claim
 to the extent of the value of the Collateral securing such Allowed Claim; (iii) surrender to the
 holder of such Allowed Claim of the Collateral securing such Allowed Claim; or (iv) such
 treatment that leaves unaltered the legal, equitable, and contractual rights to which the holder of
 the Allowed Claim is entitled. In the event an Allowed Claim in CES V Class 2 is treated under
 clause (i) or (ii) above, the Liens securing such Claim shall be deemed released and extinguished
 without further order of the Bankruptcy Court.

          5.75      CES V Class 3 – General Unsecured Claims against CES V.

                (a)   Impairment and Voting. CES V Class 3 is impaired by the Plan. Each
 holder of an Allowed Claim in CES V Class 3 is entitled to vote to accept or reject the Plan.




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                 (b)    Distributions. Each holder of an Allowed Claim in CES V Class 3 shall
 receive its Pro Rata Share of Available Cash from CES V.

          5.76      CES V Class 4A – Affiliate Claims of LBHI against CES V.

                  (a)     Impairment and Voting. CES V Class 4A is impaired by the Plan. LBHI
 is entitled to vote to accept or reject the Plan.

                 (b)    Distributions. Subject to Sections 6.5(b) and 6.5(c) of the Plan, LBHI
 shall receive its Pro Rata Share of Available Cash from CES V.

          5.77      CES V Class 4B – Affiliate Claims other than those of LBHI against CES V.

                (a)   Impairment and Voting. CES V Class 4B is impaired by the Plan. Each
 holder of an Allowed Claim in CES V Class 4B is entitled to vote to accept or reject the Plan.

              (b)   Distributions. Subject to Section 6.5(b) of the Plan, each holder of an
 Allowed Claim in CES V Class 4B shall receive its Pro Rata Share of Available Cash from CES
 V.

          5.78      CES V Class 5 – Equity Interests in CES V.

                (a)    Impairment and Voting. CES V Class 5 is impaired by the Plan. Each
 holder of an Equity Interest in CES V Class 5 is not entitled to vote to accept or reject the Plan
 and is conclusively deemed to have rejected the Plan.

                (b)    Distributions. Equity Interests in CES V shall be cancelled if and when
 CES V is dissolved in accordance with Section 7.4 of the Plan. Each holder of an Equity
 Interest in CES V shall neither receive nor retain any Property of the Estate or direct interest in
 Property of the Estate of CES V on account of such Equity Interests thereafter; provided,
 however, that in the event that all Allowed Claims against CES V have been satisfied in full in
 accordance with the Bankruptcy Code and the Plan, each holder of an Equity Interest in CES V
 may receive its Pro Rata Share of any remaining assets in CES V.

          5.79      CES IX Class 1 – Priority Non-Tax Claims against CES IX.

                (a)   Impairment and Voting. CES IX Class 1 is impaired by the Plan. Each
 holder of an Allowed Claim in CES IX Class 1 is entitled to vote to accept or reject the Plan.

               (b)    Distributions. Except to the extent that the holder of an Allowed Claim in
 CES IX Class 1 agrees to less favorable treatment or has been paid by or on behalf of CES IX on
 account of such Claim prior to the Effective Date, on the later of the Effective Date and the date
 such Claim becomes Allowed, or as soon thereafter as is practicable, each holder of an Allowed
 Claim in CES IX Class 1 shall be paid by CES IX in Cash in full.




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          5.80      CES IX Class 2 – Secured Claims against CES IX.

                (a)   Impairment and Voting. CES IX Class 2 is impaired by the Plan. Each
 holder of an Allowed Claim in CES IX Class 2 is entitled to vote to accept or reject the Plan.

                  (b)     Distributions. Except to the extent that the holder of an Allowed Claim in
 CES IX Class 2 agrees to less favorable treatment, each holder of an Allowed Claim in CES IX
 Class 2 shall be satisfied by, at the option of CES IX: (i) payment in Cash by CES IX in full on
 the later of the Effective Date and the date such Claim becomes Allowed, or as soon thereafter as
 is practicable; (ii) the sale or disposition proceeds of the Collateral securing such Allowed Claim
 to the extent of the value of the Collateral securing such Allowed Claim; (iii) surrender to the
 holder of such Allowed Claim of the Collateral securing such Allowed Claim; or (iv) such
 treatment that leaves unaltered the legal, equitable, and contractual rights to which the holder of
 the Allowed Claim is entitled. In the event an Allowed Claim in CES IX Class 2 is treated
 under clause (i) or (ii) above, the Liens securing such Claim shall be deemed released and
 extinguished without further order of the Bankruptcy Court.

          5.81      CES IX Class 3 – General Unsecured Claims against CES IX.

                (a)   Impairment and Voting. CES IX Class 3 is impaired by the Plan. Each
 holder of an Allowed Claim in CES IX Class 3 is entitled to vote to accept or reject the Plan.

                 (b)    Distributions. Each holder of an Allowed Claim in CES IX Class 3 shall
 receive its Pro Rata Share of Available Cash from CES IX.

          5.82      CES IX Class 4A – Affiliate Claims of LBHI against CES IX.

                (a)     Impairment and Voting. CES IX Class 4A is impaired by the Plan.
 LBHI is entitled to vote to accept or reject the Plan.

                 (b)    Distributions. Subject to Sections 6.5(b) and 6.5(c) of the Plan, LBHI
 shall receive its Pro Rata Share of Available Cash from CES IX.

          5.83      CES IX Class 4B – Affiliate Claims other than those of LBHI against CES IX.

                (a)   Impairment and Voting. CES IX Class 4B is impaired by the Plan. Each
 holder of an Allowed Claim in CES IX Class 4B is entitled to vote to accept or reject the Plan.

              (b)    Distributions. Subject to Section 6.5(b) of the Plan, each holder of an
 Allowed Claim in CES IX Class 4B shall receive its Pro Rata Share of Available Cash from CES
 IX

          5.84      CES IX Class 5 – Equity Interests in CES IX.

                (a)    Impairment and Voting. CES IX Class 5 is impaired by the Plan. Each
 holder of an Equity Interest in CES IX Class 5 is not entitled to vote to accept or reject the Plan
 and is conclusively deemed to have rejected the Plan.



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                (b)    Distributions. Equity Interests in CES IX shall be cancelled if and when
 CES IX is dissolved in accordance with Section 7.4 of the Plan. Each holder of an Equity
 Interest in CES IX shall neither receive nor retain any Property of the Estate or direct interest in
 Property of the Estate of CES IX on account of such Equity Interests thereafter; provided,
 however, that in the event that all Allowed Claims against CES IX have been satisfied in full in
 accordance with the Bankruptcy Code and the Plan, each holder of an Equity Interest in CES IX
 may receive its Pro Rata Share of any remaining assets in CES IX.

          5.85      East Dover Class 1 – Priority Non-Tax Claims against East Dover.

               (a)     Impairment and Voting. East Dover Class 1 is impaired by the Plan.
 Each holder of an Allowed Claim in East Dover Class 1 is entitled to vote to accept or reject the
 Plan.

                (b)    Distributions. Except to the extent that the holder of an Allowed Claim in
 East Dover Class 1 agrees to less favorable treatment or has been paid by or on behalf of East
 Dover on account of such Claim prior to the Effective Date, on the later of the Effective Date
 and the date such Claim becomes Allowed, or as soon thereafter as is practicable, each holder of
 an Allowed Claim in East Dover Class 1 shall be paid by East Dover in Cash in full.

          5.86      East Dover Class 2 – Secured Claims against East Dover.

               (a)     Impairment and Voting. East Dover Class 2 is impaired by the Plan.
 Each holder of an Allowed Claim in East Dover Class 2 is entitled to vote to accept or reject the
 Plan.

                 (b)    Distributions. Except to the extent that the holder of an Allowed Claim in
 East Dover Class 2 agrees to less favorable treatment, each holder of an Allowed Claim in East
 Dover Class 2 shall be satisfied by, at the option of East Dover: (i) payment in Cash by East
 Dover in full on the later of the Effective Date and the date such Claim becomes Allowed, or as
 soon thereafter as is practicable; (ii) the sale or disposition proceeds of the Collateral securing
 such Allowed Claim to the extent of the value of the Collateral securing such Allowed Claim;
 (iii) surrender to the holder of such Allowed Claim of the Collateral securing such Allowed
 Claim; or (iv) such treatment that leaves unaltered the legal, equitable, and contractual rights to
 which the holder of the Allowed Claim is entitled. In the event an Allowed Claim in East Dover
 Class 2 is treated under clause (i) or (ii) above, the Liens securing such Claim shall be deemed
 released and extinguished without further order of the Bankruptcy Court.

          5.87      East Dover Class 3 – General Unsecured Claims against East Dover.

               (a)     Impairment and Voting. East Dover Class 3 is impaired by the Plan.
 Each holder of an Allowed Claim in East Dover Class 3 is entitled to vote to accept or reject the
 Plan.

                 (b)     Distributions. Each holder of an Allowed Claim in East Dover Class 3
 shall receive its Pro Rata Share of Available Cash from East Dover.




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          5.88      East Dover Class 4A – Affiliate Claims of LBHI against East Dover.

                (a)     Impairment and Voting. East Dover Class 4A is impaired by the Plan.
 LBHI is entitled to vote to accept or reject the Plan.

                 (b)     Distributions. Subject to Sections 6.5(b) and 6.5(c) of the Plan, LBHI
 shall receive its Pro Rata Share of Available Cash from East Dover.

          5.89      East Dover Class 4B – Affiliate Claims other than those of LBHI against East
 Dover.

               (a)    Impairment and Voting. East Dover Class 4B is impaired by the Plan.
 Each holder of an Allowed Claim in East Dover Class 4B is entitled to vote to accept or reject
 the Plan.

              (b)    Distributions. Subject to Section 6.5(b) of the Plan, each holder of an
 Allowed Claim in East Dover Class 4B shall receive its Pro Rata Share of Available Cash from
 East Dover.

          5.90      East Dover Class 5 – Equity Interests in East Dover.

                 (a)    Impairment and Voting. East Dover Class 5 is impaired by the Plan.
 Each holder of an Equity Interest in East Dover Class 5 is not entitled to vote to accept or reject
 the Plan and is conclusively deemed to have rejected the Plan.

                  (b)    Distributions. Equity Interests in East Dover shall be cancelled if and
 when East Dover is dissolved in accordance with Section 7.4 of the Plan. Each holder of an
 Equity Interest in East Dover shall neither receive nor retain any Property of the Estate or direct
 interest in Property of the Estate of East Dover on account of such Equity Interests thereafter;
 provided, however, that in the event that all Allowed Claims against East Dover have been
 satisfied in full in accordance with the Bankruptcy Code and the Plan, each holder of an Equity
 Interest in East Dover may receive its Pro Rata Share of any remaining assets in East Dover.

          5.91      LS Finance Class 1 – Priority Non-Tax Claims against LS Finance.

               (a)     Impairment and Voting. LS Finance Class 1 is impaired by the Plan.
 Each holder of an Allowed Claim in LS Finance Class 1 is entitled to vote to accept or reject the
 Plan.

                (b)    Distributions. Except to the extent that the holder of an Allowed Claim in
 LS Finance Class 1 agrees to less favorable treatment or has been paid by or on behalf of LS
 Finance on account of such Claim prior to the Effective Date, on the later of the Effective Date
 and the date such Claim becomes Allowed, or as soon thereafter as is practicable, each holder of
 an Allowed Claim in LS Finance Class 1 shall be paid by LS Finance in Cash in full.




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          5.92      LS Finance Class 2 – Secured Claims against LS Finance.

               (a)     Impairment and Voting. LS Finance Class 2 is impaired by the Plan.
 Each holder of an Allowed Claim in LS Finance Class 2 is entitled to vote to accept or reject the
 Plan.

                 (b)     Distributions. Except to the extent that the holder of an Allowed Claim in
 LS Finance Class 2 agrees to less favorable treatment, each holder of an Allowed Claim in LS
 Finance Class 2 shall be satisfied by, at the option of LS Finance: (i) payment in Cash by LS
 Finance in full on the later of the Effective Date and the date such Claim becomes Allowed, or as
 soon thereafter as is practicable; (ii) the sale or disposition proceeds of the Collateral securing
 such Allowed Claim to the extent of the value of the Collateral securing such Allowed Claim;
 (iii) surrender to the holder of such Allowed Claim of the Collateral securing such Allowed
 Claim; or (iv) such treatment that leaves unaltered the legal, equitable, and contractual rights to
 which the holder of the Allowed Claim is entitled. In the event an Allowed Claim in LS
 Finance Class 2 is treated under clause (i) or (ii) above, the Liens securing such Claim shall be
 deemed released and extinguished without further order of the Bankruptcy Court.

          5.93      LS Finance Class 3 – General Unsecured Claims against LS Finance.

               (a)     Impairment and Voting. LS Finance Class 3 is impaired by the Plan.
 Each holder of an Allowed Claim in LS Finance Class 3 is entitled to vote to accept or reject the
 Plan.

                 (b)     Distributions. Each holder of an Allowed Claim in LS Finance Class 3
 shall receive its Pro Rata Share of Available Cash from LS Finance.

          5.94      LS Finance Class 4A – Affiliate Claims of LBHI against LS Finance.

                (a)     Impairment and Voting. LS Finance Class 4A is impaired by the Plan.
 LBHI is entitled to vote to accept or reject the Plan.

                 (b)     Distributions. Subject to Sections 6.5(b) and 6.5(c) of the Plan, LBHI
 shall receive its Pro Rata Share of Available Cash from LS Finance.

        5.95        LS Finance Class 4B – Affiliate Claims other than those of LBHI against LS
 Finance.

               (a)    Impairment and Voting. LS Finance Class 4B is impaired by the Plan.
 Each holder of an Allowed Claim in LS Finance Class 4B is entitled to vote to accept or reject
 the Plan.

              (b)    Distributions. Subject to Section 6.5(b) of the Plan, each holder of an
 Allowed Claim in LS Finance Class 4B shall receive its Pro Rata Share of Available Cash from
 LS Finance.




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          5.96      LS Finance Class 5 – Equity Interests in LS Finance.

                 (a)    Impairment and Voting. LS Finance Class 5 is impaired by the Plan.
 Each holder of an Equity Interest in LS Finance Class 5 is not entitled to vote to accept or reject
 the Plan and is conclusively deemed to have rejected the Plan.

                  (b)    Distributions. Equity Interests in LS Finance shall be cancelled if and
 when LS Finance is dissolved in accordance with Section 7.4 of the Plan. Each holder of an
 Equity Interest in LS Finance shall neither receive nor retain any Property of the Estate or direct
 interest in Property of the Estate of LS Finance on account of such Equity Interests thereafter;
 provided, however, that in the event that all Allowed Claims against LS Finance have been
 satisfied in full in accordance with the Bankruptcy Code and the Plan, each holder of an Equity
 Interest in LS Finance may receive its Pro Rata Share of any remaining assets in LS Finance.

          5.97      LUXCO Class 1 – Priority Non-Tax Claims against LUXCO.

                (a)   Impairment and Voting. LUXCO Class 1 is impaired by the Plan. Each
 holder of an Allowed Claim in LUXCO Class 1 is entitled to vote to accept or reject the Plan.

               (b)    Distributions. Except to the extent that the holder of an Allowed Claim in
 LUXCO Class 1 agrees to less favorable treatment or has been paid by or on behalf of LUXCO
 on account of such Claim prior to the Effective Date, on the later of the Effective Date and the
 date such Claim becomes Allowed, or as soon thereafter as is practicable, each holder of an
 Allowed Claim in LUXCO Class 1 shall be paid by LUXCO in Cash in full.

          5.98      LUXCO Class 2 – Secured Claims against LUXCO.

                (a)   Impairment and Voting. LUXCO Class 2 is impaired by the Plan. Each
 holder of an Allowed Claim in LUXCO Class 2 is entitled to vote to accept or reject the Plan.

                 (b)     Distributions. Except to the extent that the holder of an Allowed Claim in
 LUXCO Class 2 agrees to less favorable treatment, each holder of an Allowed Claim in LUXCO
 Class 2 shall be satisfied by, at the option of LUXCO: (i) payment in Cash by LUXCO in full
 on the later of the Effective Date and the date such Claim becomes Allowed, or as soon
 thereafter as is practicable; (ii) the sale or disposition proceeds of the Collateral securing such
 Allowed Claim to the extent of the value of the Collateral securing such Allowed Claim; (iii)
 surrender to the holder of such Allowed Claim of the Collateral securing such Allowed Claim; or
 (iv) such treatment that leaves unaltered the legal, equitable, and contractual rights to which the
 holder of the Allowed Claim is entitled. In the event an Allowed Claim in LUXCO Class 2 is
 treated under clause (i) or (ii) above, the Liens securing such Claim shall be deemed released and
 extinguished without further order of the Bankruptcy Court.

          5.99      LUXCO Class 3 – General Unsecured Claims against LUXCO.

                (a)   Impairment and Voting. LUXCO Class 3 is impaired by the Plan. Each
 holder of an Allowed Claim in LUXCO Class 3 is entitled to vote to accept or reject the Plan.




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                 (b)    Distributions. Each holder of an Allowed Claim in LUXCO Class 3 shall
 receive its Pro Rata Share of Available Cash from LUXCO.

          5.100 LUXCO Class 4A – Affiliate Claims of LBHI against LUXCO.

                (a)     Impairment and Voting. LUXCO Class 4A is impaired by the Plan.
 LBHI is entitled to vote to accept or reject the Plan.

                 (b)    Distributions. Subject to Sections 6.5(b) and 6.5(c) of the Plan, LBHI
 shall receive its Pro Rata Share of Available Cash from LUXCO.

          5.101 LUXCO Class 4B – Affiliate Claims other than those of LBHI against LUXCO.

               (a)    Impairment and Voting. LUXCO Class 4B is impaired by the Plan.
 Each holder of an Allowed Claim in LUXCO Class 4B is entitled to vote to accept or reject the
 Plan.

              (b)   Distributions. Subject to Section 6.5(b) of the Plan, each holder of an
 Allowed Claim in LUXCO Class 4B shall receive its Pro Rata Share of Available Cash from.
 LUXCO.

          5.102 LUXCO Class 5 – Equity Interests in LUXCO.

                (a)    Impairment and Voting. LUXCO Class 5 is impaired by the Plan. Each
 holder of an Equity Interest in LUXCO Class 5 is not entitled to vote to accept or reject the Plan
 and is conclusively deemed to have rejected the Plan.

                (b)     Distributions. Equity Interests in LUXCO shall be cancelled if and when
 LUXCO is dissolved in accordance with Section 7.4 of the Plan. Each holder of an Equity
 Interest in LUXCO shall neither receive nor retain any Property of the Estate or direct interest in
 Property of the Estate of LUXCO on account of such Equity Interests thereafter; provided,
 however, that in the event that all Allowed Claims against LUXCO have been satisfied in full in
 accordance with the Bankruptcy Code and the Plan, each holder of an Equity Interest in LUXCO
 may receive its Pro Rata Share of any remaining assets in LUXCO.

          5.103 BNC Class 1 – Priority Non-Tax Claims against BNC.

                (a)   Impairment and Voting. BNC Class 1 is impaired by the Plan. Each
 holder of an Allowed Claim in BNC Class 1 is entitled to vote to accept or reject the Plan.

               (b)    Distributions. Except to the extent that the holder of an Allowed Claim in
 BNC Class 1 agrees to less favorable treatment or has been paid by or on behalf of BNC on
 account of such Claim prior to the Effective Date, on the later of the Effective Date and the date
 such Claim becomes Allowed, or as soon thereafter as is practicable, each holder of an Allowed
 Claim in BNC Class 1 shall be paid by BNC in Cash in full.




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          5.104 BNC Class 2 – Secured Claims against BNC.

                (a)   Impairment and Voting. BNC Class 2 is impaired by the Plan. Each
 holder of an Allowed Claim in BNC Class 2 is entitled to vote to accept or reject the Plan.

                  (b)     Distributions. Except to the extent that the holder of an Allowed Claim in
 BNC Class 2 agrees to less favorable treatment, each holder of an Allowed Claim in BNC Class
 2 shall be satisfied by, at the option of BNC: (i) payment in Cash by BNC in full on the later of
 the Effective Date and the date such Claim becomes Allowed, or as soon thereafter as is
 practicable; (ii) the sale or disposition proceeds of the Collateral securing such Allowed Claim to
 the extent of the value of the Collateral securing such Allowed Claim; (iii) surrender to the
 holder of such Allowed Claim of the Collateral securing such Allowed Claim; or (iv) such
 treatment that leaves unaltered the legal, equitable, and contractual rights to which the holder of
 the Allowed Claim is entitled. In the event an Allowed Claim in BNC Class 2 is treated under
 clause (i) or (ii) above, the Liens securing such Claim shall be deemed released and extinguished
 without further order of the Bankruptcy Court.

          5.105 BNC Class 3 – General Unsecured Claims against BNC.

                (a)   Impairment and Voting. BNC Class 3 is impaired by the Plan. Each
 holder of an Allowed Claim in BNC Class 3 is entitled to vote to accept or reject the Plan.

                 (b)    Distributions. Each holder of an Allowed Claim in BNC Class 3 shall
 receive its Pro Rata Share of Available Cash from BNC.

          5.106 BNC Class 4A – Affiliate Claims of LBHI against BNC.

                  (a)     Impairment and Voting. BNC Class 4A is impaired by the Plan. LBHI
 is entitled to vote to accept or reject the Plan.

                 (b)    Distributions. Subject to Sections 6.5(b) and 6.5(c) of the Plan, LBHI
 shall receive its Pro Rata Share of Available Cash from BNC.

          5.107 BNC Class 4B – Affiliate Claims other than those of LBHI against BNC.

                (a)   Impairment and Voting. BNC Class 4B is impaired by the Plan. Each
 holder of an Allowed Claim in BNC Class 4B is entitled to vote to accept or reject the Plan.

              (b)   Distributions. Subject to Section 6.5(b) of the Plan, each holder of an
 Allowed Claim in BNC Class 4B shall receive its Pro Rata Share of Available Cash from BNC.

          5.108 BNC Class 5 – Equity Interests in BNC.

                (a)    Impairment and Voting. BNC Class 5 is impaired by the Plan. Each
 holder of an Equity Interest in BNC Class 5 is not entitled to vote to accept or reject the Plan and
 is conclusively deemed to have rejected the Plan.




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                (b)    Distributions. Equity Interests in BNC shall be cancelled if and when
 BNC is dissolved in accordance with Section 7.4 of the Plan. Each holder of an Equity Interest
 in BNC shall neither receive nor retain any Property of the Estate or direct interest in Property of
 the Estate of BNC on account of such Equity Interests thereafter; provided, however, that in the
 event that all Allowed Claims against BNC have been satisfied in full in accordance with the
 Bankruptcy Code and the Plan, each holder of an Equity Interest in BNC may receive its Pro
 Rata Share of any remaining assets in BNC.

          5.109 LB Rose Ranch Class 1 – Priority Non-Tax Claims against LB Rose Ranch.

               (a)     Impairment and Voting. LB Rose Ranch Class 1 is impaired by the Plan.
 Each holder of an Allowed Claim in LB Rose Ranch Class 1 is entitled to vote to accept or reject
 the Plan.

               (b)    Distributions. Except to the extent that the holder of an Allowed Claim in
 LB Rose Ranch Class 1 agrees to less favorable treatment or has been paid by or on behalf of LB
 Rose Ranch on account of such Claim prior to the Effective Date, on the later of the Effective
 Date and the date such Claim becomes Allowed, or as soon thereafter as is practicable, each
 holder of an Allowed Claim in LB Rose Ranch Class 1 shall be paid by LB Rose Ranch in Cash
 in full.

          5.110 LB Rose Ranch Class 2 – Secured Claims against LB Rose Ranch.

               (a)     Impairment and Voting. LB Rose Ranch Class 2 is impaired by the Plan.
 Each holder of an Allowed Claim in LB Rose Ranch Class 2 is entitled to vote to accept or reject
 the Plan.

                 (b)    Distributions. Except to the extent that the holder of an Allowed Claim in
 LB Rose Ranch Class 2 agrees to less favorable treatment, each holder of an Allowed Claim in
 LB Rose Ranch Class 2 shall be satisfied by, at the option of LB Rose Ranch: (i) payment in
 Cash by LB Rose Ranch in full on the later of the Effective Date and the date such Claim
 becomes Allowed, or as soon thereafter as is practicable; (ii) the sale or disposition proceeds of
 the Collateral securing such Allowed Claim to the extent of the value of the Collateral securing
 such Allowed Claim; (iii) surrender to the holder of such Allowed Claim of the Collateral
 securing such Allowed Claim; or (iv) such treatment that leaves unaltered the legal, equitable,
 and contractual rights to which the holder of the Allowed Claim is entitled. In the event an
 Allowed Claim in LB Rose Ranch Class 2 is treated under clause (i) or (ii) above, the Liens
 securing such Claim shall be deemed released and extinguished without further order of the
 Bankruptcy Court.

          5.111 LB Rose Ranch Class 3 – General Unsecured Claims against LB Rose Ranch.

               (a)     Impairment and Voting. LB Rose Ranch Class 3 is impaired by the Plan.
 Each holder of an Allowed Claim in LB Rose Ranch Class 3 is entitled to vote to accept or reject
 the Plan.

                 (b)     Distributions. Each holder of an Allowed Claim in LB Rose Ranch Class
 3 shall receive its Pro Rata Share of Available Cash from LB Rose Ranch.


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          5.112 LB Rose Ranch 4A – Affiliate Claims of LBHI against LB Rose Ranch.

              (a)     Impairment and Voting. LB Rose Ranch Class 4A is impaired by the
 Plan. LBHI is entitled to vote to accept or reject the Plan.

                 (b)     Distributions. Subject to Sections 6.5(b) and 6.5(c) of the Plan, LBHI
 shall receive its Pro Rata Share of Available Cash from LB Rose Ranch.

       5.113 LB Rose Ranch Class 4B – Affiliate Claims other than those of LBHI against LB
 Rose Ranch.

                 (a)  Impairment and Voting. LB Rose Ranch Class 4B is impaired by the
 Plan. Each holder of an Allowed Claim in LB Rose Ranch Class 4B is entitled to vote to accept
 or reject the Plan.

              (b)    Distributions. Subject to Section 6.5(b) of the Plan, each holder of an
 Allowed Claim in LB Rose Ranch Class 4B shall receive its Pro Rata Share of Available Cash
 from LB Rose Ranch.

          5.114 LB Rose Ranch Class 5 – Equity Interests in LB Rose Ranch.

                 (a)     Impairment and Voting. LB Rose Ranch Class 5 is impaired by the Plan.
 Each holder of an Equity Interest in LB Rose Ranch Class 5 is not entitled to vote to accept or
 reject the Plan and is conclusively deemed to have rejected the Plan.

                 (b)     Distributions. Equity Interests in LB Rose Ranch shall be cancelled if
 and when LB Rose Ranch is dissolved in accordance with Section 7.4 of the Plan. Each holder
 of an Equity Interest in LB Rose Ranch shall neither receive nor retain any Property of the Estate
 or direct interest in Property of the Estate of LB Rose Ranch on account of such Equity Interests
 thereafter; provided, however, that in the event that all Allowed Claims against LB Rose Ranch
 have been satisfied in full in accordance with the Bankruptcy Code and the Plan, each holder of
 an Equity Interest in LB Rose Ranch may receive its Pro Rata Share of any remaining assets in
 LB Rose Ranch.

          5.115 SASCO Class 1 – Priority Non-Tax Claims against SASCO.

                (a)   Impairment and Voting. SASCO Class 1 is impaired by the Plan. Each
 holder of an Allowed Claim in SASCO Class 1 is entitled to vote to accept or reject the Plan.

               (b)    Distributions. Except to the extent that the holder of an Allowed Claim in
 SASCO Class 1 agrees to less favorable treatment or has been paid by or on behalf of SASCO on
 account of such Claim prior to the Effective Date, on the later of the Effective Date and the date
 such Claim becomes Allowed, or as soon thereafter as is practicable, each holder of an Allowed
 Claim in SASCO Class 1 shall be paid by SASCO in Cash in full.




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          5.116 SASCO Class 2 – Secured Claims against SASCO.

                (a)   Impairment and Voting. SASCO Class 2 is impaired by the Plan. Each
 holder of an Allowed Claim in SASCO Class 2 is entitled to vote to accept or reject the Plan.

                  (b)     Distributions. Except to the extent that the holder of an Allowed Claim in
 SASCO Class 2 agrees to less favorable treatment, each holder of an Allowed Claim in SASCO
 Class 2 shall be satisfied by, at the option of SASCO: (i) payment in Cash by SASCO in full on
 the later of the Effective Date and the date such Claim becomes Allowed, or as soon thereafter as
 is practicable; (ii) the sale or disposition proceeds of the Collateral securing such Allowed Claim
 to the extent of the value of the Collateral securing such Allowed Claim; (iii) surrender to the
 holder of such Allowed Claim of the Collateral securing such Allowed Claim; or (iv) such
 treatment that leaves unaltered the legal, equitable, and contractual rights to which the holder of
 the Allowed Claim is entitled. In the event an Allowed Claim in SASCO Class 2 is treated
 under clause (i) or (ii) above, the Liens securing such Claim shall be deemed released and
 extinguished without further order of the Bankruptcy Court.

          5.117 SASCO Class 3 – General Unsecured Claims against SASCO.

                (a)   Impairment and Voting. SASCO Class 3 is impaired by the Plan. Each
 holder of an Allowed Claim in SASCO Class 3 is entitled to vote to accept or reject the Plan.

                 (b)    Distributions. Each holder of an Allowed Claim in SASCO Class 3 shall
 receive its Pro Rata Share of Available Cash from SASCO.

          5.118 SASCO Class 4A – Affiliate Claims of LBHI against SASCO.

                (a)     Impairment and Voting. SASCO Class 4A is impaired by the Plan.
 LBHI is entitled to vote to accept or reject the Plan.

                 (b)    Distributions. Subject to Sections 6.5(b) and 6.5(c) of the Plan, LBHI
 shall receive its Pro Rata Share of Available Cash from SASCO.

          5.119 SASCO Class 4B – Affiliate Claims other than those of LBHI against SASCO.

               (a)    Impairment and Voting. SASCO Class 4B is impaired by the Plan.
 Each holder of an Allowed Claim in SASCO Class 4B is entitled to vote to accept or reject the
 Plan.

              (b)   Distributions. Subject to Section 6.5(b) of the Plan, each holder of an
 Allowed Claim in SASCO Class 4B shall receive its Pro Rata Share of Available Cash from
 SASCO.

          5.120 SASCO Class 5 – Equity Interests in SASCO.

                (a)    Impairment and Voting. SASCO Class 5 is impaired by the Plan. Each
 holder of an Equity Interest in SASCO Class 5 is not entitled to vote to accept or reject the Plan
 and is conclusively deemed to have rejected the Plan.


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                (b)    Distributions. Equity Interests in SASCO shall be cancelled if and when
 SASCO is dissolved in accordance with Section 7.4 of the Plan. Each holder of an Equity
 Interest in SASCO shall neither receive nor retain any Property of the Estate or direct interest in
 Property of the Estate of SASCO on account of such Equity Interests thereafter; provided,
 however, that in the event that all Allowed Claims against SASCO have been satisfied in full in
 accordance with the Bankruptcy Code and the Plan, each holder of an Equity Interest in SASCO
 may receive its Pro Rata Share of any remaining assets in SASCO.

          5.121 LB 2080 Class 1 – Priority Non-Tax Claims against LB 2080.

                (a)   Impairment and Voting. LB 2080 Class 1 is impaired by the Plan. Each
 holder of an Allowed Claim in LB 2080 Class 1 is entitled to vote to accept or reject the Plan.

               (b)    Distributions. Except to the extent that the holder of an Allowed Claim in
 LB 2080 Class 1 agrees to less favorable treatment or has been paid by or on behalf of LB 2080
 on account of such Claim prior to the Effective Date, on the later of the Effective Date and the
 date such Claim becomes Allowed, or as soon thereafter as is practicable, each holder of an
 Allowed Claim in LB 2080 Class 1 shall be paid by LB 2080 in Cash in full.

          5.122 LB 2080 Class 2 – Secured Claims against LB 2080.

                (a)   Impairment and Voting. LB 2080 Class 2 is impaired by the Plan. Each
 holder of an Allowed Claim in LB 2080 Class 2 is entitled to vote to accept or reject the Plan.

                 (b)     Distributions. Except to the extent that the holder of an Allowed Claim in
 LB 2080 Class 2 agrees to less favorable treatment, each holder of an Allowed Claim in LB 2080
 Class 2 shall be satisfied by, at the option of LB 2080: (i) payment in Cash by LB 2080 in full
 on the later of the Effective Date and the date such Claim becomes Allowed, or as soon
 thereafter as is practicable; (ii) the sale or disposition proceeds of the Collateral securing such
 Allowed Claim to the extent of the value of the Collateral securing such Allowed Claim; (iii)
 surrender to the holder of such Allowed Claim of the Collateral securing such Allowed Claim; or
 (iv) such treatment that leaves unaltered the legal, equitable, and contractual rights to which the
 holder of the Allowed Claim is entitled. In the event an Allowed Claim in LB 2080 Class 2 is
 treated under clause (i) or (ii) above, the Liens securing such Claim shall be deemed released and
 extinguished without further order of the Bankruptcy Court.

          5.123 LB 2080 Class 3 – General Unsecured Claims against LB 2080.

                (a)   Impairment and Voting. LB 2080 Class 3 is impaired by the Plan. Each
 holder of an Allowed Claim in LB 2080 Class 3 is entitled to vote to accept or reject the Plan.

                 (b)    Distributions. Each holder of an Allowed Claim in LB 2080 Class 3 shall
 receive its Pro Rata Share of Available Cash from LB 2080.

          5.124 LB 2080 Class 4A – Affiliate Claims of LBHI against LB 2080.

                (a)     Impairment and Voting. LB 2080 Class 4A is impaired by the Plan.
 LBHI is entitled to vote to accept or reject the Plan.


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                 (b)     Distributions. Subject to Sections 6.5(b) and 6.5(c) of the Plan, LBHI
 shall receive its Pro Rata Share of Available Cash from LB 2080.

          5.125 LB 2080 Class 4B – Affiliate Claims other than those of LBHI against LB 2080.

               (a)    Impairment and Voting. LB 2080 Class 4B is impaired by the Plan.
 Each holder of an Allowed Claim in LB 2080 Class 4B is entitled to vote to accept or reject the
 Plan.

              (b)    Distributions. Subject to Section 6.5(b) of the Plan, each holder of an
 Allowed Claim in LB 2080 Class 4B shall receive its Pro Rata Share of Available Cash from LB
 2080.

          5.126 LB 2080 Class 5 – Equity Interests in LB 2080.

                (a)    Impairment and Voting. LB 2080 Class 5 is impaired by the Plan. Each
 holder of an Equity Interest in LB 2080 Class 5 is not entitled to vote to accept or reject the Plan
 and is conclusively deemed to have rejected the Plan.

                (b)     Distributions. Equity Interests in LB 2080 shall be cancelled if and when
 LB 2080 is dissolved in accordance with Section 7.4 of the Plan. Each holder of an Equity
 Interest in LB 2080 shall neither receive nor retain any Property of the Estate or direct interest in
 Property of the Estate of LB 2080 on account of such Equity Interests thereafter; provided,
 however, that in the event that all Allowed Claims against LB 2080 have been satisfied in full in
 accordance with the Bankruptcy Code and the Plan, each holder of an Equity Interest in LB 2080
 may receive its Pro Rata Share of any remaining assets in LB 2080.

          5.127 Merit Class 1 – Priority Non-Tax Claims against Merit.

                (a)   Impairment and Voting. Merit Class 1 is impaired by the Plan. Each
 holder of an Allowed Claim in Merit Class 1 is entitled to vote to accept or reject the Plan.

               (b)     Distributions. Except to the extent that the holder of an Allowed Claim in
 Merit Class 1 agrees to less favorable treatment or has been paid by or on behalf of Merit on
 account of such Claim prior to the Effective Date, on the later of the Effective Date and the date
 such Claim becomes Allowed, or as soon thereafter as is practicable, each holder of an Allowed
 Claim in Merit Class 1 shall be paid by Merit in Cash in full.

          5.128 Merit Class 2 – Secured Claims against Merit.

                (a)   Impairment and Voting. Merit Class 2 is impaired by the Plan. Each
 holder of an Allowed Claim in Merit Class 2 is entitled to vote to accept or reject the Plan.

                  (b)     Distributions. Except to the extent that the holder of an Allowed Claim in
 Merit Class 2 agrees to less favorable treatment, each holder of an Allowed Claim in Merit Class
 2 shall be satisfied by, at the option of Merit: (i) payment in Cash by Merit in full on the later of
 the Effective Date and the date such Claim becomes Allowed, or as soon thereafter as is
 practicable; (ii) the sale or disposition proceeds of the Collateral securing such Allowed Claim to


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 the extent of the value of the Collateral securing such Allowed Claim; (iii) surrender to the
 holder of such Allowed Claim of the Collateral securing such Allowed Claim; or (iv) such
 treatment that leaves unaltered the legal, equitable, and contractual rights to which the holder of
 the Allowed Claim is entitled. In the event an Allowed Claim in Merit Class 2 is treated under
 clause (i) or (ii) above, the Liens securing such Claim shall be deemed released and extinguished
 without further order of the Bankruptcy Court.

          5.129 Merit Class 3 – General Unsecured Claims against Merit.

                (a)   Impairment and Voting. Merit Class 3 is impaired by the Plan. Each
 holder of an Allowed Claim in Merit Class 3 is entitled to vote to accept or reject the Plan.

                 (b)    Distributions. Each holder of an Allowed Claim in Merit Class 3 shall
 receive its Pro Rata Share of Available Cash from Merit.

          5.130 Merit Class 4A – Affiliate Claims of LBHI against Merit.

                  (a)     Impairment and Voting. Merit Class 4A is impaired by the Plan. LBHI
 is entitled to vote to accept or reject the Plan.

                 (b)    Distributions. Subject to Sections 6.5(b) and 6.5(c) of the Plan, LBHI
 shall receive its Pro Rata Share of Available Cash from Merit.

          5.131 Merit Class 4B – Affiliate Claims other than those of LBHI against Merit.

                (a)   Impairment and Voting. Merit Class 4B is impaired by the Plan. Each
 holder of an Allowed Claim in Merit Class 4B is entitled to vote to accept or reject the Plan.

              (b)    Distributions. Subject to Section 6.5(b) of the Plan, each holder of an
 Allowed Claim in Merit Class 4B shall receive its Pro Rata Share of Available Cash from Merit.

          5.132 Merit Class 5 – Equity Interests in Merit.

                (a)     Impairment and Voting. Merit Class 5 is impaired by the Plan. Each
 holder of an Equity Interest in Merit Class 5 is not entitled to vote to accept or reject the Plan and
 is conclusively deemed to have rejected the Plan.

                 (b)     Distributions. Equity Interests in Merit shall be cancelled if and when
 Merit is dissolved in accordance with Section 7.4 of the Plan. Each holder of an Equity Interest
 in Merit shall neither receive nor retain any Property of the Estate or direct interest in Property of
 the Estate of Merit on account of such Equity Interests thereafter; provided, however, that in the
 event that all Allowed Claims against Merit have been satisfied in full in accordance with the
 Bankruptcy Code and the Plan, each holder of an Equity Interest in Merit may receive its Pro
 Rata Share of any remaining assets in Merit.




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       5.133 Preferred Somerset Class 1 – Priority Non-Tax Claims against Preferred
 Somerset.

                 (a)     Impairment and Voting. Preferred Somerset Class 1 is impaired by the
 Plan. Each holder of an Allowed Claim in Preferred Somerset Class 1 is entitled to vote to
 accept or reject the Plan.

                (b)    Distributions. Except to the extent that the holder of an Allowed Claim in
 Preferred Somerset Class 1 agrees to less favorable treatment or has been paid by or on behalf of
 Preferred Somerset on account of such Claim prior to the Effective Date, on the later of the
 Effective Date and the date such Claim becomes Allowed, or as soon thereafter as is practicable,
 each holder of an Allowed Claim in Preferred Somerset Class 1 shall be paid by Preferred
 Somerset in Cash in full.

          5.134 Preferred Somerset Class 2 – Secured Claims against Preferred Somerset.

                 (a)     Impairment and Voting. Preferred Somerset Class 2 is impaired by the
 Plan. Each holder of an Allowed Claim in Preferred Somerset Class 2 is entitled to vote to
 accept or reject the Plan.

                 (b)    Distributions. Except to the extent that the holder of an Allowed Claim in
 Preferred Somerset Class 2 agrees to less favorable treatment, each holder of an Allowed Claim
 in Preferred Somerset Class 2 shall be satisfied by, at the option of Preferred Somerset: (i)
 payment in Cash by Preferred Somerset in full on the later of the Effective Date and the date
 such Claim becomes Allowed, or as soon thereafter as is practicable; (ii) the sale or disposition
 proceeds of the Collateral securing such Allowed Claim to the extent of the value of the
 Collateral securing such Allowed Claim; (iii) surrender to the holder of such Allowed Claim of
 the Collateral securing such Allowed Claim; or (iv) such treatment that leaves unaltered the
 legal, equitable, and contractual rights to which the holder of the Allowed Claim is entitled. In
 the event an Allowed Claim in Preferred Somerset Class 2 is treated under clause (i) or (ii)
 above, the Liens securing such Claim shall be deemed released and extinguished without further
 order of the Bankruptcy Court.

       5.135 Preferred Somerset Class 3 – General Unsecured Claims against Preferred
 Somerset.

                 (a)     Impairment and Voting. Preferred Somerset Class 3 is impaired by the
 Plan. Each holder of an Allowed Claim in Preferred Somerset Class 3 is entitled to vote to
 accept or reject the Plan.

                 (b)     Distributions. Each holder of an Allowed Claim in Preferred Somerset
 Class 3 shall receive its Pro Rata Share of Available Cash from Preferred Somerset.

       5.136 Preferred Somerset Class 4A – Affiliate Claims of LBHI against Preferred
 Somerset.

              (a)     Impairment and Voting. Preferred Somerset Class 4A is impaired by the
 Plan. LBHI is entitled to vote to accept or reject the Plan.


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                 (b)     Distributions. Subject to Sections 6.5(b) and 6.5(c) of the Plan, LBHI
 shall receive its Pro Rata Share of Available Cash from Preferred Somerset.

        5.137 Preferred Somerset Class 4B – Affiliate Claims other than those of LBHI against
 Preferred Somerset.

                 (a)     Impairment and Voting. Preferred Somerset Class 4B is impaired by the
 Plan. Each holder of an Allowed Claim in Preferred Somerset Class 4B is entitled to vote to
 accept or reject the Plan.

               (b)    Distributions. Subject to Section 6.5(b) of the Plan, each holder of an
 Allowed Claim in Preferred Somerset Class 4B shall receive its Pro Rata Share of Available
 Cash from Preferred Somerset.

          5.138 Preferred Somerset Class 5 – Equity Interests in Preferred Somerset.

                 (a)     Impairment and Voting. Preferred Somerset Class 5 is impaired by the
 Plan. Each holder of an Equity Interest in Preferred Somerset Class 5 is not entitled to vote to
 accept or reject the Plan and is conclusively deemed to have rejected the Plan.

                (b)     Distributions. Equity Interests in Preferred Somerset shall be cancelled if
 and when Preferred Somerset is dissolved in accordance with Section 7.4 of the Plan. Each
 holder of an Equity Interest in Preferred Somerset shall neither receive nor retain any Property of
 the Estate or direct interest in Property of the Estate of Preferred Somerset on account of such
 Equity Interests thereafter; provided, however, that in the event that all Allowed Claims against
 Preferred Somerset have been satisfied in full in accordance with the Bankruptcy Code and the
 Plan, each holder of an Equity Interest in Preferred Somerset may receive its Pro Rata Share of
 any remaining assets in Preferred Somerset.

          5.139 Somerset Class 1 – Priority Non-Tax Claims against Somerset.

                (a)   Impairment and Voting. Somerset Class 1 is impaired by the Plan. Each
 holder of an Allowed Claim in Somerset Class 1 is entitled to vote to accept or reject the Plan.

               (b)    Distributions. Except to the extent that the holder of an Allowed Claim in
 Somerset Class 1 agrees to less favorable treatment or has been paid by or on behalf of Somerset
 on account of such Claim prior to the Effective Date, on the later of the Effective Date and the
 date such Claim becomes Allowed, or as soon thereafter as is practicable, each holder of an
 Allowed Claim in Somerset Class 1 shall be paid by Somerset in Cash in full.

          5.140 Somerset Class 2 – Secured Claims against Somerset.

                (a)   Impairment and Voting. Somerset Class 2 is impaired by the Plan. Each
 holder of an Allowed Claim in Somerset Class 2 is entitled to vote to accept or reject the Plan.

              (b)    Distributions. Except to the extent that the holder of an Allowed Claim in
 Somerset Class 2 agrees to less favorable treatment, each holder of an Allowed Claim in
 Somerset Class 2 shall be satisfied by, at the option of Somerset: (i) payment in Cash by


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 Somerset in full on the later of the Effective Date and the date such Claim becomes Allowed, or
 as soon thereafter as is practicable; (ii) the sale or disposition proceeds of the Collateral securing
 such Allowed Claim to the extent of the value of the Collateral securing such Allowed Claim;
 (iii) surrender to the holder of such Allowed Claim of the Collateral securing such Allowed
 Claim; or (iv) such treatment that leaves unaltered the legal, equitable, and contractual rights to
 which the holder of the Allowed Claim is entitled. In the event an Allowed Claim in Somerset
 Class 2 is treated under clause (i) or (ii) above, the Liens securing such Claim shall be deemed
 released and extinguished without further order of the Bankruptcy Court.

          5.141 Somerset Class 3 – General Unsecured Claims against Somerset.

                (a)   Impairment and Voting. Somerset Class 3 is impaired by the Plan. Each
 holder of an Allowed Claim in Somerset Class 3 is entitled to vote to accept or reject the Plan.

                 (b)    Distributions. Each holder of an Allowed Claim in Somerset Class 3
 shall receive its Pro Rata Share of Available Cash from Somerset.

          5.142 Somerset Class 4A – Affiliate Claims of LBHI against Somerset.

                (a)     Impairment and Voting. Somerset Class 4A is impaired by the Plan.
 LBHI is entitled to vote to accept or reject the Plan.

                 (b)    Distributions. Subject to Sections 6.5(b) and 6.5(c) of the Plan, LBHI
 shall receive its Pro Rata Share of Available Cash from Somerset.

          5.143 Somerset Class 4B – Affiliate Claims other than those of LBHI against Somerset.

               (a)    Impairment and Voting. Somerset Class 4B is impaired by the Plan.
 Each holder of an Allowed Claim in Somerset Class 4B is entitled to vote to accept or reject the
 Plan.

              (b)   Distributions. Subject to Section 6.5(b) of the Plan, each holder of an
 Allowed Claim in Somerset Class 4B shall receive its Pro Rata Share of Available Cash from
 Somerset.

          5.144 Somerset Class 5 – Equity Interests in Somerset.

                (a)    Impairment and Voting. Somerset Class 5 is impaired by the Plan. Each
 holder of an Equity Interest in Somerset Class 5 is not entitled to vote to accept or reject the Plan
 and is conclusively deemed to have rejected the Plan.

                (b)     Distributions. Equity Interests in Somerset shall be cancelled if and when
 Somerset is dissolved in accordance with Section 7.4 of the Plan. Each holder of an Equity
 Interest in Somerset shall neither receive nor retain any Property of the Estate or direct interest in
 Property of the Estate of Somerset on account of such Equity Interests thereafter; provided,
 however, that in the event that all Allowed Claims against Somerset have been satisfied in full in
 accordance with the Bankruptcy Code and the Plan, each holder of an Equity Interest in
 Somerset may receive its Pro Rata Share of any remaining assets in Somerset.


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                                               ARTICLE VI
                                          Implementation of the Plan

          6.1       Plan Administrator.

                    (a)       Appointment. LBHI shall serve as Plan Administrator for each of the
 Debtors.

                (b)     Authority. Subject to Section 7.2(c) of the Plan, the Plan Administrator
 shall have the authority and right on behalf of each of the Debtors, without the need for
 Bankruptcy Court approval (unless otherwise indicated), to carry out and implement all
 provisions of the Plan, including, without limitation, to:

                            (i)    except to the extent Claims have been previously Allowed, control
                    and effectuate the Claims reconciliation process, including to object to, seek to
                    subordinate, compromise or settle any and all Claims against the Debtors subject
                    to Bankruptcy Court approval; provided, however, that where the Debtors have
                    authorization to compromise or settle any Claims against the Debtors under a
                    Final Order, including, without limitation, the Derivatives Procedures Order, the
                    Plan Administrator shall be authorized to compromise or settle such Claims after
                    the Effective Date in accordance with and subject to such Final Order;

                           (ii)    make Distributions to holders of Allowed Claims in accordance
                    with the Plan;

                           (iii) exercise its reasonable business judgment to direct and control the
                    wind down, liquidation, sale and/or abandoning of the assets of the Debtors and/or
                    Debtor-Controlled Entities under the Plan and in accordance with applicable law
                    as necessary to maximize Distributions to holders of Allowed Claims;

                            (iv)   prosecute all Litigation Claims, including, without limitation,
                    Avoidance Actions, on behalf of the Debtors, and to elect not to pursue any
                    Litigation Claims and whether and when to compromise, settle, abandon, dismiss,
                    or otherwise dispose of any such Litigation Claims, as the Plan Administrator
                    may determine is in the best interests of the Debtors;

                           (v)     make payments to existing professionals who will continue to
                    perform in their current capacities;

                              (vi)    retain professionals to assist in performing its duties under the
                    Plan;

                              (vii)   maintain the books and records and accounts of the Debtors;

                           (viii) invest Cash of the Debtors, including any Cash proceeds realized
                    from the liquidation of any assets of the Debtors, including any Litigation Claims,
                    and any income earned thereon;



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                           (ix)    incur and pay reasonable and necessary expenses in connection
                    with the performance of duties under the Plan, including the reasonable fees and
                    expenses of professionals retained by the Plan Administrator;

                           (x)     administer each Debtor’s tax obligations, including (i) filing tax
                    returns and paying tax obligations, (ii) request, if necessary, an expedited
                    determination of any unpaid tax liability of each Debtor or its estate under
                    Bankruptcy Code section 505(b) for all taxable periods of such Debtor ending
                    after the Commencement Date through the liquidation of such Debtor as
                    determined under applicable tax laws and (iii) represent the interest and account
                    of each Debtor or its estate before any taxing authority in all matters including,
                    without limitation, any action, suit, proceeding or audit;

                           (xi)    prepare and file any and all informational returns, reports,
                    statements, returns or disclosures relating to the Debtors that are required
                    hereunder, by any Governmental Unit or applicable law;

                           (xii) determine whether to create a Liquidating Trust for the assets of a
                    Debtor or Debtor-Controlled Entity pursuant to Section 10.1 of the Plan and
                    which assets to transfer to such Liquidating Trust or to issue New Securities in
                    accordance with Section 15.2 of the Plan;

                              (xiii) pay statutory fees in accordance with Section 15.7 of the Plan; and

                          (xiv) perform other duties and functions that are consistent with the
                    implementation of the Plan.

               (c)     Indemnification of Plan Administrator. Each of the Debtors shall
 indemnify and hold harmless LBHI solely in its capacity as the Plan Administrator for any losses
 incurred in such capacity, except to the extent such losses were the result of the Plan
 Administrator’s gross negligence, willful misconduct or criminal conduct.

         6.2     LAMCO. At the discretion of the board of directors of LBHI following the
 Effective Date and subject to existing agreements, LAMCO may serve as asset manager for
 certain assets of each of the Debtors under the Plan. Ownership and ultimate decision making
 authority with respect to each of the Debtor’s assets after the Effective Date will be vested in the
 applicable Debtor.

         6.3    Debtor Allocation Agreement. The Debtor Allocation Agreement shall become
 effective on the Effective Date. The Debtor Allocation Agreement shall, among other things,
 provide for an Allowed Administrative Expense Claim of LBSF against LBHI in the amount of
 $300 million as an allocation of administrative costs. Such Claim shall be satisfied by (a) first,
 setoff against LBHI’s Allowed Administrative Expense Claim against LBSF as of the Effective
 Date, (b) second, setoff against LBHI’s claims arising after the Effective Date for reimbursement
 by LBSF for post-Effective Date administration costs after reconciliation on a quarterly basis
 and, if necessary, (c) third, payment of the balance in Cash up to $300 million.




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         6.4     Redistribution of Subordinated Claims Recoveries. To give effect to agreements
 of holders of Subordinated Claims, all Distributions under the Plan made by LBHI shall be
 calculated as if each holder of an Allowed Claim in LBHI Class 10A, LBHI Class 10B and LBHI
 Class 10C were to receive its Pro Rata Share of Available Cash from LBHI, and, in the case of
 each holder of an Allowed Claim in LBHI Class 10A and LBHI Class 10B, its Pro Rata Share of
 the Subordinated Class 10C Distribution; provided, however, that:

                 (a)    the Subordinated Class 10A Distribution shall be automatically distributed
 to holders of Allowed Claims in LBHI Class 3 and LBHI Class 4A pursuant to Sections 4.3(b)
 and 4.4(b) of the Plan, respectively, until all such Claims are satisfied in full;

                (b)     the Subordinated Class 10B Distribution shall be automatically distributed
 to holders of Allowed Claims in LBHI Class 3, LBHI Class 4A, LBHI Class 4B and LBHI Class
 5 pursuant to Sections 4.3(b), 4.4(b), 4.5(b) and 4.6(b) of the Plan, respectively, until all such
 Claims are satisfied in full;

                 (c)    the Subordinated Class 10C Distribution shall be automatically distributed
 to holders of Allowed Claims in LBHI Class 3, LBHI Class 4A, LBHI Class 4B, LBHI Class 5,
 LBHI Class 10A and LBHI Class 10B pursuant to Sections 4.3(b), 4.4(b), 4.5(b), 4.6(b), 4.13(b)
 and 4.14(b) of the Plan, respectively, until all such Claims are satisfied in full; provided,
 however, that any portion of the Subordinated Class 10C Distribution payable to holders of
 Allowed Claims in LBHI Class 10A shall be automatically distributed to holders of Allowed
 Claims in LBHI Class 3 and LBHI Class 4A pursuant to Section 6.4(a) of the Plan until all such
 Claims are satisfied in full; provided, further, that any portion of the Subordinated Class 10C
 Distribution payable to holders of Allowed Claims in LBHI Class 10B shall be automatically
 distributed to holders of Allowed Claims in LBHI Class 3, LBHI Class 4A, LBHI Class 4B, and
 LBHI Class 5 pursuant to Section 6.4(b) of the Plan until all such Claims are satisfied in full.

        6.5     Plan Settlement. Pursuant to section 1123 of the Bankruptcy Code and
 Bankruptcy Rule 9019, the Plan incorporates a proposed compromise and settlement of
 numerous inter-Debtor, Debtor-Creditor and inter-Creditor issues designed to achieve an
 economic settlement of Claims against all of the Debtors and an efficient resolution of the
 Chapter 11 Cases. The Plan constitutes a settlement of potential litigation of issues, including,
 without limitation, the potential substantive consolidation of the Lehman enterprise, the validity
 and enforceability of certain Affiliate Guarantee Claims, the allowance of certain Affiliate
 Claims, including Intercompany Funding Balances owed to LBHI by Subsidiary Debtors, the
 potential equitable, contractual or statutory subordination of certain Claims and the ownership
 and rights of various Debtors and their Affiliates with respect to certain assets. The Plan
 settlement will be implemented as follows:

                 (a)      Each holder of an Allowed Claim in an LBHI Class 3 or LBHI Class 7
 shall be entitled to receive its Pro Rata Share of the Plan Adjustment until such Allowed Claims
 are satisfied in full in accordance with Sections 4.3(b) and 4.9(b) of the Plan, as applicable. In
 the event that holders of Allowed Claims in LBHI Class 3 or LBHI Class 7 are satisfied in full,
 Distributions (including the Plan Adjustment), if any, shall continue to be made on account of
 such Claims as if they had not been satisfied in full, provided that such Distributions shall be
 made to each Participating Debtor for the exclusive benefit of holders of Allowed Claims in such


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 Participating Debtor’s Contributing Classes and, in the case of LBHI, LBHI Class 9A or, in the
 case of LBSF, LBSF Class 4B, in proportion to, and only to the extent of, its Plan Adjustment
 contribution.

                (b)   Each holder of a Senior Affiliate Claim, Senior Affiliate Guarantee Claim
 or Affiliate Claim against a Debtor shall have an Allowed Claim, as applicable, against that
 Debtor in an amount that is agreed to by the applicable Debtor and an Affiliate or otherwise
 determined by the Bankruptcy Court.

                       (i)     The Debtors’ Claims Schedule is incorporated in the Plan and shall
 become effective on the Effective Date. Senior Affiliate Claims, Senior Affiliate Guarantee
 Claims and Affiliate Claims of a Debtor against another Debtor shall be allowed in the net
 amounts set forth on pages 1 and 2 of the Debtors’ Claims Schedule.

                        (ii)   The Bankhaus Settlement Agreement is incorporated in the Plan
 and shall become effective on the Effective Date. The Bankhaus Settlement Agreement
 provides for the allowance of certain Claims asserted by LBB against certain of the Debtors, the
 exchange of releases between the Debtors and certain Debtor-Controlled Entities that are parties
 to the Bankhaus Settlement Agreement and LBB and other material terms and conditions, all as
 more fully set forth and provided for in the Bankhaus Settlement Agreement.

                        (iii) The LBT Settlement Agreement is incorporated in the Plan. The
 LBT Settlement Agreement provides for the allowance of certain claims of LBT, including,
 without limitation, an Allowed Senior Affiliate Claim of LBT against LBHI in LBHI Class 4A in
 the amount of $34,548,000,000, the allowance of certain Claims asserted by certain Debtors
 against LBT, the exchange of mutual releases between the Debtors and LBT and other material
 terms and conditions, all as more fully set forth in the LBT Settlement Agreement.
 Additionally, pursuant to the LBT Settlement Agreement, Sections 8.10, 8.14, 8.15 and 13.8 of
 the Plan shall not apply to LBT or the Allowed Senior Affiliate Claim of LBT and holders of
 Allowed Guarantee Claims for which LBT is the Primary Obligor shall not be subject to Section
 8.13(e) of the Plan.

                              (iv)   LBSN shall not be subject to Sections 8.10, 8.14 and 8.15 of the
 Plan.

                       (v)    The Hong Kong Settlement Agreement is incorporated in the Plan.
 The Hong Kong Settlement Agreement provides for the allowance of certain Claims asserted by
 certain Hong Kong Lehman Entities In Liquidation against certain of the Debtors, the allowance
 of certain Claims asserted by the Debtors against certain Hong Kong Lehman Entities In
 Liquidation, the exchange of mutual releases between the Debtors and the Hong Kong Lehman
 Entities In Liquidation and other material terms and conditions, all as more fully set forth and
 provided for in the Hong Kong Settlement Agreement.

                       (vi)   The Singapore Settlement Agreement is incorporated in the Plan.
 The Singapore Settlement Agreement provides for the allowance of certain Claims asserted by
 the Lehman Singapore Entities against certain of the Debtors and certain Debtor-Controlled
 Entities, the allowance of certain Claims asserted by the Debtors and the Debtor-Controlled



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 Entities against certain Lehman Singapore Entities, the exchange of mutual releases between the
 Debtors and the Debtor-Controlled Entities and the Lehman Singapore Entities and other
 material terms and conditions, all as more fully set forth and provided for in the Singapore
 Settlement Agreement.

                      (vii) Any settlement agreement entered into among any of the Debtors
 and any Non-Controlled Affiliate that is contained in the Plan Supplement is incorporated in the
 Plan and shall become effective in accordance with its terms.

                (c)      For purposes of the calculation of the Distributions to be made to LBHI
 from a Subsidiary Debtor, including with respect to setoff of a Subsidiary Debtor’s Allowed
 Claim against LBHI, only 80% of the Intercompany Funding Balance due to LBHI from a
 Subsidiary Debtor shall be included in such calculation, as reflected of the Debtors’ Claims
 Schedule, and LBHI shall participate in Distributions against a Subsidiary Debtor in the amounts
 and to the extent set forth on page 4 of the Debtors’ Claims Schedule.

                 (d)     Only holders of Allowed Claims in LBSF Class 4A and LBSF Class 5C
 shall be entitled to receive the LBSF Additional Settlement Amount in accordance with Sections
 5.21(b) and 5.25(b), respectively. Each of the other Participating Debtors and each Racers Trust
 acknowledges and agrees that it is not a holder in LBSF Class 4A and LBSF Class 5C and it
 shall not receive a Distribution in respect of the LBSF Additional Settlement Amount.

                (e)     The LCPI Settlement Amount shall be automatically distributed to holders
 of Allowed Claims in LCPI Class 4A until such Allowed Claims are satisfied in full in
 accordance with Section 5.4(b) of the Plan. In the event holders of Allowed Claims in LCPI
 Class 4A are satisfied in full, Distributions, if any, shall continue to be made on account of such
 Claims as if they had not been satisfied in full, provided that such Distributions shall be made to
 LCPI Class 5A.

                (f)     The LBSF Settlement Amount shall be automatically distributed to
 holders of Allowed Claims in LBSF Class 4A until such Allowed Claims are satisfied in full in
 accordance with Section 5.21(b) of the Plan. In the event holders of Allowed Claims in LBSF
 Class 4A are satisfied in full, Distributions, if any, shall continue to be made on account of such
 Claims as if they had not been satisfied in full, provided that such Distributions shall be made to
 LBSF Class 5A.

                (g)    The Racers 2007-A Trust shall have (A) an Allowed General Unsecured
 Claim against LCPI in LCPI Class 4B, subject to the Plan Adjustment, in the amount $5.0
 billion, (B) an Allowed General Unsecured Claim against LBSF in LBSF Class 4B, subject to
 the Racers Adjustment, in the amount of $1,947,735,000 and (C) an Allowed Third-Party
 Guarantee Claim against LBHI in LBHI Class 9B, subject to the Racers Adjustment, in the
 amount of $1,947,735,000. The Racers 2007-A Trust shall not receive aggregate Distributions
 on account of all such Allowed Claims in excess of the Allowed amount of its General
 Unsecured Claim against LCPI; provided that, to the extent the Allowed Claims of the Racers
 2007-A Trust are satisfied in full in accordance with the foregoing and Section 8.13 of the Plan,
 LCPI or LBHI, as applicable, shall be subrogated to the Allowed Claim of the Racers 2007-A
 Trust against LBSF pursuant to Section 8.14 of the Plan. All other Claims of the Racers 2007-A


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 Trust and all Claims of the Racers MM Trust against the Debtors shall be disallowed and subject
 to Sections 13.4 and 13.5 of the Plan.

              (h)    The Fenway Claim shall be Allowed against LCPI as General Unsecured
 Claims in LCPI Class 4B, subject to the Plan Adjustment, in the aggregate net amount of $230
 million.

              (i)     The Debtors shall apply the Structured Securities Valuation
 Methodologies to all Structured Securities Claims held by any PSA Creditor in determining the
 Allowed amount of such Claims.

                 (j)    Any settlement agreement entered into among any of the Debtors and any
 Creditor that is contained in the Plan Supplement is incorporated in the Plan and shall become
 effective in accordance with its terms.

         6.6    Closing of Chapter 11 Case. After the Chapter 11 Case of a Debtor has been
 fully administered, the Plan Administrator shall seek authority from the Bankruptcy Court to
 close such Debtor’s Chapter 11 Case in accordance with the Bankruptcy Code and the
 Bankruptcy Rules.

         6.7    Indenture Trustee and Creditors’ Committee Members Fees. Subject to entry of
 the Confirmation Order, the reasonable fees and expenses (including attorneys fees) of (a) the
 indenture trustee for the Senior Notes and the Subordinated Notes and (b) the individual
 members of the Creditors’ Committee, in each case, incurred in their capacities as indenture
 trustee or members of the Creditors’ Committee, respectively, shall, (i) to the extent incurred and
 unpaid by a Debtor prior to the Effective Date, be Allowed as Administrative Expense Claims
 and paid by the Debtors in accordance with the Debtor Allocation Agreement upon application to
 and subject to approval of the Bankruptcy Court, and (ii) to the extent incurred after the Effective
 Date, be Allowed as Administrative Expense Claims and paid by the Debtors on a monthly basis
 upon the submission of fee statements without further order of the Bankruptcy Court.

                                            ARTICLE VII
                                         Corporate Governance

         7.1    Corporate Form. On the Effective Date, each of the Debtors shall maintain its
 current corporate form.

          7.2       LBHI Board of Directors and Officers.

                (a)     Following the Effective Date, the board of directors of LBHI shall consist
 of seven (7) persons. The initial board of directors of LBHI shall be selected by the Director
 Selection Committee. Each of the initial directors of LBHI shall have initial and, if reelected,
 subsequent terms of one year. A director of LBHI may be removed from office by the Plan
 Trust with cause. Subject to death, incapacity, resignation or removal for cause and reelection
 by the Plan Trust in accordance with the Plan Trust Agreement, the initial directors shall serve as
 the board of directors of LBHI through the Closing Date. Upon expiration of the term of a
 director of LBHI or his or her resignation, death or removal for cause, the election of such



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 director or a replacement director shall be determined by action of the Plan Trust as sole
 shareholder of LBHI.

              (b)             The Director Selection Committee shall be comprised of the following
 nine (9) members:

                         (i)   Rutger Schimmelpenninck (in his capacity as co-bankruptcy
 trustee (curatoren) for LBT).

                              (ii)    the LBB Administrator;

                              (iii)   the Debtors;

                         (iv)   each of the co-chairs of the Creditors’ Committee (each of whom
 shall exercise his or her independent business judgment in the selection of directors and not act at
 the direction of the Creditors’ Committee);

                              (v)     an individual chosen by the Opco Plan Proponents who are PSA
 Creditors;

                    (vi)   an individual chosen by the members of the group of creditors
 commonly referred to as the Ad Hoc Group of Lehman Brothers Creditors that are PSA
 Creditors; and

                      (vii) two individuals chosen collectively by the following PSA
 Creditors: Carval Investors UK Limited, Davidson Kempner Capital Management LLC, Elliott
 Management Corporation, King Street Capital Management LP, Och-Ziff Capital Management
 Group LLC, The Baupost Group LLC and Varde Partners LP.

                 (c)     Following the Effective Date, the board of directors of LBHI shall, in
 addition to its other duties, be responsible for (i) instructing and supervising the Debtors and the
 Plan Administrator with respect to their responsibilities under the Plan; (ii) reviewing and
 approving the prosecution of adversary and other proceedings, if any, including approving
 proposed settlements thereof; (iii) reviewing and approving objections to and proposed
 settlements of Disputed Claims; and (iv) performing such other duties that may be necessary and
 proper to assist the Debtors and the Plan Administrator and their retained professionals. In its
 discretion, following the Effective Date, the board of directors of LBHI may also delegate any
 duties assigned to the Plan Administrator to any other committee, entity or individual.

          7.3       Subsidiary Debtor Post-Effective Date Management.

                (a)      Following the Effective Date, the board of directors of LBSF and LCPI
 shall each consist of three (3) individuals as follows:

                         (i)     an individual who is a concurrently serving member of the LBHI
 board of directors that is selected by the LBHI board of directors;




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                       (ii)     an individual who is a concurrently serving member of the LBHI
 board of directors that is selected by the LBHI board of directors and, in the case of LBSF or
 LCPI, acceptable to the Opco Plan Proponents who are PSA Creditors; and

                          (iii)  an individual who is selected by the individuals appointed pursuant
 to (i) and (ii) of this section and who is independent from LBHI, the members of the Director
 Selection Committee and, in the case of LBSF, LBSF, or in the case of LCPI, LCPI.

 Each of the initial directors of LBSF and LCPI shall have initial and, if reelected, subsequent
 terms of one year. A director of LBSF and LCPI may be removed from office by Lehman ALI
 (as directed by LBHI) only for cause. Upon the resignation, death, incapacity or removal for
 cause of a director of LBSF or LCPI, the election of a replacement director shall be determined
 by action of Lehman ALI (as directed by LBHI); provided that at all times the LBSF and LCPI
 boards of directors must be comprised of individuals that satisfy the requirements of Section
 7.3(a) hereof.

                 (b)     Following the Effective Date, the respective boards of directors or
 managers, as applicable, of the Subsidiary Debtors other than LBSF and LCPI shall consist of
 one (1) individual who shall be a concurrently serving member of the LBHI board of
 directors. With respect to a Subsidiary Debtor incorporated or formed under the laws of a
 jurisdiction outside of the United States, if the laws of such foreign jurisdiction require the
 appointment of more than one (1) director or manager to the board of directors or managers of
 such Subsidiary Debtor or of a director or manager that is not an individual concurrently serving
 as a member of the LBHI board of directors, such additional or alternative directors or managers
 shall be appointed by the LBHI board of directors. Each of the initial directors or managers of
 the Subsidiary Debtors other than LBSF and LCPI shall have initial and, if reelected, subsequent
 terms of one year. Thereafter, LBHI or the Subsidiary Debtor or Debtor-Controlled Entity that
 is the sole shareholder of the relevant Subsidiary Debtor shall elect successors of the then-
 serving members of the boards or managers for such Subsidiary Debtor at each annual meeting
 or upon the removal or resignation of such individuals. LBHI or the Subsidiary Debtor or
 Debtor-Controlled Entity that is the sole shareholder of the relevant Subsidiary Debtor shall also
 have the power to act by written consent to remove any director or manager of such Subsidiary
 Debtor at any time with or without cause. Notwithstanding the foregoing, any Subsidiary
 Debtor that is a limited partnership shall continue to be managed by its general partner.

          7.4       Plan Trust.

                 (a)    The Plan Trust shall be established on the Effective Date and shall
 continue in existence until the Closing Date. The Plan Trustees shall be the members of the
 Director Selection Committee. Each of the Plan Trustees shall continue in such capacity until
 he or she ceases to be a Plan Trustee in accordance with the terms and conditions set forth in the
 Plan Trust Agreement. In the event of a vacancy in the office of Plan Trustee, the remaining
 Plan Trustees shall by majority vote of the remaining Plan Trustees fill the vacancy if in their
 discretion the circumstances of the Plan Trust warrant doing so. The Plan Trust shall exercise
 voting rights associated with the Plan Trust Stock in furtherance of the liquidation of the Debtors
 and compliance with the provisions of the Plan. The sole purpose of the Plan Trust shall be to
 hold the Plan Trust Stock as provided in Section 4.17(b). The Plan Trust shall be governed, in


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 accordance with the Plan Trust Agreement, by the Plan Trustees. Any distribution from assets
 of LBHI that is made to the Plan Trust as holder of such share shall be for the benefit of the
 holders of Equity Interests in accordance with Section 4.17(b).

                (b)     The Plan Trust Agreement shall provide that (i) at such time as a vacancy
 on the board of directors of LBHI is to be filled or there is a vote on the election of a director
 upon the expiration of a director’s term of office, the Plan Trust shall fill such vacancy by
 majority vote of the Plan Trustees and (ii) at all other times, the Plan Trust may act, by majority
 vote of the Plan Trustees, to remove and replace directors, with cause.

         7.5    Corporate Existence. After the Effective Date, the Plan Administrator may
 decide to (a) maintain each Debtor as a corporation in good standing until such time as all
 aspects of the Plan pertaining to such Debtor have been completed, or (b) at such time as the
 Plan Administrator considers appropriate and consistent with the implementation of the Plan
 pertaining to such Debtor, dissolve such Debtor and complete the winding up of such Debtor
 without the necessity for any other or further actions to be taken by or on behalf of such
 dissolving Debtor or its shareholder or any payments to be made in connection therewith subject
 to the filing of a certificate of dissolution with the appropriate governmental authorities
 (including, without limitation, the transfer of all or part of the assets of such Debtor to a
 Liquidating Trust in accordance with Article X of the Plan), or (c) dissolve any Debtor-
 Controlled Entity and complete the winding up of such Debtor-Controlled Entity in accordance
 with applicable law; provided, however, that the foregoing does not limit the Plan
 Administrator’s ability to otherwise abandon an interest in a Debtor-Controlled Entity.

         7.6     Wind-Down. After the Effective Date, pursuant to the Plan, the Plan
 Administrator shall wind-down, sell and otherwise liquidate assets of the Debtors and/or Debtor-
 Controlled Entities in accordance with Section 6.1(b)(iii) of the Plan. The wind-down, sale and
 liquidation of each such Debtor’s assets (as determined for federal income tax purposes) shall
 occur over a period of three years after the Effective Date (it being understood that such
 liquidation may include the transfer of all or part of the assets of such Debtor to one or more
 Liquidating Trusts within the meaning of Treas. Reg. § 301.7701-4); provided, however, that the
 wind-down and liquidation may extend over a longer period of time if the Debtors receive a
 private letter ruling or other equivalent guidance from the IRS from which the Plan
 Administrator reasonably concludes that the continued wind-down and liquidation should not
 result in a reduction or limitation of the Debtors’ tax attributes for federal income tax purposes
 that materially impairs the expected actual use of such tax attributes.

         7.7      Certificate of Incorporation and By-Laws. As of the Effective Date, the
 certificate of incorporation and by-laws of each Debtor shall be amended to the extent necessary
 to carry out the provisions of the Plan. The amended certificate and by-laws of such Debtor (if
 any) shall be contained in the Plan Supplement.

         7.8    Stock Trading Restrictions. The restrictions imposed by the Stock Trading
 Restrictions Order shall remain effective and binding through the closing of LBHI’s Chapter 11
 Case.




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                                           ARTICLE VIII
                     Provisions Regarding Voting and Distributions Under the Plan

         8.1    Voting of Claims. Each holder of an Allowed Claim in an impaired Class of
 Claims that is entitled to vote on the Plan pursuant to Article III, Article IV and Article V of the
 Plan shall be entitled to vote separately to accept or reject the Plan as provided in an order
 entered by the Bankruptcy Court establishing procedures with respect to the solicitation and
 tabulation of votes to accept or reject the Plan, or any other order or orders of the Bankruptcy
 Court.

         8.2     Nonconsensual Confirmation. If any impaired Class of Claims entitled to vote
 on the Plan does not accept the Plan by the requisite majority provided in section 1126(c) of the
 Bankruptcy Code, the Debtors reserve the right to amend the Plan in accordance with Section
 15.6 of the Plan or undertake to have the Bankruptcy Court confirm the Plan under section
 1129(b) of the Bankruptcy Code or both. With respect to impaired Classes of Claims or Equity
 Interests that are deemed to reject the Plan, the Debtors shall request that the Bankruptcy Code
 confirm the Plan pursuant to section 1129(b) of the Bankruptcy Code.

         8.3     Distributions of Available Cash. On the Effective Date, or as soon thereafter as
 practicable, after the satisfaction in full of (or the establishment of reserves sufficient for the
 satisfaction in full of) Allowed Administrative Expense Claims, Allowed Priority Tax Claims,
 Allowed Priority Non-Tax Claims and Allowed Secured Claims (to the extent the Debtor
 determines to pay such Allowed Secured Claim in Cash) against a Debtor, each Debtor shall
 make a Distribution of its Available Cash in accordance with the provisions of the Plan to
 holders of Allowed Claims against such Debtor. After the initial Distribution, each Debtor shall
 make Distributions of Available Cash in accordance with the Plan to holders of Allowed Claims
 against such Debtor semi-annually on March 30 and September 30 of each year, provided that
 each such Distribution in the aggregate is not less than $10,000,000 of such Debtor’s Available
 Cash. Notwithstanding the foregoing, the Plan Administrator may determine, in its sole
 discretion (a) to make a Distribution that is less than $10,000,000 in the aggregate of a Debtor’s
 Available Cash, or (b) not to make a Distribution to the holder of an Allowed Claim (other than a
 Claim that has become Allowed pursuant to clauses (b), (d) and (e) of Section 1.4 of the Plan) on
 the basis that it has not yet determined whether to object to such Claim and such Claim shall be
 treated as a Disputed Claim for purposes of Distributions under the Plan until the Plan
 Administrator determines (i) not to object to such Claim (or the time to object to Claims expires),
 (ii) agrees with the holder of such Claim to allow such Claim in an agreed upon amount or (iii)
 objects to such Claim and such Claim is Allowed by a Final Order. To the extent that a
 Liquidating Trust is established for a Debtor in accordance with Article X of the Plan, any
 Distributions to be made to holders of Allowed Claims thereafter shall be made by the
 Liquidating Trustee to such holders as holders of Liquidating Trust Interests in accordance with
 the provisions of the Plan. Distributions of Cash on account of such Liquidating Trust Interests
 shall be made in accordance with Section 10.7 of the Plan.

        8.4     Disputed Claims Holdback. From and after the Effective Date, and until such
 time as all Disputed Claims have been compromised and settled or determined by Final Order,
 the Plan Administrator shall, consistent with and subject to section 1123(a)(4) of the Bankruptcy
 Code, retain from Available Cash an aggregate amount equal to the Pro Rata Share of the


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 Distributions that would have been made to each holder of a Disputed Claim if such Disputed
 Claim were an Allowed Claim against such Debtor in an amount equal to the least of (a) the filed
 amount of such Disputed Claim, (b) the amount determined, to the extent permitted by the
 Bankruptcy Code and Bankruptcy Rules, by the Bankruptcy Court for purposes of fixing the
 amount to be retained for such Disputed Claim, and (c) such other amount as may be agreed
 upon by the holder of such Disputed Claim and the Plan Administrator. On the date of the first
 Distribution that is at least forty-five (45) days (or such fewer days as may be agreed between the
 applicable Debtor and the holder of the applicable Disputed Claim) after the date on which a
 Disputed Claim becomes an Allowed Claim against a Debtor, such Debtor shall remit to the
 holder of such Allowed Claim Available Cash equal to the amount that would have been
 distributed from the Effective Date through and including the date of such Distribution on
 account of such Allowed Claim had such Claim been Allowed as of the Effective Date, together
 with any interest earned on the lesser of (i) such amount and (ii) the amount retained with respect
 to such Claim pursuant to this provision, in each case, but only to the extent that such interest is
 attributable to the amount of the Allowed Claim; provided, that (x) such amount shall be paid
 first out of the Available Cash retained on account of such Allowed Claim and second out of
 Available Cash other than Available Cash retained on account of other Disputed Claims and (y)
 if the amount available for Distribution pursuant to the foregoing clause (x) is insufficient to
 remit all Distributions required to be made to such holder pursuant to this sentence, such holder
 shall receive the amount of such insufficiency on the next subsequent date(s) of Distribution
 before the holders of any other Claims against such Debtor receive any further Distributions out
 of Available Cash (other than Available Cash retained on account of other Disputed Claims)
 from such Debtor. To the extent that a Disputed Claim against a Debtor is disallowed by Final
 Order or becomes an Allowed Claim in an amount less than the amount retained with respect to
 such Claim pursuant to this provision, the amount that would have been distributed on account of
 such Disputed Claim, or the excess of the amount of Available Cash that would have been
 distributed on account of such Disputed Claim over the amount of Available Cash actually
 distributed on account of such Disputed Claim, shall become Available Cash for Distributions to
 the holders of Allowed Claims. Nothing in this Section 8.4 of the Plan shall preclude any holder
 of a Disputed Claim from seeking, on notice to the Plan Administrator, an order of the
 Bankruptcy Court in respect of or relating to the amount retained with respect to such holder’s
 Disputed Claim. Unless otherwise ordered by the Bankruptcy Court, Available Cash retained
 on account of Disputed Claims shall not be used by, on behalf of or for the benefit of a Debtor
 for operating expenses, costs or any purpose other than as set forth in this section. If the Plan
 Administrator determines, in its sole discretion, that the value of a Debtor’s assets (other than
 such Debtor’s Available Cash) exceeds the amount of Available Cash necessary to be retained
 pursuant to this section on account of Disputed Claims against such Debtor, the Plan
 Administrator may, subject to Bankruptcy Court approval, on proper notice to all holders of
 Disputed Claims against such Debtor, release such Available Cash for Distribution to holders of
 Allowed Claims and retain, in lieu thereof, such Debtor’s non-Cash assets to satisfy its Disputed
 Claims if such Claims become Allowed Claims.

         8.5    Minimum Distribution and Manner of Payment. Other than with respect to a
 Convenience Claim or Convenience Guarantee Claim, no payment of Cash of less than $500
 shall be made by any Debtor to any holder of an Allowed Claim against such Debtor unless a
 request therefor is made in writing to the Plan Administrator. Any payment of Cash made



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 pursuant to the Plan may be made at the option of the Plan Administrator either by check or by
 wire transfer.

        8.6      Distributions Free and Clear. Except as otherwise provided herein, any
 Distributions under the Plan shall be free and clear of any Liens, Claims and encumbrances, and
 no other entity, including the Debtors or the Plan Administrator shall have any interest, legal,
 beneficial or otherwise, in assets transferred pursuant to the Plan.

         8.7    Delivery of Distributions and Undeliverable Distributions. Distributions to
 holders of Allowed Claims shall be made at the address of each such holder as set forth on the
 Schedules filed with the Bankruptcy Court, unless superseded by a new address as set forth (a)
 on a proof of Claim filed by a holder of an Allowed Claim, (b) in another writing notifying the
 Plan Administrator (at the addresses set forth in Section 15.12) or the Court appointed claims
 agent of a change of address or (c) in the notice filed with the Bankruptcy Court in accordance
 with Bankruptcy Rule 3001(e) to the extent a Claim has been transferred. If any holder’s
 Distribution is returned as undeliverable, no further Distributions to such holder shall be made
 unless and until the Plan Administrator is notified of such holder’s then-current address, at which
 time all missed Distributions shall be made to such holder at its then-current address, without
 interest. All demands for undeliverable Distributions shall be made on or before six (6) months
 after the date such undeliverable Distribution was initially made. Thereafter, the amount
 represented by such undeliverable Distribution shall irrevocably revert to the applicable Debtor
 as Available Cash for Distributions to the holders of Allowed Claims, and any Claim in respect
 of such undeliverable Distribution shall be discharged and forever barred from assertion against
 such Debtor or its respective property.

         8.8    Withholding and Reporting Requirements. In connection with the Plan and all
 instruments issued in connection therewith and distributed thereon, the Plan Administrator or the
 Liquidating Trustee (as applicable) shall comply with all applicable withholding and reporting
 requirements imposed by any federal, state, or local taxing authority, and all Distributions shall
 be subject to any such withholding or reporting requirements. All such amounts withheld and
 paid to the appropriate Governmental Unit shall be treated as distributed to such holders.
 Notwithstanding the above, each holder of an Allowed Claim or Liquidating Trust Interest that is
 to receive a Distribution shall have the sole and exclusive responsibility for the satisfaction and
 payment of any tax obligations imposed by any Governmental Unit, including income,
 withholding and other tax obligations, on account of such Distribution. The Plan Administrator
 or the Liquidating Trustee (as applicable), has the right, but not the obligation, to not make a
 Distribution until such holder has made arrangements satisfactory to such issuing or disbursing
 party for payment of any such tax obligations. The Plan Administrator or the Liquidating
 Trustee (as applicable), may require, as a condition to receipt of a Distribution, that the holder of
 an Allowed Claim or Liquidating Trust Interest provide a completed Form W-8, W-9 and/or
 other tax information deemed necessary in the sole discretion of the Plan Administrator or
 Liquidating Trustee, as applicable to each such holder, provided that if the Plan Administrator or
 Liquidating Trustee (as applicable) makes such a request and the holder fails to comply before
 the date that is 180 days after the request is made, the amount of such Distribution shall
 irrevocably revert to the applicable Debtor or Liquidating Trust and any Claim in respect of such
 Distribution shall be discharged and forever barred from assertion against such Debtor,
 Liquidating Trust, or its respective property.


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        8.9    Time Bar to Cash Payment Rights. Checks issued in respect of Allowed Claims
 shall be null and void if not negotiated within 90 days after the date of issuance thereof.
 Requests for reissuance of any check shall be made to the Plan Administrator by the holder of
 the Allowed Claim to whom such check originally was issued. Any claim in respect of such a
 voided check shall be made on or before 90 days after the expiration of the 90 day period
 following the date of issuance of such check. Thereafter, the amount represented by such
 voided check shall irrevocably revert to the Debtor and any Claim in respect of such voided
 check shall be discharged and forever barred from assertion against such Debtor and its
 property.

         8.10 Setoffs and Recoupment. Except as otherwise agreed by a Debtor, any Debtor
 may, but shall not be required to, setoff against or recoup from any Claim and the payments to be
 made pursuant to the Plan in respect of such Claim any Claims of any nature whatsoever that the
 Debtor may have against the claimant; provided, however, that the claimant shall be served with
 written notice of the proposed setoff or recoupment at least twenty-eight (28) days prior to
 exercising any asserted setoff or recoupment right, and, if such claimant serves a written
 objection to such asserted setoff or recoupment on or before twenty-eight (28) days of receipt of
 such written notice, (i) the objection shall be deemed to initiate a contested matter governed by,
 inter alia, Bankruptcy Rule 9014 and Local Rules 9014-1 and 9014-2, (ii) nothing herein shall
 affect the respective burden of each party in connection with such contested matter, and (iii) the
 Debtor shall not proceed with the asserted setoff or recoupment absent the withdrawal of such
 objection or the entry of a Final Order overruling such objection but the Debtor may withhold
 such payment pending resolution of such objection; provided, further, that neither the failure to
 setoff against or recoup from any Claim nor the allowance of any Claim hereunder shall
 constitute a waiver or release by such Debtor of any such Claim the Debtor may have against
 such claimant.

         8.11 Claims Register. The register of Claims maintained by the Debtors shall remain
 open after the Effective Date and the Debtors and Plan Administrator shall recognize any transfer
 of Claims at any time thereafter, provided that for purposes of each Distribution, the Debtors and
 the Plan Administrator will not recognize any transfer during the period commencing thirty (30)
 calendar days prior to a Distribution Date. Except as otherwise provided in the Plan, any
 transfer of a Claim, whether occurring prior to or after the Confirmation Date, shall not affect or
 alter the classification and treatment of such Claim under the Plan and any such transferred
 Claim shall be subject to classification and treatment under the Plan as if such Claim was held by
 the transferor who held such Claim on the Commencement Date.

         8.12 Allocation of Distributions. Distributions to any holder of an Allowed Claim
 shall be allocated first to the principal portion of any such Allowed Claim (as determined for
 federal income tax purposes), and, only after the principal portion of any such Allowed Claim is
 satisfied in full, to any portion of such Allowed Claim comprising interest (but solely to the
 extent that interest is an allowable portion of such Allowed Claim).

          8.13      Maximum Distribution.

                (a)    An (i) Allowed Claim that receives Distributions (excluding Distributions
 contributed to the Plan Adjustment on account of such Allowed Claim) in the Allowed amount


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 of such Claim or (ii) Allowed Guarantee Claim that receives Distributions (excluding
 Distributions contributed to the Plan Adjustment on account of such Allowed Guarantee Claim)
 that combined with Distributions or other consideration provided on the corresponding Primary
 Claim (excluding Distributions contributed to the Plan Adjustment on account of such Primary
 Claim) equal the Allowed amount of such Guarantee Claim (or such amount as may be agreed to
 by a holder and the Debtors) shall, in each case, be deemed satisfied in full as to such Allowed
 Claim or Allowed Guarantee Claim against the applicable Debtor. To the extent that an
 Allowed Guarantee Claim is deemed satisfied in full, LBHI shall be entitled to receive future
 Distributions or consideration on account of the corresponding Primary Claim as subrogee
 pursuant to Section 8.14(a) of the Plan to the extent of LBHI’s Distribution on account of such
 Guarantee Claim less any amounts received by LBHI by way of disgorgement thereof. Except
 as specifically provided with respect to LBHI’s rights of subrogation set forth above, nothing
 contained herein shall in any way affect the rights of the holder of a Guarantee Claim with
 respect to a corresponding Primary Claim against a Primary Obligor that is not a Debtor.

                (b)     In no event shall (i) an Allowed Claim receive Distributions (excluding
 Distributions contributed to the Plan Adjustment on account of such Allowed Claim) in excess of
 the Allowed amount of such Claim or (ii) an Allowed Guarantee Claim receive Distributions
 (excluding Distributions contributed to the Plan Adjustment on account of such Allowed
 Guarantee Claim) that combined with Distributions or other consideration provided on the
 corresponding Primary Claim (excluding Distributions contributed to the Plan Adjustment on
 account of such Primary Claim) are in excess of the Allowed amount of the Guarantee Claim (or
 such amount as may be agreed to by a holder and the Debtors).

                 (c)      To the extent that any Debtor has Available Cash after all Allowed Claims
 against that Debtor have been satisfied in full in accordance with Section 8.13(a) of the Plan,
 each holder of each such Allowed Claim shall receive its Pro Rata Share of further Distributions,
 if any, to the fullest extent permissible under the Bankruptcy Code in satisfaction of postpetition
 interest on the Allowed amount of such Claims at the rate applicable in the contract or contracts
 on which such Allowed Claim is based (or, absent such contractual rate, at the statutory rate)
 until such time as all postpetition interest on all such Allowed Claims has been paid in full.

                (d)    For purposes of determining whether an Allowed Claim has been satisfied
 in full in accordance with Section 8.13(a) of the Plan, all Distributions or other consideration
 provided by a Primary Obligor in a currency other than the U.S. Dollar shall be converted to the
 U.S. Dollar applying the existing exchange rate derived from Reuters existing at approximately
 3:00 p.m. GMT on the Confirmation Date. Nothing contained in this provision shall affect the
 applicable exchange rate for determining the Allowed amount of any Claim under section 502(b)
 of the Bankruptcy Code.

                (e)    The Plan Administrator may, in its sole discretion, request that a holder of
 an Allowed Guarantee Claim, except holders of Allowed Guarantee Claims for which a
 Subsidiary Debtor is the Primary Obligor, certify in writing and provide evidence reasonably
 satisfactory to the Plan Administrator to confirm whether: (i) the Primary Claim has been
 Allowed or disallowed against the Primary Obligor, and, if Allowed, the amount of such
 Allowed Primary Claim, (ii) the Primary Claim is disputed or subject to objection by a Foreign
 Administrator or other party, (iii) the consideration, if any, received to date on account of such


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 Allowed Primary Claim from the Primary Obligor, (iv) such holder has been notified by or on
 behalf of the Primary Obligor of any future distributions or payment anticipated or estimated to
 be made on account of such Primary Claim from the Primary Obligor; or (v) the holder (A) has
 sufficient assets to satisfy an order or judgment to disgorge any Distributions received with
 respect to such Allowed Guarantee Claim if it is ultimately determined that such holder is
 required to disgorge all or a portion of such Distributions and (B) will submit to the jurisdiction
 of the Bankruptcy Court for purposes of such order or judgment and will not contest the
 enforcement of such order or judgment in any foreign jurisdiction. If the holder does not also
 certify, in addition to the foregoing, that the holder has sufficient assets in the United States of
 America to satisfy an order to disgorge any Distributions with respect to such Allowed
 Guarantee Claim, unless the Bankruptcy Court orders otherwise, the Plan Administrator may
 require that the holder post security for any obligation to disgorge Distributions made to such
 holder on account of such Allowed Guarantee Claim as a condition to the receipt of future
 Distributions on such Claim if the Plan Administrator reasonably determines that such security is
 necessary to ensure the recovery of any amount of Distributions made by LBHI to such holder
 that is ordered to be disgorged. If (i) the Plan Administrator determines, based on the foregoing,
 that an Allowed Guarantee Claim has been satisfied in full in accordance with Section 8.13(a) of
 the Plan, then unless the Bankruptcy Court orders otherwise, no Distributions shall thereafter be
 made on account of such Allowed Guarantee Claim, or (ii) a holder of an Allowed Guarantee
 Claim does not comply with this section, then unless the Bankruptcy Court orders otherwise, the
 Plan Administrator shall not be required to make Distributions on account of such Allowed
 Guarantee Claim, provided that nothing herein shall preclude a holder of an Allowed Guarantee
 Claim from challenging the determination of the Plan Administrator in the Bankruptcy Court;
 provided, further, that the Plan Administrator shall reserve Distributions with respect to such
 Allowed Guarantee Claim and, unless such Allowed Guarantee Claim has been satisfied in full
 in accordance with Section 8.13(a) of the Plan, promptly after compliance with this section the
 Plan Administrator shall remit to the holder of such Allowed Guarantee Claim the lesser of (x)
 the amount reserved pursuant to this section on account of such Allowed Guarantee Claim or (y)
 the amount necessary to satisfy such Allowed Guarantee Claim in full in accordance with
 Section 8.13(a) of the Plan.

                (f)    Any portion of any Distribution made by LBHI to the holder of an
 Allowed Guarantee Claim that is recovered pursuant to Section 8.13 or 8.14 of the Plan, whether
 by way of subrogation, disgorgement or otherwise, shall be treated as Available Cash of LBHI
 and distributed accordingly.

          8.14      Rights of Reimbursement.

                 (a)    Except as otherwise agreed by the Debtors, to the extent that a Debtor now
 has or becomes legally entitled to be subrogated to the rights of any Creditor, including on
 account of any Distributions received by holders of Allowed Guarantee Claims that are satisfied
 in full in accordance with Section 8.13(a) of the Plan, (i) such Creditor shall be deemed to have
 consented to the subrogation of its right against any third-party, including, without limitation, a
 Primary Obligor, that may be obligated to reimburse or indemnify the Debtor for all or a portion
 of such Distribution, or (ii) the Debtor shall have all rights, title and power as subrogee of the
 Creditor against any such third-party, including, without limitation, a Primary Obligor, to the
 fullest extent permitted by applicable law.


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                 (b)    Except as otherwise agreed by the Debtors, the Debtors’ rights to assert or
 prosecute Litigation Claims for reimbursement, indemnification, recoupment or any other similar
 right, including, without limitation, any right to setoff with respect to any of the foregoing,
 against any entity, including, without limitation, a Primary Obligor, on account of Distributions
 made to the holders of Allowed Claims or Allowed Guarantee Claims, shall be fully preserved to
 the fullest extent permitted by applicable law.

         8.15 Distributions to Non-Controlled Affiliates. Except as otherwise agreed by the
 Debtors and a Non-Controlled Affiliate or with respect to LBT or LBSN, the Plan Administrator
 may determine, in its sole discretion, to withhold all or a portion of a Distribution to a Non-
 Controlled Affiliate if such Distribution would be distributed by such Non-Controlled Affiliate to
 satisfy a Claim of a different Non-Controlled Affiliate against which a Debtor has a Claim but
 the latter Non-Controlled Affiliate has refused to honor such Claim of a Debtor without
 subordination, reduction or offset unless (a) otherwise agreed to by the Plan Administrator or (b)
 the priority and amount of a Debtor’s Claim against the latter Non-Controlled Affiliate has been
 determined by Final Order.

                                                  ARTICLE IX
                                     Procedures for Treating Disputed Claims

         9.1      Objections. The Debtors’ rights to object to, oppose and defend against all
 Claims on any basis are fully preserved. Notwithstanding that a Primary Claim is Allowed
 against a Primary Obligor, the Debtors reserve the right to object to, oppose and defend against
 all Guarantee Claims. As of the Effective Date, objections to, and requests for estimation of, all
 Claims against the Debtors may be interposed and prosecuted only by the Plan Administrator,
 which shall consult with the applicable Debtor regarding the same. Objections to and requests
 for estimation of Claims shall be filed with the Court and served on the claimant on or before the
 later of (a) the date that is 2 years after the Effective Date and (b) such later date as may be fixed
 by the Bankruptcy Court for cause shown.

        9.2     No Distributions Pending Allowance. Notwithstanding any other provision
 hereof and unless otherwise agreed, if any portion of a Claim is a Disputed Claim, no
 Distribution shall be made on account of such Claim unless and until such Disputed Claim
 becomes an Allowed Claim.

         9.3     Estimation of Claims. The Plan Administrator may at any time request on behalf
 of any Debtor that the Bankruptcy Court estimate any contingent, unliquidated, or Disputed
 Claim, to the extent permitted by the Bankruptcy Code and Bankruptcy Rules, regardless of
 whether such Debtor previously objected to such Claim or whether the Bankruptcy Court has
 ruled on any such objection, and the Bankruptcy Court will retain exclusive jurisdiction to
 estimate any Claim at any time during litigation concerning any objection to any Claim,
 including, without limitation, during the pendency of any appeal relating to any such objection.
 In the event that the Bankruptcy Court estimates any contingent, unliquidated or Disputed Claim,
 the amount so estimated may constitute (i) the Allowed amount of such Claim, (ii) a maximum
 limitation on such Claim, (iii) the amount to be reserved in respect of Claim, or (iv) the amount
 of such Claim for voting purposes, all as determined by the Bankruptcy Court in accordance with
 the Bankruptcy Code and Bankruptcy Rules. If the estimated amount constitutes a maximum


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 limitation on the amount of such Claim, such Debtor may pursue supplementary proceedings to
 object to the allowance of such Claim. All of the aforementioned objection, estimation, and
 resolution procedures are intended to be cumulative and not exclusive of one another. Claims
 may be estimated and subsequently disallowed, reduced, compromised, settled, withdrawn, or
 resolved by any mechanism approved by the Bankruptcy Court.

        9.4     Resolution of Disputed Claims. On and after the Effective Date, the Plan
 Administrator shall have the authority to compromise, settle or otherwise resolve or withdraw
 any objections to Claims and to compromise, settle or otherwise resolve any Disputed Claims in
 accordance with Section 6.1(b)(i) of the Plan.

                                             ARTICLE X
                                           Liquidating Trust

         10.1 Execution of Liquidating Trust Agreement. After the Effective Date, and only if
 the Plan Administrator determines that one or more Liquidating Trusts are in the best interests of
 one or more Debtors and holders of Allowed Claims against and Equity Interests in such
 Debtors, the Plan Administrator and a Liquidating Trustee shall execute a Liquidating Trust
 Agreement, and shall take all other necessary steps to establish a Liquidating Trust and
 Liquidating Trust Interests therein, which shall be for the benefit of Liquidating Trust
 Beneficiaries. In the event of any conflict between the terms of this Section 10.1 and the terms
 of a Liquidating Trust Agreement as such conflict relates to the establishment of a Liquidating
 Trust, the terms of this Section 10.1 shall govern. A Liquidating Trust Agreement may provide
 powers, duties and authorities in addition to those explicitly stated herein, but only to the extent
 that such powers, duties, and authorities do not affect the status of a Liquidating Trust as a
 “liquidating trust” for United States federal income tax purposes.

        10.2 Purpose of the Liquidating Trust. Each Liquidating Trust shall be established for
 the sole purpose of liquidating and distributing the assets of the Debtor contributed to such
 Liquidating Trust in accordance with Treas. Reg. § 301.7701-4(d), with no objective to continue
 or engage in the conduct of a trade or business.

         10.3 Liquidating Trust Assets. Each Liquidating Trust shall consist of Liquidating
 Trust Assets. After the creation of a Liquidating Trust pursuant to Section 10.1 of the Plan, the
 Plan Administrator shall transfer all of the Liquidating Trust Assets to a Liquidating Trust.
 Liquidating Trust Assets may be transferred subject to certain liabilities, as provided in a
 Liquidating Trust Agreement. Such transfer shall be exempt from any stamp, real estate
 transfer, mortgage reporting, sales, use or other similar tax pursuant to section 1146(a) of the
 Bankruptcy Code.

         10.4 Administration of the Liquidating Trust. Each Liquidating Trust shall be
 administered by a Liquidating Trustee pursuant to a Liquidating Trust Agreement and the Plan.
 In the event of an inconsistency between the Plan and a Liquidating Trust Agreement as such
 conflict relates to anything other than the establishment of a Liquidating Trust, the Liquidating
 Trust Agreement shall control.




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        10.5 Liquidating Trustee’s Tax Power for Debtors. A Liquidating Trustee shall have
 the same authority in respect of all taxes of the Debtors, and to the same extent, as if the
 Liquidating Trustee were the Debtor.

         10.6 Cash Investments. A Liquidating Trustee may invest Cash (including any
 earnings thereon or proceeds therefrom); provided, however, that such investments are
 investments permitted to be made by a “liquidating trust” within the meaning of Treas. Reg. §
 301.7701-4(d), as reflected therein, or under applicable IRS guidelines, rulings or other
 controlling authorities.

         10.7 Distribution of Liquidating Trust Interests. A Liquidating Trustee is required to
 distribute to the holders of Allowed Claims on account of their Liquidating Trust Interests, on a
 semi-annual basis, all Available Cash (including any Cash received from the Debtors and
 treating any permissible investment as Cash for purposes of this Section 10.7), less such amounts
 that may be reasonably necessary to (a) meet contingent liabilities and to maintain the value of
 the Liquidating Trust Assets during liquidation, (b) pay reasonable incurred or anticipated
 expenses (including, without limitation, any taxes imposed on or payable by the Debtors or
 Liquidating Trust or in respect of the Liquidating Trust Assets), or (c) satisfy other liabilities
 incurred or anticipated by such Liquidating Trust in accordance with the Plan or Liquidating
 Trust Agreement; provided, however, that such Liquidating Trustee shall not be required to make
 a Distribution pursuant to this Section 10.7 of the Plan if such Liquidating Trustee determines
 that the expense associated with making the Distribution would likely utilize a substantial
 portion of the amount to be distributed, thus making the Distribution impracticable.

         10.8 Federal Income Tax Treatment of Liquidating Trust. Subject to definitive
 guidance from the IRS or a court of competent jurisdiction to the contrary (including the receipt
 of an adverse determination by the IRS upon audit if not contested by such Liquidating Trustee),
 for all United States federal income tax purposes, all parties (including, without limitation, the
 Debtors, a Liquidating Trustee and Liquidating Trust Beneficiaries) shall treat the transfer of
 Liquidating Trust Assets to a Liquidating Trust as (1) a transfer of Liquidating Trust Assets
 (subject to any obligations relating to those assets) directly to Liquidating Trust Beneficiaries
 (other than to the extent Liquidating Trust Assets are allocable to Disputed Claims), followed by
 (2) the transfer by such beneficiaries to a Liquidating Trust of Liquidating Trust Assets in
 exchange for Liquidating Trust Interests. Accordingly, except in the event of contrary definitive
 guidance, Liquidating Trust Beneficiaries shall be treated for United States federal income tax
 purposes as the grantors and owners of their respective share of Liquidating Trust Assets (other
 than such Liquidating Trust Assets as are allocable to Disputed Claims). The foregoing
 treatment shall also apply, to the extent permitted by applicable law, for state and local income
 tax purposes. For the purpose of this Section 10.8, the terms “party” and “Liquidating Trust
 Beneficiary” shall not include the United States or any agency or department thereof, or any
 officer or employee thereof acting in such capacity.

          10.9      Tax Reporting.

                (a)    A Liquidating Trustee shall file tax returns for a Liquidating Trust treating
 such Liquidating Trust as a grantor trust pursuant to Treas. Reg. § 1.671-4(a) and in accordance
 with this Section 10.9(a). A Liquidating Trustee also shall annually send to each holder of a


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 Liquidating Trust Interest a separate statement regarding the receipts and expenditures of the
 Liquidating Trust as relevant for U.S. federal income tax purposes and will instruct all such
 holders to use such information in preparing their U.S. federal income tax returns or to forward
 the appropriate information to such holders’ underlying beneficial holders with instructions to
 utilize such information in preparing their U.S. federal income tax returns.

                 (b)     Allocations of Liquidating Trust taxable income among Liquidating Trust
 Beneficiaries (other than taxable income allocable to any assets allocable to, or retained on
 account of, Disputed Claims) shall be determined by reference to the manner in which an amount
 of Cash representing such taxable income would be distributed (were such Cash permitted to be
 distributed at such time) if, immediately prior to such deemed Distribution, the Liquidating Trust
 had distributed all its assets (valued at their tax book value, other than assets allocable Disputed
 Claims) to the holders of Liquidating Trust Interests, adjusted for prior taxable income and loss
 and taking into account all prior and concurrent Distributions from a Liquidating Trust.
 Similarly, taxable loss of a Liquidating Trust shall be allocated by reference to the manner in
 which an economic loss would be borne immediately after a hypothetical liquidating distribution
 of the remaining Liquidating Trust Assets. The tax book value of Liquidating Trust Assets for
 purpose of this paragraph shall equal their fair market value on the date Liquidating Trust Assets
 are transferred to a Liquidating Trust, adjusted in accordance with tax accounting principles
 prescribed by the IRC, the applicable Treasury Regulations, and other applicable administrative
 and judicial authorities and pronouncements.

                (c)    As soon as reasonably practicable after Liquidating Trust Assets are
 transferred to a Liquidating Trust, a Liquidating Trustee shall make a good faith valuation of
 Liquidating Trust Assets. Such valuation shall be made available from time to time to all parties
 to the Liquidating Trust (including, without limitation, the Debtors and Liquidating Trust
 Beneficiaries), to the extent relevant to such parties for tax purposes, and shall be used
 consistently by such parties for all United States federal income tax purposes.

                 (d)    Subject to definitive guidance from the IRS or a court of competent
 jurisdiction to the contrary (including the receipt by a Liquidating Trustee of a private letter
 ruling if such Liquidating Trustee so requests one, or the receipt of an adverse determination by
 the IRS upon audit if not contested by such Liquidating Trustee), such Liquidating Trustee (i)
 may timely elect to treat any Liquidating Trust Assets allocable to Disputed Claims as a
 “disputed ownership fund” governed by Treas. Reg. § 1.468B-9, and (ii) to the extent permitted
 by applicable law, shall report consistently for state and local income tax purposes. If a
 “disputed ownership fund” election is made, all parties (including such Liquidating Trustee, the
 Debtors and Liquidating Trust Beneficiaries) shall report for United States federal, state and
 local income tax purposes consistently with the foregoing.

                (e)     A Liquidating Trustee shall be responsible for payment, out of Liquidating
 Trust Assets, of any taxes imposed on a Liquidating Trust or its assets.

                (f)     A Liquidating Trustee may request an expedited determination of taxes of
 a Liquidating Trust, including any reserve for Disputed Claims, or of the Debtor as to whom the
 Liquidating Trust was established, under section 505(b) of the Bankruptcy Code for all tax



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 returns filed for, or on behalf of, such Liquidating Trust or the Debtor for all taxable periods
 through the dissolution of such Liquidating Trust.

          10.10 Dissolution.

                  (a)      A Liquidating Trustee and Liquidating Trust shall be discharged or
 dissolved, as the case may be, at such time as (i) all of the Liquidating Trust Assets have been
 distributed pursuant to the Plan and a Liquidating Trust Agreement, (ii) a Liquidating Trustee
 determines, in its sole discretion, that the administration of any remaining Liquidating Trust
 Assets is not likely to yield sufficient additional Liquidating Trust proceeds to justify further
 pursuit, or (iii) all Distributions required to be made by a Liquidating Trustee under the Plan and
 a Liquidating Trust Agreement have been made; provided, however, that in no event shall a
 Liquidating Trust be dissolved later than three (3) years from the creation of such Liquidating
 Trust pursuant to Section 10.1 of the Plan unless the Bankruptcy Court, upon motion within the
 six-month period prior to the third (3rd) anniversary (or within the six-month period prior to the
 end of an extension period), determines that a fixed period extension (not to exceed three (3)
 years, together with any prior extensions, without a favorable private letter ruling from the IRS
 or an opinion of counsel satisfactory to the Liquidating Trustee that any further extension would
 not adversely affect the status of the trust as a liquidating trust for United States federal income
 tax purposes) is necessary to facilitate or complete the recovery and liquidation of the
 Liquidating Trust Assets.

                 (b)     If at any time a Liquidating Trustee determines, in reliance upon such
 professionals as a Liquidating Trustee may retain, that the expense of administering a
 Liquidating Trust so as to make a final Distribution to Liquidating Trust Beneficiaries is likely to
 exceed the value of the assets remaining in such Liquidating Trust, such Liquidating Trustee may
 apply to the Bankruptcy Court for authority to (i) reserve any amount necessary to dissolve such
 Liquidating Trust, (ii) donate any balance to a charitable organization (A) described in section
 501(c)(3) of the IRC, (B) exempt from United States federal income tax under section 501(a) of
 the IRC, (C) not a “private foundation”, as defined in section 509(a) of the IRC, and (D) that is
 unrelated to the Debtors, such Liquidating Trust, and any insider of such Liquidating Trustee,
 and (iii) dissolve such Liquidating Trust.

                                             ARTICLE XI
                         Treatment of Executory Contracts and Unexpired Leases

         11.1 Executory Contracts and Unexpired Leases. Pursuant to sections 365(a) and
 1123(b)(2) of the Bankruptcy Code, all prepetition executory contracts and unexpired leases that
 exist between a Debtor and any person or entity shall be deemed rejected by such Debtor, as of
 the Effective Date, except for any prepetition executory contract or unexpired lease (a) that has
 been assumed pursuant to an order of the Bankruptcy Court entered prior to the Effective Date,
 (b) as to which a motion for approval of the assumption or rejection of such executory contract
 or unexpired lease has been filed prior to the Confirmation Date, or (c) that is specifically
 designated in the Plan Supplement as a contract or lease to be assumed by the Debtor; provided,
 however, that the Debtors reserve the right, on or prior to the Confirmation Date, to amend the
 Plan Supplement to remove any prepetition executory contract or unexpired lease therefrom or
 add any prepetition executory contract or unexpired lease thereto, in which event such executory


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 contract(s) or unexpired lease(s) shall, as of the Effective Date, be deemed to be, respectively,
 rejected or assumed. The Debtors shall provide notice of any amendments to the Plan
 Supplement to the parties to the executory contracts and unexpired leases affected thereby. The
 listing of or failure to list a document in the Plan Supplement shall not constitute an admission
 by the Debtors that such document is or is not an executory contract or an unexpired lease or that
 the Debtors have any liability thereunder.

         11.2 Approval of Assumption and Rejection of Executory Contracts and Unexpired
 Leases. Entry of the Confirmation Order shall, subject to and upon the occurrence of the
 Effective Date, constitute (a) the approval, pursuant to sections 365(a) and 1123(b)(2) of the
 Bankruptcy Code, of the assumption of the executory contracts and unexpired leases assumed or
 assumed and assigned pursuant to the Plan and (b) the approval, pursuant to sections 365(a) and
 1123(b)(2) of the Bankruptcy Code, of the rejection of the executory contracts and unexpired
 leases rejected pursuant to the Plan. To the extent any provision of an executory contract or
 unexpired lease to be assumed by any of the Debtors under the Plan limits such Debtor’s ability
 to assign such executory contract or unexpired lease, the effectiveness of such provision shall be
 limited or nullified to the full extent provided in section 365(f) of the Bankruptcy Code.

         11.3 Cure of Defaults. Except as may otherwise be agreed to by the parties, within
 thirty (30) days after the Effective Date, the Debtor shall cure any and all undisputed defaults
 under any executory contract or unexpired lease assumed by the Debtor pursuant to the Plan, in
 accordance with section 365(b) of the Bankruptcy Code. All disputed defaults that are required
 to be cured shall be cured either within thirty (30) days of the entry of a Final Order determining
 the amount, if any, of the Debtor’s liability with respect thereto, or as may otherwise be agreed to
 by the parties.

         11.4 Bar Date for Filing Proofs of Claim Relating to Executory Contracts and
 Unexpired Leases Rejected Pursuant to the Plan. Claims arising out of the rejection of an
 executory contract or unexpired lease pursuant to the Plan must be filed with the Bankruptcy
 Court and served upon the relevant Debtor no later than forty-five (45) days after the later of (a)
 notice of entry of an order approving the rejection of such executory contract or unexpired lease,
 (b) notice of entry of the Confirmation Order and occurrence of the Effective Date, and (c) notice
 of an amendment to the Plan Supplement relating to such executory contract or unexpired lease.
 Except as set forth in the preceding sentence, all such Claims must otherwise comply with
 the provisions of the Bar Date Order. All such Claims not filed in accordance with the
 foregoing will be forever barred from assertion against the Debtors and their estates. Any
 Claim arising out of the rejection of an executory contract or unexpired lease pursuant to the Plan
 shall be classified as a General Unsecured Claim or Convenience Claim, as applicable, against
 the Debtor that is a party to such executory contract or unexpired lease.

         11.5 Insurance Policies. To the extent that any of the Debtors’ insurance policies and
 any agreements, documents or instruments with insurers relating thereto constitute executory
 contracts, such contracts shall be deemed assumed under the Plan. Nothing contained herein
 shall constitute or be deemed a waiver of any Litigation Claims that the Debtors may hold
 against any entity, including, without limitation, the insurer under any of the Debtors’ policies of
 insurance.



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         11.6 Indemnification Obligations. Subject to the occurrence of the Effective Date, the
 obligations of each Debtor to indemnify, defend, reimburse or limit the liability of (a) directors,
 officers and any other employee who is held responsible for obligations of the Debtor incurred
 after the Commencement Date who are directors, officers or employees of such Debtor or a
 Debtor-Controlled Entity on or after the Commencement Date and (b) Released Parties,
 respectively, against any Claims or Causes of Action as provided in the Debtor’s articles of
 organization, certificates of incorporation, bylaws, other organizational documents or applicable
 law, shall survive confirmation of the Plan, shall be assumed by such Debtor and will remain in
 effect after the Effective Date. Any such assumed obligations owed in connection with an event
 occurring after the Commencement Date shall be paid as an Administrative Expense Claim
 under the Plan. Any such obligations owed in connection with an event occurring before the
 Commencement Date shall be treated as pre-petition Claims under the Plan. Nothing in the Plan
 shall in any way limit, modify, alter or amend the Debtor’s limitation of liability of the
 Independent Directors set forth in Section 10.1 of the Restated Certificate of Incorporation of
 LBHI.

                                              ARTICLE XII
                                         Effectiveness of the Plan

        12.1 Conditions Precedent to the Confirmation of the Plan. The following are
 conditions precedent to the confirmation of the Plan with respect to each Debtor:

               (a)     The Bankruptcy Court shall have entered the Structured Securities Order
 in form and substance satisfactory to the Debtors and the Creditors’ Committee; and

                (b)     The Bankruptcy Court shall have entered a Confirmation Order with
 respect to the Plan for all of the Participating Debtors in form and substance satisfactory to the
 respective Debtor and the Creditors’ Committee.

        12.2 Conditions Precedent to the Effective Date of the Plan. The following are
 conditions precedent to the Effective Date of the Plan with respect to each Debtor:

                (a)   The Confirmation Order, in form and substance acceptable to the Debtors
 and the Creditors’ Committee, shall have been entered;

                 (b)   All actions and all agreements, instruments or other documents necessary
 to implement the terms and provisions of the Plan are effected or executed and delivered, as
 applicable, in form and substance satisfactory to the Debtors;

                (c)    All authorizations, consents and regulatory approvals, if any, required by
 the Debtors in connection with the consummation of the Plan are obtained and not revoked; and

              (d)     The certificate of incorporation and by-laws of the Debtors shall have
 been amended to the extent necessary to effectuate the Plan.

         12.3 Waiver of Conditions. Notwithstanding the foregoing, each Debtor reserves its
 right, upon obtaining the consent of the Creditors’ Committee, to waive the occurrence of the
 conditions precedent to the (a) Confirmation of its Plan set forth in Section 12.1 and (b) Effective


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 Date set forth in Section 12.2 of the Plan other than Section 12.2(a) of the Plan. Any such
 waiver may be effected at any time, without notice, without leave or order of the Bankruptcy
 Court, and without any formal action other than proceeding to consummate the Plan. Any
 actions required to be taken on the Effective Date shall take place and shall be deemed to have
 occurred simultaneously, and no such action shall be deemed to have occurred prior to the taking
 of any other such action. If any of the Debtors decide, with the consent of the Creditors’
 Committee, that one of the conditions precedent to the Effective Date of its Plan cannot be
 satisfied and the occurrence of such condition is not waived or cannot be waived, then the Debtor
 shall file a notice of the inability to satisfy such condition prior to the Effective Date with the
 Bankruptcy Court.

                                             ARTICLE XIII
                                         Effects of Confirmation

         13.1 Vesting of Assets. Upon the Effective Date, pursuant to section 1141(b) and (c)
 of the Bankruptcy Code, all Property of the Estate of a Debtor shall vest in that Debtor free and
 clear of all Claims, Liens, encumbrances, charges and other interests, except as provided herein.
 From and after the Effective Date, the Debtors, acting through the Plan Administrator, may take
 any action, including, without limitation, the operation of their businesses, the use, acquisition,
 sale, lease and disposition of property, and the entry into transactions, agreements,
 understandings or arrangements, whether in or other than in the ordinary course of business, and
 execute, deliver, implement, and fully perform any and all obligations, instruments, documents
 and papers or otherwise in connection with any of the foregoing, free of any restrictions of the
 Bankruptcy Code or the Bankruptcy Rules and in all respects as if there were no pending cases
 under any chapter or provision of the Bankruptcy Code, except as explicitly provided herein.

         13.2 Binding Effect. On and after the Confirmation Date, the provisions of the Plan
 shall bind any holder of a Claim against, or Equity Interest in, the Debtors and their respective
 successors and assigns, whether or not the Claim or Equity Interest of such holder is impaired
 under the Plan and whether or not such holder has accepted the Plan.

         13.3 Release and Exculpation. On and after the Effective Date, the Debtors and
 all entities who have held, hold or may hold Claims against or Equity Interests in any or all
 of the Debtors (whether proof of such Claims or Equity Interests has been filed or not),
 along with their respective present or former employees, agents, officers, directors or
 principals, shall be deemed to have released (a) the Released Parties from, and none of the
 Released Parties shall have or incur any liability for, any Claim for, Cause of Action for or
 other assertion of liability for any act taken or omitted to be taken during the Chapter 11
 Cases in connection with, or arising out of, the Chapter 11 Cases, the negotiation,
 formulation, dissemination, confirmation, consummation or administration of the Plan,
 property to be distributed under the Plan or any other act or omission in connection with
 the Chapter 11 Cases, the Plan, the Disclosure Statement, the Plan Support Agreements or
 any contract, instrument, document or other agreement related thereto and (b) the PSA
 Creditors from, and none of the PSA Creditors shall have or incur any liability for, any
 Claim for, Cause of Action for or other assertion of liability for any act taken or omitted to
 be taken in connection with, or arising out of, the negotiation, formulation, dissemination
 or confirmation, consummation or administration of the Plan, or any other act or omission


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 in connection with the Plan, the Disclosure Statement, the Plan Support Agreements,
 including the filing of any alternative chapter 11 plan and any determination to not pursue
 solicitation or confirmation of such alternative plan, or any contract, instrument, document
 or other agreement related thereto; provided, however, that (i) in no event shall any
 Litigation Claim, Cause of Action or other Claim or assertion of liability against any
 Released Party or PSA Creditor for any act taken or omitted to be taken prior to the
 Commencement Date be released by the Plan, (ii) nothing herein shall affect or release any
 obligation of the Debtors under the Plan, and (iii) nothing herein shall affect the liability of
 any person that otherwise would result from any such act or omission to the extent such act
 or omission is determined by a Final Order to have constituted willful misconduct or gross
 negligence; provided, further, that nothing in this Plan shall limit the liability of the
 professionals of the Debtors, the Creditors’ Committee or the PSA Creditors to their
 respective clients pursuant to Rule 1.8(h)(1) of the New York Rules of Professional
 Conduct.

        13.4 Discharge. Except as expressly provided in the Plan, upon the date that all
 Distributions under the Plan have been made, (a) each holder (as well as any trustees and
 agents on behalf of each holder) of a Claim against or Equity Interest in a Debtor shall be
 deemed to have forever waived, released and discharged the Debtors, to the fullest extent
 permitted by section 1141 of the Bankruptcy Code, of and from any and all Claims, Equity
 Interests, rights and liabilities that arose prior to the Effective Date and (b) all such holders
 shall be forever precluded and enjoined, pursuant to section 524 of the Bankruptcy Code,
 from prosecuting or asserting any discharged Claim against or terminated Equity Interest
 in the Debtors.

        13.5 Injunction. Except as expressly provided in the Plan, the Confirmation
 Order, or a separate order of the Bankruptcy Court or as agreed to by a Creditor and the
 Plan Administrator (on behalf of a Debtor), all entities who have held, hold or may hold
 Claims against or Equity Interests in any or all of the Debtors (whether proof of such
 Claims or Equity Interests has been filed or not) and other parties in interest, along with
 their respective present or former employees, agents, officers, directors or principals, are
 permanently enjoined, on and after the Effective Date, solely with respect to any Claims
 and Causes of Action that will be or are extinguished or released pursuant to the Plan from
 (i) commencing, conducting, or continuing in any manner, directly or indirectly, any suit,
 action, or other proceeding of any kind (including, without limitation, any proceeding in a
 judicial, arbitral, administrative or other forum) against or affecting the Released Parties
 or the property of any of the Released Parties, (ii) enforcing, levying, attaching (including,
 without limitation, any prejudgment attachment), collecting, or otherwise recovering by
 any manner or means, whether directly or indirectly, any judgment, award, decree, or
 order against the Released Parties or the property of any of the Released Parties, (iii)
 creating, perfecting, or otherwise enforcing in any manner, directly or indirectly, any
 encumbrance of any kind against the Released Parties or the property of any of the
 Released Parties, (iv) asserting any right of setoff, directly or indirectly, against any
 obligation due the Released Parties or the property of any of the Released Parties, except as
 contemplated or allowed by the Plan; (v) acting or proceeding in any manner, in any place
 whatsoever, that does not conform to or comply with the provisions of the Plan; and (vi)
 taking any actions to interfere with the implementation or consummation of the Plan.


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         13.6 United States Government. As to the United States, its agencies, departments or
 agents, nothing in the Plan or Confirmation Order shall: (a) discharge, release or otherwise
 preclude (i) any liability of the Debtors arising on or after the Confirmation Date (defined for
 purposes of this section as the date the Confirmation Order becomes final and non-appealable),
 (ii) with respect to the Debtors, any liability that is not a Claim against a Debtor, (iii) any valid
 right of setoff or recoupment, or (iv) any liability of the Debtors arising under environmental or
 criminal laws as the owner or operator of property that such Debtor owns after the Confirmation
 Date (defined for purposes of this section as the date the Confirmation Order becomes final and
 non-appealable); or (b) limit or expand the scope of the discharge to which the Debtors are
 entitled under the Bankruptcy Code. The discharge and injunction provisions contained in the
 Plan and Confirmation Order are not intended and shall not be construed to bar the United States
 from, subsequent to the Effective Date, pursuing any police or regulatory action.

         13.7 Terms of Injunctions or Stays. Unless otherwise provided in the Plan, the
 Confirmation Order, or a separate order of the Bankruptcy Court, all injunctions or stays arising
 under or entered during the Chapter 11 Cases under section 105 or 362 of the Bankruptcy Code,
 or otherwise, and in existence on the Confirmation Date, shall remain in full force and effect
 until the closing of all of the Chapter 11 Cases.

         13.8 Retention of Litigation Claims and Reservation of Rights. Except as expressly
 provided in the Plan, nothing contained in the Plan or the Confirmation Order shall be deemed to
 be a waiver or the relinquishment of any rights, defenses or Litigation Claims that the Debtors
 may have or choose to assert on behalf of their respective estates under any provision of the
 Bankruptcy Code or any applicable nonbankruptcy law that the Debtors had prior to the
 Effective Date, including, without limitation, (a) any and all Claims against any person or entity,
 to the extent such person or entity asserts a crossclaim, counterclaim, and/or Claim for setoff
 which seeks affirmative relief against the Debtors, their officers, directors, or representatives, (b)
 any and all Claims or rights arising under any tax sharing agreement among the Debtors and their
 Affiliates (including the tax sharing agreement among the Debtors and LBI based on their
 regular and consistent course of conduct over many years), (c) any and all Claims for
 reimbursement of costs incurred for the benefit of any Affiliate, including in connection with the
 disposition of an Affiliate’s assets; (d) any and all Avoidance Actions, and (e) any right of setoff
 or other legal or equitable defense and remedies. The Debtors shall have, retain, reserve, and
 may assert all such rights, defenses or Litigation Claims after the Effective Date fully as if the
 Chapter 11 Cases had not been commenced.

        13.9 Barclays Sale Order. Nothing contained in the Plan, the Disclosure Statement or
 the Confirmation Order constitutes or shall be construed as any modification or amendment to
 the Barclays Sale Order and the rights and defenses of each of the Debtors, the SIPA Trustee (on
 behalf of LBI), Barclays Bank PLC and Barclays Capital Inc., with respect to any litigation,
 adversary proceeding, contested matter, claims adjudication, appeal or other dispute against the
 other are fully preserved, including, without limitation, any rights, defenses, counterclaims
 and/or cross-claims asserted in connection with or related to the Sale Order.

         13.10 No Waiver of Rights and Defenses. Except as otherwise agreed, the provisions
 of the Plan shall not enjoin, impair, prejudice, have any preclusive effect upon, or otherwise
 affect (A) the rights of any Creditor to (x) effectuate a recoupment pursuant to common law or


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 setoff pursuant to common law or otherwise in accordance with (a) section 553 and (b) sections
 362(b)(6), 362(b)(7), 362(b)(17), 362(b)(27), 555, 556, 559, 560 or 561 of the Bankruptcy Code
 (subject to the Debtors’ rights to contest the validity of such asserted right of setoff or
 recoupment or the applicability of any of the foregoing sections of the Bankruptcy Code) or (y)
 continue to assert the validity of a setoff or recoupment previously taken by such Creditor or to
 seek authority from the Bankruptcy Court to exercise a right of setoff or recoupment (subject in
 each case to the Debtors’ right to contest the validity of any such setoff or recoupment), or (B)
 any legal or equitable defense, including any defensive right of setoff or recoupment, that has
 been, or may be asserted, by any entity in response to a Litigation Claim, Avoidance Action of a
 Debtor or objections to Claims against a Debtor.

                                              ARTICLE XIV
                                          Retention of Jurisdiction

         14.1 Retention of Jurisdiction.           The Bankruptcy Court shall retain exclusive
 jurisdiction of all matters arising under, arising out of, or related to, the Chapter 11 Cases and the
 Plan pursuant to, and for the purposes of, sections 105(a) and 1142 of the Bankruptcy Code and
 for, among other things, the following purposes:

                (a)    To hear and determine any motions for the assumption, assumption and
 assignment or rejection of executory contracts or unexpired leases and the allowance of any
 Claims resulting therefrom;

               (b)     To determine any and all adversary proceedings, applications and
 contested matters relating to the Chapter 11 Cases, in each case in accordance with applicable
 law;

                    (c)       To hear and determine any objection to or motion to estimate Claims;

              (d)     To enter and implement such orders as may be appropriate in the event the
 Confirmation Order is for any reason stayed, revoked, modified, or vacated;

                (e)    To issue such orders in aid of execution of the Plan to the extent
 authorized by section 1142 of the Bankruptcy Code;

                 (f)    To consider any modifications of the Plan, to cure any defect or omission
 or reconcile any inconsistency in any order of the Bankruptcy Court, including, without
 limitation, the Confirmation Order;

              (g)   To hear and determine all applications for compensation and
 reimbursement of expenses of professionals under sections 330, 331 and 503(b) of the
 Bankruptcy Code;

                 (h)    To hear and determine disputes arising in connection with the
 interpretation, implementation, or enforcement of the Plan and any agreements or documents
 incorporated in or contemplated by the Plan, including, without limitation, Sections 6.4, 6.5,
 13.3, 13.4 and 13.5 of the Plan;



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                (i)    To issue injunctions, enter and implement other orders, and take such
 other actions as may be necessary or appropriate to enforce or to restrain interference by any
 person with the consummation, implementation or enforcement of the Plan, the Confirmation
 Order, or any other order of the Bankruptcy Court;

                (j)   To hear and determine any actions brought against the Plan Administrator
 in connection with the Plan, including, without limitation, any action relating to Distributions
 under the Plan;

                 (k)     To hear and determine any actions brought to recover all assets of the
 Debtors and property of the estates, wherever located or to determine or declare entitlement to
 such assets and property, including through actions of interpleader or in the nature of
 interpleader involving the same; provided, however, that this provision shall not limit the
 jurisdiction of a foreign court or tribunal overseeing a Foreign Proceeding;

                 (l)     To hear and determine matters concerning state, local, and federal taxes in
 accordance with sections 346, 505 and 1146 of the Bankruptcy Code, including any requests for
 expedited determinations under section 505(b) of the Bankruptcy Code filed, or to be filed, with
 respect to tax returns of the Debtors and of any Liquidating Trusts for any and all taxable periods
 ending after the Commencement Date through the Closing Date;

                 (m)      To hear all matters relating to Article XIII of the Plan, including, without
 limitation, all matters relating to the releases, exculpation, and injunction granted thereunder.

                    (n)       To hear all matters relating to the Plan Trust;

                    (o)       To hear any other matter consistent with the provisions of the Bankruptcy
 Code; and

                    (p)       To enter a final decree closing the Chapter 11 Cases.

                                               ARTICLE XV
                                           Miscellaneous Provisions

          15.1      Post-Effective Date Role of Creditors’ Committee and Fee Committee.

                 (a)     On the Effective Date, the Creditors’ Committee shall be dissolved for all
 purposes other than (i) implementation of the Plan through the date of the initial Distribution in
 accordance with Section 8.3 of the Plan, (ii) defending any appeals from the Confirmation Order
 to final disposition of such appeals, and (iii) all matters relating to professional fees and the fee
 committee appointed in the Chapter 11 Cases for the period prior to the Effective Date.
 Following the Effective Date, the litigation and derivatives subcommittees of the Creditors’
 Committee may continue functioning for the limited purposes of (i) resolving pending litigation
 and (ii) subject to approval of the post-Effective Date board of directors of LBHI, other litigation
 and derivatives matters as to which, currently, the subcommittees are involved, and shall be
 recommended by the applicable subcommittee and the Plan Administrator. Other than with
 respect to the foregoing, the members of the Creditors’ Committee shall be released and
 discharged of and from all further authority, duties, responsibilities, and obligations related to


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 and arising from and in connection with the Chapter 11 Cases, and the retention or employment
 of the Creditors’ Committee’s attorneys, accountants, and other agents shall terminate. The
 Debtors shall pay the reasonable fees and expenses of the professionals retained by and shall
 reimburse the members of the remaining subcommittees for reasonable disbursements incurred,
 including the reasonable fees of counsel, in connection with the foregoing from and after the
 Effective Date. If a member of a subcommittee becomes unable to serve on a subcommittee or
 resigns after the Effective Date, the remaining members may replace such member, continue to
 discharge the subcommittee’s roles, or dissolve by a majority vote of the remaining members.
 Each of the subcommittees shall be deemed dissolved upon the earliest to occur of (i) voluntary
 agreement of the members of the subcommittee, (ii) the completion of the subcommittee’s
 responsibilities, and (iv) the Closing Date.

                 (b)     The fee committee appointed in the Chapter 11 Cases will continue to
 exist after the Effective Date to perform its duties under the amended fee protocol in connection
 with all applications for approval of professional fees incurred prior to the Effective Date, and all
 related proceedings, including hearings on final fee applications. The Debtors shall pay the
 reasonable fees and expenses of the independent member and counsel retained by the fee
 committee in connection with the foregoing from and after the Effective Date.

         15.2 Issuance of New Securities. In the discretion of the Plan Administrator, each
 Debtor or Debtor Controlled-Entity (a) may form and transfer certain assets of the Debtors
 and/or Debtor Controlled Entities to new (or utilize existing) entities, including, without
 limitation, one or more separately managed partnerships, REITs or other investment vehicles, to
 hold certain real estate or other assets of the Debtors and/or Debtor-Controlled Entities and, (b)
 may, in connection therewith, issue New Securities for Distribution under the Plan. In the event
 that the Plan Administrator determines to issue New Securities, each holder of Allowed Claims
 or Equity Interests against a Debtor that contributed assets to the entity issuing New Securities
 shall receive the relevant New Securities as Distributions in accordance with the Plan. The New
 Securities shall be valued as of the date of the issuance and the holders of Allowed Claims or
 Equity Interests receiving such New Securities shall be deemed satisfied to the extent of the
 value of the New Securities.

         15.3 Exemption from Securities Laws. To the maximum extent provided by section
 1145 of the Bankruptcy Code and applicable non-bankruptcy law, the issuance of any New
 Securities or Liquidating Trust Interests will be exempt from registration under the Securities
 Act of 1933, as amended, and all rules and regulations promulgated thereunder and any other
 applicable non-bankruptcy law or regulation.

         15.4 Exemption from Transfer Taxes. Pursuant to section 1146(a) of the Bankruptcy
 Code, (a) the issuance, transfer, or exchange of notes or equity securities, (b) the creation of any
 mortgage, deed of trust, lien, pledge, or other security interest, (c) the making or assignment of
 or surrender of any lease or sublease, or (d) the making of or delivery of any deed or other
 instrument of transfer under, in furtherance of, or in connection with the Plan, and any merger
 agreements, agreements of restructuring, disposition, liquidation or dissolution, any deeds, bills
 of sale, transfers of tangible property, or assignments executed in connection with any
 disposition or acquisition of assets contemplated by the Plan (including by a Liquidating Trust),



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 in each case whether as a result of sale, assignment, foreclosure or deed in lieu of foreclosure,
 shall not be subject to any stamp, real estate transfer, mortgage recording or other similar tax.

         15.5 Plan Supplement. The Debtor Allocation Agreement, the amended certificate
 and by-laws of the Debtors (if any) in accordance with Section 7.7, the Plan Trust Agreement, a
 list of any contracts or leases to be assumed or assumed and assigned by the Debtors in
 accordance with Section 11.1, any settlement agreement among any of the Debtors and a Non-
 Controlled Affiliate in accordance with Section 6.5(b)(vii) and any settlement agreement among
 any of the Debtors and a Creditor in accordance with Section 6.5(j) shall be contained in the Plan
 Supplement that is filed with the Clerk of the Bankruptcy Court at least ten (10) days prior to the
 Voting Deadline. Upon its filing with the Bankruptcy Court, the Plan Supplement may be
 obtained on the Debtors’ independent website at www.lehman-docket.com or by request to the
 Debtors in accordance with Section 15.12 of the Plan.

        15.6 Post-Effective Date Reporting. Beginning the first month-end and first quarter-
 end following the Effective Date and until the Closing Date, the Plan Administrator shall file
 with the Bankruptcy Court:

                (a)    within thirty (30) days after the end of each month, a monthly operating
 report for such month presented in a format and containing information similar to that used by
 the Debtors during the Chapter 11 Cases for the “Schedule of Cash Receipts and Disbursements”
 and “Schedule of Professional Fee and Expense Disbursements”;

                 (b)    within one-hundred-twenty (120) days after the end of each quarter, a
 quarterly report for such quarter presented in a format and containing information similar to that
 used by the Debtors during the Chapter 11 Cases for “Monthly Operating Report Balance
 Sheets” that (i) contains the following schedules in a format and containing information similar
 to that used by the Debtors during the Chapter 11 Cases: “Real Estate Owned and
 Unencumbered by Product Type” (such schedule to also include cost and unpaid principal
 balance information), “Commercial Real Estate Owned and Unencumbered by Property Type
 and Region,” “Private Equity/Principal Investments Owned and Unencumbered by Legal Entity
 and Product Type” (such schedule to also include cost and unpaid principal information),
 “Derivatives Assets and Liabilities” (such schedule to also include special purpose vehicle
 receivable information), “Loan Portfolio Summary (Funded and Unencumbered)” (schedule to
 also include unpaid principal balance information), and “Unfunded Lending and Private
 Equity/Principal Investments Commitments”; and (ii) includes a section titled “Management’s
 Discussion and Analysis” and supplemental data that will include:

                       (A)    a discussion of any known trends, events, material changes in
 market values or reserves, demands, commitments and uncertainties that have, or are reasonably
 likely to have, a material effect on the Debtors’ financial condition or on the forecasted
 undiscounted cash flow principal amounts estimated as of a designated date;

                        (B)    a description (including asset name, type and material terms) of
 any new investments in any asset or permitted expenditures to preserve existing assets (in each
 case, in a single transaction or a series of related transactions on a cumulative basis after the
 Effective Date in excess of $25 million);


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                         (C)     a description (including asset name, type and material terms) of
 any restructurings, settlements, sales (including disclosure of any gains or losses relative to the
 market value reported in the prior period balance sheet, and relative to forecasted undiscounted
 cash flow estimates as of a designated date for principal amounts), wind-downs or liquidations of
 the Debtors’ existing assets, in each case, solely with respect to any asset that has a forecasted
 undiscounted cash flow principal amount estimate of greater than $50 million for derivatives,
 loan, or private equity or principal investments assets or $75 million for real estate assets;

                       (D)    an update of the claims reconciliation and resolution process,
 including a description of any claim settlements providing for the allowance in excess of $250
 million of a Disputed Claim against the Debtors;

                         (E)     a description of the Debtors’ affirmative litigation actions against
 third-parties that are pending, including the damages sought by the Debtors; and

                       (F)    a discussion of post-Effective Date material costs and expenses
 incurred by the Debtors; and

                (c)     on an annual basis for two (2) years and thereafter on a semiannual basis
 within one-hundred twenty (120) days after the end of such period, a report reconciling cash flow
 estimates presented in a format and containing information similar to that used by the Debtors
 during the Chapter 11 Cases for “Reconciliation of Cash Flow Estimates” reports and also a
 description of collections by the Debtors and a comparison of performance relative to forecasted
 collections and estimates of future costs and expenses of administration.

 Notwithstanding the foregoing, the Plan Administrator or the board of directors or manager for a
 Debtor may in its sole discretion modify or include less information in any of the foregoing
 reports than listed above if the Plan Administrator or the board of directors or manager for a
 Debtor determines in its reasonable discretion that disclosing any such information would be
 unduly burdensome, such information is or has become immaterial or no longer meaningful as
 the activities of the Debtor(s) evolve, such disclosure could place the Debtor(s) in a competitive
 or negotiation disadvantage, or such disclosure is precluded by confidentiality limitations.

         15.7 Payment of Statutory Fees. On the Effective Date and thereafter, the Plan
 Administrator and any Liquidating Trustee thereafter appointed, shall pay all fees incurred
 pursuant to Section 1930 of title 28, United States Code, together with interest, if any, pursuant
 to Section 3717 of title 31, United States Code for each Debtor’s case, or until such time as a
 final decree is entered closing a particular Debtor’s case, a Final Order converting such Debtor’s
 case to a case under Chapter 7 of the Bankruptcy Code or a Final Order dismissing such Debtor’s
 case is entered.

         15.8 Amendment or Modification of Plan. Subject to the terms and conditions of the
 Plan Support Agreements, the Debtors reserve the right to propose alterations, amendments, or
 modifications of or to the Plan in writing at any time prior to the Confirmation Date, provided
 that the Plan, as altered, amended or modified satisfies the conditions of section 1122 and 1123
 of the Bankruptcy Code, and the Debtors shall have complied with section 1125 of the
 Bankruptcy Code. Subject to the terms and conditions of the Plan Support Agreements, the Plan



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 may be altered, amended, or modified at any time after the Confirmation Date and before
 substantial consummation, provided that the Plan, as altered, amended or modified satisfies the
 requirements of sections 1122 and 1123 of the Bankruptcy Code and the Bankruptcy Court, after
 notice and a hearing, confirms the Plan, as altered, modified or amended, under section 1129 of
 the Bankruptcy Code and the circumstances warrant such alterations, amendments of
 modifications. A holder of a Claim that has accepted the Plan shall be deemed to have accepted
 the Plan, as altered, amended or modified, to the extent, and subject to the conditions, set forth in
 Bankruptcy Rule 3019.

         15.9 Withdrawal or Revocation of the Plan. Subject to the terms and conditions of the
 Plan Support Agreements, the Debtors reserve the right to withdraw or revoke the Plan at any
 time prior to the Confirmation Date. If the Debtors revoke or withdraw the Plan prior to the
 Confirmation Date, or if the Confirmation Date does not occur, then the Plan shall be deemed
 null and void. In such event, nothing contained herein shall be deemed to constitute a waiver or
 release of any Claim by or against the Debtors or any other person or to prejudice in any manner
 the rights of the Debtors or any other person in any further proceedings involving the Debtors.

         15.10 Courts of Competent Jurisdiction. If the Bankruptcy Court abstains from
 exercising, or declines to exercise, jurisdiction or is otherwise without jurisdiction over any
 matter arising out of the Plan, such abstention, refusal or failure of jurisdiction shall have no
 effect upon and shall not control, prohibit, or limit the exercise of jurisdiction by any other court
 having competent jurisdiction with respect to such matter.

         15.11 Transactions on Business Days. If the Effective Date or any other date on which
 a transaction may occur under the Plan shall occur on a day that is not a Business Day, any
 transactions or other actions contemplated by the Plan to occur on such day shall instead occur
 on the next succeeding Business Day.

          15.12 Notices. Any notices to or requests of the Debtors by parties in interest under or
 in connection with the Plan shall be in writing and served either by (a) certified mail, return
 receipt requested, postage prepaid, (b) hand delivery, or (c) reputable overnight delivery service,
 all charges prepaid, and shall be deemed to have been given when received by the following
 parties:

                    If to any Debtor:

                    c/o Lehman Brothers Holdings Inc.
                    1271 Avenue of the Americas
                    New York, New York 10020
                    Attention: Bryan Marsal and John K. Suckow

                    with a copy to:

                    Weil, Gotshal & Manges LLP
                    767 Fifth Avenue
                    New York, New York 10153
                    Attention: Harvey R. Miller and Lori R. Fife


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                    Re:     Lehman Brothers

         15.13 Severability. In the event that the Bankruptcy Court determines, prior to the
 Confirmation Date, that any provision of the Plan is invalid, void, or unenforceable, the
 Bankruptcy Court shall, with the consent of the Debtors, have the power to alter and interpret
 such term or provision to make it valid or enforceable to the maximum extent practicable,
 consistent with the original purpose of the term or provision held to be invalid, void, or
 unenforceable, and such term or provision shall then be applicable as altered or interpreted.
 Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and
 provisions of the Plan shall remain in full force and effect and shall in no way be affected,
 impaired, or invalidated by such holding, alteration, or interpretation. The Confirmation Order
 shall constitute a judicial determination and shall provide that each term and provision of the
 Plan, as it may have been altered or interpreted in accordance with the foregoing, is valid and
 enforceable pursuant to its terms.

         15.14 Governing Law. Except to the extent the Bankruptcy Code or Bankruptcy Rules
 are applicable, the rights and obligations arising under the Plan shall be governed by, and
 construed and enforced in accordance with, the laws of the State of New York without giving
 effect to the principles of conflicts of law thereof.

         15.15 Headings. Headings are used in the Plan for convenience and reference only, and
 shall not constitute a part of the Plan for any other purpose.

         15.16 Exhibits. All exhibits and schedules to the Plan as well as the Plan Supplement
 and any exhibits or schedules thereto are incorporated into and are a part of the Plan as if set
 forth in full herein.

        15.17 Successors and Assigns. All the rights, benefits, and obligations of any person
 named or referred to in the Plan shall be binding on, and shall inure to the benefit of, the heirs,
 executors, administrators, successors, and/or assigns of such person.

 Dated:        New York, New York
               November 29, 2011

                                          LEHMAN BROTHERS HOLDINGS INC.


                                          By:         /s/ John Suckow
                                                Name: John Suckow
                                                Title: President and Chief Operating Officer


                                          LB 745 LLC


                                          By:         /s/ John Suckow
                                                Name: John Suckow
                                                Title: President and Chief Operating Officer


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                                          PAMI STATLER ARMS LLC


                                          By:         /s/ John Suckow
                                                Name: John Suckow
                                                Title: Authorized Signatory


                                          LEHMAN BROTHERS COMMODITY SERVICES INC.


                                          By:         /s/ John Suckow
                                                Name: John Suckow
                                                Title: President and Chief Operating Officer


                                          LEHMAN BROTHERS SPECIAL FINANCING INC.


                                          By:         /s/ John Suckow
                                                Name: John Suckow
                                                Title: President and Chief Operating Officer

                                          LEHMAN BROTHERS OTC DERIVATIVES INC.


                                          By:         /s/ John Suckow
                                                Name: John Suckow
                                                Title: President and Chief Operating Officer


                                          LEHMAN BROTHERS DERIVATIVE PRODUCTS INC.


                                          By:         /s/ Daniel Ehrmann
                                                Name: Daniel Ehrmann
                                                Title: Vice-President


                                          LEHMAN COMMERCIAL PAPER INC.


                                          By:         /s/ John Suckow
                                                Name: John Suckow
                                                Title: President and Chief Operating Officer




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                                          LEHMAN BROTHERS COMMERCIAL CORP.


                                          By:         /s/ John Suckow
                                                Name: John Suckow
                                                Title: President and Chief Operating Officer


                                          LEHMAN BROTHERS FINANCIAL PRODUCTS INC.


                                          By:         /s/ Daniel Ehrmann
                                                Name: Daniel Ehrmann
                                                Title: Vice-President


                                          CES AVIATION LLC


                                          By:         /s/ John Suckow
                                                Name: John Suckow
                                                Title: President and Chief Operating Officer

                                          CES AVIATION V LLC


                                          By:         /s/ John Suckow
                                                Name: John Suckow
                                                Title: President and Chief Operating Officer


                                          CES AVIATION IX LLC


                                          By:         /s/ John Suckow
                                                Name: John Suckow
                                                Title: President and Chief Operating Officer


                                          EAST DOVER LIMITED


                                          By:         /s/ Daniel Ehrmann
                                                Name: Daniel Ehrmann
                                                Title: Duly Authorized Officer




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                                          LEHMAN SCOTTISH FINANCE L.P., by its general
                                            partner Property Asset Management Inc.


                                          By:         /s/ John Suckow
                                                Name: John Suckow
                                                Title: President and Chief Operating Officer


                                          LUXEMBOURG RESIDENTIAL PROPERTIES LOAN
                                          FINANCE S.A.R.L.


                                          By:         /s/ Daniel Ehrmann
                                                Name: Daniel Ehrmann
                                                Title: Manager

                                          BNC MORTGAGE LLC


                                          By:         /s/ John Suckow
                                                Name: John Suckow
                                                Title: Authorized Signatory

                                          LB ROSE RANCH LLC


                                          By:         /s/ John Suckow
                                                Name: John Suckow
                                                Title: Authorized Signatory


                                          STRUCTURED ASSET SECURITIES CORPORATION


                                          By:         /s/ John Suckow
                                                Name: John Suckow
                                                Title: President and Chief Operating Officer


                                          LB 2080 KALAKAUA OWNERS LLC, by its managing
                                          member PAMI LLC


                                          By:         /s/ John Suckow
                                                Name: John Suckow
                                                Title: President and Chief Operating Officer


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                                          MERIT, LLC, by its Manager
                                          LEHMAN COMMERCIAL PAPER INC.


                                          By:         /s/ John Suckow
                                                Name: John Suckow
                                                Title: President and Chief Operating Officer


                                          LB SOMERSET LLC, by its managing member
                                          PAMI LLC


                                          By:         /s/ John Suckow
                                                Name: John Suckow
                                                Title: President and Chief Operating Officer

                                          LB PREFERRED SOMERSET LLC, by its managing
                                          member PAMI LLC


                                          By:         /s/ John Suckow
                                                Name: John Suckow
                                                Title: President and Chief Operating Officer



 Counsel:

 WEIL, GOTSHAL & MANGES LLP
 767 Fifth Avenue
 New York, New York 10153
 Telephone: (212) 310-8000
 Facsimile: (212) 310-8007

 Attorneys for Debtors and
 Debtors in Possession




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                                                 Schedule 1

                                      (Plan Adjustment Percentages)

                                                    LBHI
                                                                                              Plan
                                                                                              Adjustment
Class      Claims                                                                             Percentage
5          Senior Third-Party Guarantee Claims                                                20%

9A         Third-Party Guarantee Claims other than those of the Racers Trusts                 20%


                                                    LCPI
                                                                                              Plan
                                                                                              Adjustment
Class      Claims                                                                             Percentage
4A         General Unsecured Claims other than those of Designated Entities against LCPI      14%

4B         General Unsecured Claims of Designated Entities against LCPI                       20%

5B         Affiliate Claims of Participating Subsidiary Debtors against LCPI                  20%

5C         Affiliate Claims other than those of Participating Debtors against LCPI            14%


                                                   LBCS
                                                                                              Plan
                                                                                              Adjustment
Class      Claims                                                                             Percentage
4          General Unsecured Claims against LBCS                                              14%

5B         Affiliate Claims of Participating Subsidiary Debtors against LBCS                  20%

5C         Affiliate Claims other than those of Participating Debtors against LBCS            14%




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                                                    LBSF
                                                                                              Plan
                                                                                              Adjustment
 Class      Claims                                                                            Percentage
 4A          General Unsecured Claims other than those of the Racers Trusts against LBSF      6%

 5B         Affiliate Claims of Participating Subsidiary Debtors against LBSF                 20%

 5C         Affiliate Claims other than those of Participating Debtors                        6%


                                                   LOTC
                                                                                              Plan
                                                                                              Adjustment
 Class      Claims                                                                            Percentage
 4          General Unsecured Claims against LOTC                                             8%

 5B         Affiliate Claims of Participating Subsidiary Debtors against LOTC                 20%

 5C         Affiliate Claims other than those of Participating Debtors against LOTC           8%


                                                   LBCC
                                                                                              Plan
                                                                                              Adjustment
 Class      Claims                                                                            Percentage
 4          General Unsecured Claims against LBCC                                             10%

 5B         Affiliate Claims of Participating Subsidiary Debtors against LBCC                 20%

 5C         Affiliate Claims other than those of Participating Debtors against LBCC           10%




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                                               Schedule 2

                                       (Debtors’ Claims Schedule)




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                                                                                     Debtors' Claims Schedule
                                                                                        Net Allowed Claims
                                                                                            (Unaudited)




$ in Millions                                                                                                       Receivable Entity (Claimant)
                                                                              Lehman          Lehman                         Lehman                        Structured                        Luxembourg       Lehman
                                               Lehman          Lehman         Brothers       Brothers        Lehman          Brothers                         Asset          Lehman           Residential     Brothers
                                              Brothers       Commercial        Special      Commercial     Brothers OTC    Commodity         East Dover    Securities        Scottish         Properties      Financial
Payable Entity (Claim Obligor)               Holdings Inc.    Paper Inc.   Financing Inc.   Corporation   Derivatives Inc. Services Inc.      Limited     Corporation       Finance LP       Loan Finance   Products Inc.
  Lehman Brothers Holdings Inc.
     Class 4A                                $          -    $         -   $           -    $         -   $            -   $          -   $           -   $         -   $                -   $          -   $           -
     Class 4B                                $          -    $         -   $           -    $        22   $            -   $          -   $           -   $         -   $                -   $          -   $           -
     Class 8                                 $          -    $         -   $           -    $         -   $            -   $          -   $           -   $         -   $                -   $          -   $           -
  Lehman Brothers Special Financing Inc.     $     18,320    $       114   $           0    $         -   $            -   $        407   $           1   $         -   $                -   $          -   $           -
  Lehman Brothers Commodity Services Inc.    $      1,515    $         -   $           -    $         -   $            -   $          -   $           -   $         -   $                -   $          -   $           -
  Lehman Brothers Commercial Corporation     $        133    $       434   $         134    $         -   $            -   $          3   $           -   $         -   $                -   $          -   $           -
  Lehman Commercial Paper Inc.               $     17,857    $         -   $           -    $         -   $            -   $          5   $         100   $       613   $                -   $          0   $           -
  Lehman Brothers OTC Derivatives Inc.       $        194    $         -   $           8    $         -   $            -   $          -   $           -   $         -   $                -   $          -   $           -
  Lehman Brothers Financial Products Inc.    $          1    $         -   $         202    $         -   $            -   $          -   $           -   $         -   $                -   $          -   $           -
  Lehman Brothers Derivative Products Inc.   $          -    $         -   $         113    $         -   $            -   $          -   $           -   $         -   $                -   $          -   $           0
  LUXCO                                      $          -    $         -   $           -    $         -   $            -   $          -   $           -   $         -   $                -   $          -   $           -
  LB 745 LLC                                 $         46    $         -   $           -    $         -   $            -   $          -   $           -   $         -   $                -   $          -   $           -
  CES Aviation LLC                           $         22    $         -   $           -    $         -   $            -   $          -   $           -   $         -   $                -   $          -   $           -
  CES Aviation V LLC                         $          8    $         -   $           -    $         -   $            -   $          -   $           -   $         -   $                -   $          -   $           -
  CES Aviation IX LLC                        $          9    $         -   $           -    $         -   $            -   $          -   $           -   $         -   $                -   $          -   $           -
  Structured Asset Securities Corporation    $        588    $         -   $           0    $         -   $            -   $          -   $           -   $         -   $                -   $          -   $           -
  East Dover Limited                         $          3    $         -   $           -    $         -   $            -   $          -   $           -   $         -   $                -   $          -   $           -
  Lehman Scottish Finance LP                 $          -    $         -   $           -    $         -   $            -   $          -   $           -   $         -   $                -   $          -   $           -
  LB Rose Ranch LLC                          $          -    $         -   $           -    $         -   $            -   $          -   $           -   $         -   $                -   $          -   $           -
  LB 2080 Kalakaua Owners LLC                $          -    $         -   $           -    $         -   $            -   $          -   $           -   $         -   $                -   $          -   $           -
  BNC Mortgage LLC                           $          -    $         -   $           -    $         -   $            -   $          -   $           -   $         -   $                -   $          -   $           -
  LB Somerset LLC                            $          -    $         -   $           -    $         -   $            -   $          -   $           -   $         -   $                -   $          -   $           -
  LB Preferred Somerset LLC                  $          -    $         -   $           -    $         -   $            -   $          -   $           -   $         -   $                -   $          -   $           -
  PAMI Statler Arms LLC                      $          0    $         -   $           -    $         -   $            -   $          -   $           -   $         -   $                -   $          -   $           -
  Merit LLC                                  $          -    $       238   $           -    $         -   $            -   $          -   $           -   $         -   $                -   $          -   $           -




                                                                                                                1
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                                                                                            Debtors' Claims Schedule
                                                                                               Net Allowed Claims
                                                                                                   (Unaudited)




$ in Millions                                                                                                                      Receivable Entity (Claimant)
                                               Lehman
                                               Brothers                                                                                                            LB 2080
                                              Derivative                       CES Aviation                         BNC Mortgage CES Aviation V CES Aviation IX    Kalakaua        LB Somerset   LB Preferred   PAMI Statler   LB Rose Ranch
Payable Entity (Claim Obligor)               Products Inc.       Merit LLC         LLC                LB 745 LLC        LLC           LLC            LLC          Owners LLC           LLC       Somerset LLC    Arms LLC           LLC
  Lehman Brothers Holdings Inc.
     Class 4A                                $           2   $            -    $              -   $             -   $          -   $           -   $          -   $            -   $         -   $          -   $          -   $           -
     Class 4B                                $           -   $           21    $              -   $             -   $          2   $           -   $          -   $            -   $         -   $          -   $          -   $           -
     Class 8                                 $           -   $            -    $              -   $             -   $          -   $           -   $          -   $            -   $         -   $          -   $          -   $           -
  Lehman Brothers Special Financing Inc.     $           -   $           21    $              -   $             8   $          -   $           -   $          -   $            -   $         -   $          -   $          -   $           -
  Lehman Brothers Commodity Services Inc.    $           -   $            -    $              -   $             -   $          -   $           -   $          -   $            -   $         -   $          -   $          -   $           -
  Lehman Brothers Commercial Corporation     $           -   $            -    $              -   $             0   $          -   $           -   $          -   $            -   $         -   $          -   $          -   $           -
  Lehman Commercial Paper Inc.               $           -   $            -    $              -   $            25   $          -   $           -   $          -   $            -   $         -   $          -   $          -   $           -
  Lehman Brothers OTC Derivatives Inc.       $           -   $            -    $              -   $             -   $          -   $           -   $          -   $            -   $         -   $          -   $          -   $           -
  Lehman Brothers Financial Products Inc.    $           -   $            -    $              -   $             -   $          -   $           -   $          -   $            -   $         -   $          -   $          -   $           -
  Lehman Brothers Derivative Products Inc.   $           -   $            -    $              -   $             -   $          -   $           -   $          -   $            -   $         -   $          -   $          -   $           -
  LUXCO                                      $           -   $            -    $              -   $             -   $          -   $           -   $          -   $            -   $         -   $          -   $          -   $           -
  LB 745 LLC                                 $           -   $            -    $              -   $             -   $          -   $           -   $          -   $            -   $         -   $          -   $          -   $           -
  CES Aviation LLC                           $           -   $            -    $              -   $             -   $          -   $           -   $          0   $            -   $         -   $          -   $          -   $           -
  CES Aviation V LLC                         $           -   $            -    $              -   $             -   $          -   $           -   $          -   $            -   $         -   $          -   $          -   $           -
  CES Aviation IX LLC                        $           -   $            -    $              -   $             -   $          -   $           -   $          -   $            -   $         -   $          -   $          -   $           -
  Structured Asset Securities Corporation    $           -   $            -    $              -   $             -   $          -   $           -   $          -   $            -   $         -   $          -   $          -   $           -
  East Dover Limited                         $           -   $            -    $              -   $             -   $          -   $           -   $          -   $            -   $         -   $          -   $          -   $           -
  Lehman Scottish Finance LP                 $           -   $            -    $              -   $             -   $          -   $           -   $          -   $            -   $         -   $          -   $          -   $           -
  LB Rose Ranch LLC                          $           -   $            -    $              -   $             -   $          -   $           -   $          -   $            -   $         -   $          -   $          -   $           -
  LB 2080 Kalakaua Owners LLC                $           -   $            -    $              -   $             -   $          -   $           -   $          -   $            -   $         -   $          -   $          -   $           -
  BNC Mortgage LLC                           $           -   $            -    $              -   $             -   $          -   $           -   $          -   $            -   $         -   $          -   $          -   $           -
  LB Somerset LLC                            $           -   $            -    $              -   $             -   $          -   $           -   $          -   $            -   $         -   $          -   $          -   $           -
  LB Preferred Somerset LLC                  $           -   $            -    $              -   $             -   $          -   $           -   $          -   $            -   $         -   $          -   $          -   $           -
  PAMI Statler Arms LLC                      $           -   $            -    $              -   $             -   $          -   $           -   $          -   $            -   $         -   $          -   $          -   $           -
  Merit LLC                                  $           -   $            -    $              -   $             -   $          -   $           -   $          -   $            -   $         -   $          -   $          -   $           -




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                                                                      Intercompany Funding Balances
                                                                               (Unaudited)




$ in Millions                                                       LBHI Intercompany Receivables -
Debtors                                                              Intercompany Funding Balances
  Lehman Commercial Paper Inc.                                $                                       20,624
  Lehman Brothers Special Financing Inc.                                                              14,895
  Lehman Brothers Commercial Corporation                                                                 775
  Lehman Brothers OTC Derivatives Inc.                                                                   194
  Lehman Brothers Commodity Services Inc.                                                              2,512
  East Dover Limited                                                                                       4
  Structured Asset Securities Corporation                                                                588
  Lehman Scottish Finance LP                                                                               -
  Luxembourg Residential Properties Loan Finance S.a.r.l.                                                  -
  Lehman Brothers Financial Products Inc.                                                                  1
  Lehman Brothers Derivative Products Inc.                                                                 -
  Merit LLC                                                                                                6
  CES Aviation LLC                                                                                        22
  LB 745 LLC                                                                                              48
  BNC Mortgage LLC                                                                                         1
  CES Aviation V LLC                                                                                       8
  CES Aviation IX LLC                                                                                      9
  LB 2080 Kalakaua Owners LLC                                                                              -
  LB Somerset LLC                                                                                          -
  LB Preferred Somerset LLC                                                                                -
  PAMI Statler Arms LLC                                                                                    -
  LB Rose Ranch LLC                                                                                        -
Total Intercompany Funding Balance                            $                                       39,686




                                                                                         3
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                                                                 LEHMAN BROTHERS
                                                                          Pg 120 ofHOLDINGS
                                                                                    262     INC.
                                                                 Intercompany Receivables from Debtors
                                                                     Adjusted Claims for Distribution
                                                                               (Unaudited)



$ in Millions
Debtors
   Lehman Brothers Special Financing Inc.     $   15,341
   Lehman Brothers Commodity Services Inc.         1,013
   Lehman Brothers Commercial Corporation              -
   Lehman Commercial Paper Inc.                   13,733
   Lehman Brothers OTC Derivatives Inc.              155
   Lehman Brothers Financial Products Inc.             1
   Lehman Brothers Derivative Products Inc.            -
   LUXCO                                               -
   LB 745 LLC                                         36
   CES Aviation LLC                                   17
   CES Aviation V LLC                                  6
   CES Aviation IX LLC                                 7
   Structured Asset Securities Corporation           471
   East Dover Limited                                  3
   Lehman Scottish Finance LP                          -
   LB Rose Ranch LLC                                   -
   LB 2080 Kalakaua Owners LLC                         -
   BNC Mortgage LLC                                    -
   LB Somerset LLC                                     -
   LB Preferred Somerset LLC                           -
   PAMI Statler Arms LLC                               0
   Merit LLC                                           -




                                                                                  4
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                                               Schedule 3

                                     (Bankhaus Settlement Agreement)




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                                                 Schedule 4
                                               (PSA Creditors)

             1.    Angelo, Gordon & Co., L.P.
             2.    Bank of America, N.A.
             3.    Bank of America, N.A., as successor in interest to Merrill Lynch Bank USA
             4.    Barclays Bank PLC
             5.    Barclays Bank S.A.
             6.    BNP Paribas
             7.    Bundesverband deutscher Banken e.V.
             8.    Canyon Capital Advisors LLC
             9.    CarVal Investors UK Limited
             10.   Contrarian Capital Management LLC
             11.   County of San Mateo
             12.   Credit Suisse AG
             13.   Credit Suisse Loan Funding LLC
             14.   Credit Suisse Securities (Europe) Limited
             15.   Cyrus Capital Partners, L.P.
             16.   Davidson Kempner Capital Management LLC
             17.   DB Energy Trading LLC
             18.   D. E. Shaw Claims SPV, L.L.C.
             19.   D. E. Shaw Composite Portfolios, L.L.C.
             20.   D. E. Shaw Laminar Portfolios, L.L.C.
             21.   D. E. Shaw Oculus Portfolios, L.L.C.
             22.   D. E. Shaw Valence Portfolios, L.L.C.
             23.   Deutsche Bank AG
             24.   Deutsche Bundesbank
             25.   Elliott Associates, L.P.
             26.   Elliott International, L.P.
             27.   Elliott Management Corporation
             28.   Entschädigungseinrichtung deutscher Banken GmbH
             29.   Fir Tree, Inc.
             30.   GLG Ore Hill LLC
             31.   Goldentree Asset Management, LP
             32.   Goldman Sachs Bank USA
             33.   Goldman Sachs International
             34.   Gruss Asset Management, L.P., investment advisor to Gruss Global Investors Master
                   Fund, Ltd. and Gruss Global Investors Master Fund (Enhanced), Ltd.
             35.   Hayman Capital Master Fund, L.P.
             36.   Hong Kong Lehman Entities In Liquidation
             37.   King Street Capital Management GP, L.L.C.
             38.   Knighthead Capital Management, L.L.C.
             39.   Lehman Brothers Bankhaus AG (in Insolvenz)
             40.   Lehman Brothers (Luxembourg) Equity Finance S.A. (en faillite)
             41.   Lehman Brothers (Luxembourg) S.A. (in liquidation)
             42.   Lehman Brothers Securities N.V.
             43.   Lehman Brothers Treasury Co. B.V.
             44.   Lehman Japan Entities1
 1
  Hercules K.K., Lehman Brothers Commercial Mortgage K.K., Lehman Brothers Finance (Japan) Inc., Lehman
 Brothers Holdings Japan Inc., Lehman Brothers Japan Inc., Lehman Brothers Real Estate Limited, Sunrise Finance
 Co. Ltd.


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             45.   Lehman Singapore Entities
             46.   Lehman UK Entities2
             47.   Merrill Lynch Bank & Trust Co. FSB
             48.   Merrill Lynch Capital Services Inc.
             49.   Merrill Lynch Commodities (Europe) Ltd
             50.   Merrill Lynch Commodities Inc.
             51.   Merrill Lynch International
             52.   Merrill Lynch International Bank Ltd.
             53.   Morgan Stanley & Co. International PLC
             54.   Morgan Stanley Capital Group Inc.
             55.   Morgan Stanley Capital Services LLC
             56.   Mount Kellett Master Fund II, L.P.
             57.   Oak Tree Capital Management, L.P.
             58.   Och-Ziff Capital Management Group LLC
             59.   Paulson & Co. Inc.
             60.   Silver Point Capital, L.P.
             61.   Societe Generale
             62.   Societe Generale Asset Management Banque
             63.   Societe Generale Bank and Trust
             64.   State of California Public Employees' Retirement System
             65.   State Street Bank and Trust Company
             66.   Taconic Capital Advisors L.P.
             67.   The Baupost Group, L.L.C.
             68.   The Liverpool Limited Partnership
             69.   The Royal Bank of Scotland plc
             70.   UBS AG
             71.   Vallejo Sanitation and Flood Control District
             72.   Varde Partners, L.P.
             73.   York Capital Management Global Advisors, LLC




 2
    Lehman Brothers International (Europe); Lehman Brothers Limited; Lehman Brothers Holdings PLC; LB
 UK Re Holdings Limited; Storm Funding Limited; Mable Commercial Funding Limited; Lehman Brothers
 Europe Limited; Lehman Brothers UK Holdings Limited; LB UK Financing Ltd; LB SF No. 1; Cherry Tree
 Mortgages Limited; Lehman Brothers Lease & Finance No. 1 Limited; Zestdew Limited; Monaco NPL (No. 1)
 Limited; Lehman Commercial Mortgage Conduit Limited; LB RE Financing No. 3 Limited; Lehman Brothers
 (PTG) Limited; Eldon Street Holdings Limited; LB Holdings Intermediate 2 Limited; and Thayer Properties
 Limited (each in administration). Eldon Street (Cube) Limited; Eldon Street (Raven) Limited; Lehman
 Brothers Equity (Nominees Number 7) Limited; Platform Home Mortgage Securities No. 4 Limited; Platform
 Commercial Mortgage Limited; Lehman Brothers (Indonesia) Limited; Grace Hotels Limited; LBO
 Investments Limited; LBQ Funding (UK); LB Lomond Investments (each in liquidation). Acenden Limited
 (f/k/a Capstone Mortgage Services Limited); Blue I Real Estate Limited; Eldon Street (Birchin) Limited;
 Eldon Street (Colbert Orco) Limited; Eldon Street (Fidenza) Limited; Eldon Street (Harley) Limited; Eldon
 Street (Jefferson) Limited; Harley Property Ventures Limited; LB Holdings Intermediate 1 Limited; LB SF
 Warehouse Limited; LB Yellow (No. 1) Limited; MBAM Investor Limited; Myra Sarl; Parkmetro Limited;
 Preferred Group Limited; Preferred Holdings Limited; Preferred Mortgages Limited; Resetfan Limited; SM
 Funding No. 1 Limited; Southern Pacific Funding 3 Ltd.; Southern Pacific Mortgage Ltd.; Southern Pacific
 Personal Loans Limited; Southern Pacific Residuals 4 Limited; Stepstone Mortgage Funding Limited; Thayer
 Group Limited (in liquidation); Thayer Properties (Jersey) Limited (in liquidation); Yellow Real Estate
 Limited.


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                                                Schedule 5

                                     (Hong Kong Settlement Agreement)




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                                               Schedule 6

                                       (LBT Settlement Agreement)




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                                                Schedule 7

                                     (Singapore Settlement Agreement)




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                                       SETTLEMENT AGREEMENT

                 This Settlement Agreement (the “Agreement”) is made and entered into as of August 24,
 2011 (the “Execution Date”), by and among Debtors1 and certain of their Non-Debtor Affiliates 2
 (together, “Lehman US”), and the Lehman Singapore Liquidation Companies3 and Lehman Singapore
 Non-Liquidation Companies4 (together, “Lehman Singapore”)5. Lehman US and Lehman Singapore shall
 each be referred to individually as a “Party” and collectively as the “Parties.”

                                                   RECITALS

                 WHEREAS, on September 15, 2008 and on various dates thereafter, each of the Debtors
 commenced a voluntary Chapter 11 Case under chapter 11 of the Bankruptcy Code in the Bankruptcy
 Court; the Chapter 11 Cases are being jointly administered under Case Number 08-13555 (JMP);

                 WHEREAS, commencing from September 23, 2008, the directors of the various Lehman
 Singapore Liquidation Companies commenced Creditors’ Voluntary Liquidation proceedings (the
 “Lehman Singapore Liquidations”) and placed such Lehman Singapore Liquidation Companies into a
 provisional liquidation. Chay Fook Yuen, Bob Yap Cheng Ghee and Tay Puay Cheng, (the “Lehman
 Singapore Liquidators”) were appointed as the joint and several provisional liquidators of the Lehman
 Singapore Liquidation Companies. Commencing from October 17, 2008, the appointment of the Lehman
 Singapore Liquidators was confirmed by meetings of each Lehman Singapore Liquidation Company’s
 members and creditors;

                 WHEREAS, Lehman Singapore has (i) filed the proofs of claim listed on Schedule A
 attached hereto against certain Debtors (collectively, the “Proofs of Claim”) and (ii) asserted amounts due
 and owing to them from certain Non-Debtor Affiliates (collectively, the “Non-Debtor Receivables”);

 1
          As used herein, the “Debtors” means Lehman Brothers Holdings Inc. (“LBHI”); Lehman Brothers Special
 Financing Inc. (“LBSF”); Lehman Commercial Paper Inc.; Lehman Brothers Commercial Corporation (“LBCC”);
 Lehman Brothers Financial Products Inc.; Lehman Brothers OTC Derivatives Inc.; Lehman Brothers Derivative
 Products Inc.; Lehman Brothers Commodity Services Inc. (“LBCS”); Lehman Scottish Finance L.P.; CES Aviation
 LLC; CES Aviation V LLC; CES Aviation IX LLC; East Dover Limited; Luxembourg Residential Properties Loan
 Finance S.A.R.L; BNC Mortgage LLC; Structured Asset Securities Corporation; LB Rose Ranch LLC; LB 2080
 Kalakaua Owners LLC; Merit LLC; LB Somerset LLC; LB Preferred Somerset LLC; LB 745 LLC; and PAMI
 Statler Arms LLC.
 2
          As used herein, the “Non-Debtor Affiliates” means Lehman Brothers Global Services Limited; Revival
 Holdings Limited; Principal Transactions Inc.; Falcon Holdings II Inc.; Lehman Brothers P.A. LLC; Lehman
 Brothers (Thailand) Limited; Lehman Brothers Capital (Thailand) Limited; and Lehman Brothers Opportunity
 Holdings Inc..
 3
           As used herein, the “Lehman Singapore Liquidation Companies” means Lehman Brothers Asia Pacific
 (Singapore) Pte. Ltd. (In Creditors’ Voluntary Liquidation); Lehman Brothers Pacific Holdings Pte. Ltd. (In
 Creditors’ Voluntary Liquidation); Lehman Brothers Investments Pte Ltd (In Creditors’ Voluntary Liquidation);
 Lehman Brothers Commodities Pte. Ltd. (In Creditors’ Voluntary Liquidation); and Lehman Brothers Finance Asia
 Pte. Ltd. (In Creditors’ Voluntary Liquidation).
 4
         As used herein, the “Lehman Singapore Non-Liquidation Companies” means Lehman Brothers Pte Ltd;
 Lehman Brothers Securities Taiwan Limited; Lehman Brothers Singapore Pte. Ltd.; and Lehman Brothers Bangkok
 Riverside Development Pte. Ltd..
 5
          As used herein, “Lehman Singapore” shall not include the Lehman India Companies (as defined herein),
 Sail Investor (as defined herein), or Lehman Brothers Investment Consulting (Shanghai) Co., Ltd. (each, a “Non-
 Settling Entity”).


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                WHEREAS, Lehman US has (i) submitted the proofs of debt listed on Schedule B
 attached hereto in the Singapore Liquidations against certain of the Lehman Singapore Liquidation
 Companies (the “Liquidation Claims”) and (ii) asserted amounts due and owing to them from certain of
 the Singapore Non-Liquidation Companies (the “Non-Liquidation Receivables”);

                 WHEREAS, the Parties are desirous of resolving all disputes and all other outstanding
 issues between the Parties and avoiding extensive and expensive litigation;

                     WHEREAS, on July 1, 2011, the Debtors filed the Plan and Disclosure Statement; and

                WHEREAS, each of the Debtors, either individually or jointly, will file an amendment,
 modification and/or supplement to the Plan that will incorporate the terms and conditions of this
 Agreement (the “Amended Plan”);

                 NOW, THEREFORE, in consideration of the recitals stated above, the agreements,
 promises and warranties set forth below and other good and valuable consideration, the receipt and
 sufficiency of which is hereby acknowledged, the Parties agree as follows:

           1.        Definitions

                 Except as otherwise specified herein or as the context may otherwise require, the
 following terms have the respective meanings set forth below for all purposes of this Agreement.

 “Affiliate” shall have the meaning set forth in section 101(2) of the Bankruptcy Code.

 “Agreed Non-Debtor Receivables” shall have the meaning ascribed to it in Section 2.1(b).

 “Agreed Non-Liquidation Receivables” shall have the meaning ascribed to it in Section 2.2(b).

 “Allowed Non-Subordinated US Claims” has the meaning ascribed to it in Section 2.2(a).

 “Allowed US Claims” has the meaning ascribed to it in Section 2.2(a).

 “Allowed Singapore Claims” has the meaning ascribed to it in Section 2.1(a).

 “Allowed Subordinated US Claims” has the meaning ascribed to it in Section 2.2(a).

 “Alternative Plan” means a chapter 11 plan or plans, proposed by parties other than the Debtors.

 “Amended Disclosure Statement” means the Disclosure Statement as amended, modified and/or
 supplemented to incorporated the terms of the Amended Plan.

 “Amended Plan” has the meaning ascribed to it in the Recitals.

 “Bankruptcy Code” means title 11 of the United States Code.

 “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District of New York.

 “Chapter 11 Cases” means the bankruptcy cases being jointly administered under Case Number 08-13555
 (JMP) in the Bankruptcy Court.

 “Confirmation Date” means the date of the entry of the Confirmation Order by the Bankruptcy Court.




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 “Confirmation Order” means an order of the Bankruptcy Court (i) confirming the Amended Plan pursuant
 to section 1129 of the Bankruptcy Code; (ii) approving, pursuant to Rule 9019 of the Federal Rules of
 Bankruptcy Procedure and applicable provisions of the Bankruptcy Code, the terms of this Agreement;
 and (iii) authorizing the Debtors to take all necessary corporate actions to consummate the transactions
 contemplated by this Agreement.

 “Disclosure Statement” means the Debtors’ Disclosure Statement for the Second Amended Joint Chapter
 11 Plan of Lehman Brothers Holdings Inc. and its Affiliated Debtors Pursuant to section 1125 of the
 Bankruptcy Code [ECF No. 18205], dated June 30, 2011.

 “Effective Date” means the date that the Amended Plan becomes effective as provided for therein.

 “Final Order” has the meaning set forth in the Amended Plan.

 “Foreign Currency Exchange Adjustment” means an adjustment to the source currencies of the Agreed
 Non-Debtor Receivables or the Agreed Non-Liquidation Receivables pursuant to Sections 2.1(b) and
 2.2(b) with such adjustment being made based on the Lehman general ledger system or daily average
 rates extracted from OANDA as of the earlier of (i) the date upon which an insolvency, bankruptcy,
 administration, liquidation, rehabilitation, receivership or like proceeding is commenced or initiated
 against the applicable obligor, (ii) any earlier date that is agreed upon by the applicable obligor and
 obligee, or (iii) the Non-Debtor Receivable Payment Date or the Non-Liquidation Receivable Payment
 Date, as applicable.

 “Lehman India Companies” means Lehman Brothers Advisers Private Limited and Lehman Brothers
 Securities Private Limited.

 “Lehman India Companies’ Claims” means (i) Claim No. 66798 filed by Lehman Brothers Advisers
 Private Limited against Merit LLC in the amount of $126.72; (ii) Claim No.17767 filed by Lehman
 Brothers Advisers Private Limited against LBSF in the amount of $607,647.00; (iii) Claim No. 17768
 filed by Lehman Brothers Securities Private Limited against LBCC in the amount of $775,137.00;
 (iv) Claim No. 17769 filed by Lehman Brothers Securities Private Limited against LBSF in the amount of
 $223,143.00; (v) Claim No. 17770 filed by Lehman Brothers Advisers Private Limited against LBHI in
 the amount of $198.11; (vi) Claim No. 17854 filed by Lehman Brothers Advisers Private Limited against
 LBHI in the amount of $1,746,377.97; (vii) Claim No. 17855 filed by Lehman Brothers Securities Private
 Limited against LBHI in the amount of $75,617.57; and (viii) Claim No. 17857 filed by Lehman Brothers
 Advisers Private Limited against LBHI in the amount of $231.32.

 “Lehman Singapore Liquidations” has the meaning ascribed to it in the Recitals.

 “Lehman Singapore Liquidators” has the meaning ascribed to it in the Recitals.

 “Liquidation Claims” has the meaning ascribed to it in the Recitals.

 “Non-Debtor Receivables” has the meaning ascribed to it in the Recitals.

 “Non-Debtor Receivable Payment Date” has the meaning ascribed to it in Section 2.1(b).

 “Non-Liquidation Receivables” has the meaning ascribed to it in the Recitals.

 “Non-Liquidation Receivable Payment Date” has the meaning ascribed to it in Section 2.2 (b).

 “Plan” means the Second Amended Joint Chapter 11 Plan of Lehman Brothers Holdings Inc. and its
 Affiliated Debtors [ECF No. 18204], dated June 30, 2011.


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 “Plan Administrator” has the meaning set forth in the Amended Plan.

 “Proofs of Claim” has the meaning ascribed to it in the Recitals.

 “Sail Investor” means Sail Investor Pte. Ltd. (In Creditors’ Voluntary Liquidation).

 “Singapore Avoidance Actions” means all avoidance actions and causes of action against Lehman US
 pursuant to Sections 329 to 334 of the Singapore Companies Act.

 “Singapore Non-Settled Claims Against Debtors” collectively means (i) Claim No. 57868 filed by Sail
 Investor against LBHI in the amount of $48,008,782.99, (ii) Claim No. 57865 filed by Sail Investor
 against LBHI in the amount of $34,320.49 and (iii) Claim No. 48815 filed by Lehman Brothers
 Investment Consulting (Shanghai) Co., Ltd. against LBCS in the amount of $85,857.17.

 “Third-Party Creditors” has the meaning ascribed to it in Section 4(b)(6).

 “US Avoidance Actions” all actions under chapter 5 of the Bankruptcy Code or similar actions under
 applicable state law.

 “Voting Deadline” means the date set by the Bankruptcy Court by which creditors must vote to accept or
 reject the Amended Plan.

           2.        Settlement of Claims.

                     2.1.       The Lehman Singapore Proofs of Claim and Non-Debtor Receivables.

                  (a)      Allowed Claims Against Debtors. Each Lehman Singapore entity listed on
 Schedule C attached hereto will have a net allowed, non-priority, non-subordinated general unsecured
 claim against the specified Debtor in the amounts and classes set forth on Schedule C under the columns
 titled “Allowed Singapore Claims” and “Plan Classification” respectively, which claims have been
 reduced by the amounts of the mutual claims of the specified Debtor against such Lehman Singapore
 entity and listed on Schedule C under “Available Setoff” (the “Allowed Singapore Claims”), provided
 that LBHI shall reserve any amounts distributable to Lehman Brothers Singapore Pte. Ltd. in accordance
 with the Amended Plan on account of its Allowed Singapore Claim until such time as Lehman Brothers
 Singapore Pte. Ltd. obtains approval or waiver from the Monetary Authority of Singapore to give effect to
 the Available Setoff listed on Schedule C.

                  (b)     Receivables From Non-Debtor Affiliates. Each Lehman Singapore entity listed
 on Schedule D will have a receivable as of September 14, 2008 from, and that is agreed upon and
 acknowledged by, the specified Non-Debtor Affiliate in the amounts set forth on Schedule D (the
 “Agreed Non-Debtor Receivables”). The Agreed Non-Debtor Receivables will be subject to the Foreign
 Currency Exchange Adjustment and shall be payable on the date that is one hundred twenty (120) days
 from the Effective Date, unless otherwise agreed by the applicable obligor and obligee (the “Non-Debtor
 Receivable Payment Date”). Lehman Brothers (Thailand) Limited and Lehman Brothers Finance Asia
 Pte. Ltd. (In Creditors’ Voluntary Liquidation) hereby agree that the Non-Debtor Receivable Payment
 Date for the agreed Non-Debtor Receivable against Lehman Brothers (Thailand) Limited in the amount of
 $167,677 shall be a date to be agreed to by such entities and in accordance with applicable law. No
 interest shall accrue on the Agreed Non-Debtor Receivables. Each Non-Debtor Affiliate shall pay the
 Agreed Non-Debtor Receivables to Lehman Singapore by wire transfer in immediately available funds in
 US Dollars (or any other currency mutually agreed upon by the Parties) to a bank account designated in
 advance in writing by Lehman Singapore.

                 (c)     Other than (i) the claims and receivables allowed and acknowledged as set forth
 in Sections 2.1(a) and 2.1(b) hereof, (ii) the Lehman India Companies’ Claims and (iii) the Singapore

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 Non-Settled Claims Against Debtors, all claims or receivables asserted or held by Lehman Singapore
 against Lehman US will be deemed fully and forever expunged, extinguished, disallowed and released.

                   (d)     The Allowed Singapore Claims and Agreed Non-Debtor Receivables as set forth
 in this Section 2.1 shall not be subject to further objections or defenses, whether by way of netting, set-
 off, recoupment, counterclaim or otherwise, or any claim under section 510 of the Bankruptcy Code or
 otherwise which would have the effect of subordinating such claims to the claims of other general
 unsecured creditors; provided that if any party objects to the Allowed US Claims of any Lehman US
 entity, until such time as such Allowed US Claims are determined by the Singapore High Court or
 otherwise settled in a manner acceptable to the Parties, such Lehman US entity shall be entitled to
 withhold (but will separately reserve) an amount from distributions that would otherwise be made in
 respect of the Allowed Singapore Claims that is equal to the amount of distributions that would otherwise
 be made with respect to the Allowed US Claims that are the subject of an objection; provided, further,
 that if for any reason any Lehman Singapore entity is prohibited from making, is unable to make, or does
 not make distributions on account of any Allowed US Claims or Agreed Non-Liquidation Receivables, no
 distributions on any Allowed Singapore Claims or Agreed Non-Debtor Receivables of any Lehman
 Singapore entity will be made until such time that the relevant Lehman Singapore entity makes
 distributions to the relevant Lehman US entity, and the Agreed Non-Debtor Receivables shall not be
 subject to any further Foreign Currency Exchange following any such prohibition or withholding of
 distributions by such Lehman Singapore entity.

                  (e)     Singapore Non-Settled Claims Against Debtors. Lehman US hereby agrees that
 the holder of each Singapore Non-Settled Claim shall vote in the amount set forth on Schedule G, and a
 reserve shall be maintained with respect to such claim under the Amended Plan as if such claim had been
 allowed in the amount set forth on Schedule G, unless and until such claim is disallowed by a Final Order.
 The holders of such claims shall be third-party beneficiaries of this Agreement for purposes of this
 Section 2.1(e).

                 (f)     Lehman India Companies’ Claims. Lehman US hereby agrees that the holder of
 each Lehman India Companies’ Claim shall vote in the amount set forth on the respective proofs of claim,
 and a reserve shall be maintained with respect to such claim under the Amended Plan as if such claim had
 been allowed in the amount set forth on the respective proofs of claim, unless and until such claim is
 disallowed by a Final Order. The holders of such claims shall be third-party beneficiaries of this
 Agreement for purposes of this Section 2.1(f).

                  (g)     Plan Exceptions For Lehman Singapore. Sections 8.10, 8.15 and 13.8 (to the
 extent Section 13.8 seeks to preserve Lehman US’ rights to Causes of Action (as defined in the Amended
 Plan) that are released under this Agreement) of the Plan shall not apply to Lehman Singapore or to the
 Allowed Singapore Claims.

                     2.2.       The Lehman US Liquidation Claims and Non-Liquidation Receivables

                 (a)     Claims Against the Lehman Singapore Liquidation Companies. Each Lehman
 US entity listed on Schedule E-1 will have a net allowed, non-priority, non-senior, non-subordinated
 general unsecured claim against the specified Lehman Singapore Liquidation Companies in the amount
 set forth on Schedule E-1 under the column titled “Allowed Non-Subordinated US Claims” in accordance
 with the applicable provisions of the Singapore Companies Act (the “Allowed Non-Subordinated US
 Claims”). Each Lehman US entity listed on Schedule E-2 will have a net allowed subordinated general
 unsecured claim (the “Allowed Subordinated US Claims” and, together with the Allowed Non-
 Subordinated US Claims, the “Allowed US Claims”) against the specified Lehman Singapore Liquidation
 Companies in the amount set forth on Schedule E-2 in accordance with the applicable provisions of the
 Singapore Companies Act.



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                  (b)    Receivables from Lehman Singapore Non-Liquidation Companies. Each Lehman
 US entity listed on Schedule F will have a receivable as of September 14, 2008 from, and that is agreed
 upon and acknowledged by, the specified Lehman Singapore Non-Liquidation Companies in the amounts
 set forth on Schedule F under the column titled “Agreed Non-Liquidation Receivables” (the “Agreed
 Non-Liquidation Receivables”). The Agreed Non-Liquidation Receivables will be subject to the Foreign
 Currency Exchange Adjustment and shall be payable on the date that is one hundred twenty (120) days
 from the Effective Date, unless otherwise agreed by the applicable obligor and obligee (the “Non-
 Liquidation Receivable Payment Date”). No interest shall accrue on the Agreed Non-Liquidation
 Receivables. Each Lehman Singapore Non-Liquidation Company shall pay the Agreed Non-Liquidation
 Receivables to Lehman US by wire transfer in immediately available funds in US Dollars to a bank
 account designated in advance in writing by Lehman US.

                 (c)      Other than (i) the claims and receivables allowed and acknowledged as set forth
 in Sections 2.2(a) and 2.2(b) hereof, and (ii) the claim filed by LBHI against Sail Investor in the amount
 of $63,396,488, which is not subject to this Agreement in any respect, all claims or receivables asserted or
 held by Lehman US against Lehman Singapore, will be deemed fully and forever expunged, extinguished,
 disallowed and released.

                   (d)     The Allowed US Claims and Agreed Non-Liquidation Receivables as set forth in
 this Section 2.2 shall not, except as otherwise specifically provided for herein, be subject to further
 objections or defenses, whether by way of netting, set off, recoupment, counterclaim or otherwise, or any
 other claim which would have the effect of subordinating such claims to the claims of other unsecured
 creditors; provided that if for any reason any Lehman US entity is prohibited from making, is unable to
 make, or does not make distributions on account of any Allowed Singapore Claims or Agreed Non-
 Debtor Receivables, no distributions on any Allowed US Claims or Agreed Non-Liquidation Receivables
 of any Lehman US entity will be made until such time that the relevant Lehman US entity makes
 distributions to the relevant Lehman Singapore entity, and the Agreed Non-Liquidation Receivables shall
 not be subject to any further Foreign Currency Exchange following any such prohibition or withholding
 of distributions by such Lehman US entity.

                  2.3.    Claims Register. In order to reflect the entry into this Agreement, upon the
 Effective Date, the Parties hereto acknowledge and agree that (i) the Proofs of Claim and the Allowed US
 Claims shall be deemed amended to the extent necessary to reflect the terms of the settlement reached in
 this Agreement and/or to reflect the reconciliation of such claims that has been ongoing amongst the
 Parties, and (ii) they shall execute and submit joint instructions to Epiq Bankruptcy Solutions, LLC,
 requesting that the claims register in the Chapter 11 Cases be amended to reflect the allowance and
 disallowance of the Proofs of Claim in accordance with this Agreement.

         3.      Lehman India Companies. Promptly following the Execution Date, the Lehman
 Singapore Liquidators shall use their best efforts to cause the Lehman India Companies to obtain all
 necessary governmental and/or regulatory approvals necessary to permit the Lehman India Companies to
 become parties to a settlement agreement with the Lehman US entities resolving, among other things, the
 Lehman India Companies’ Claims.

           4.        Amended Plan and Related Support.

                 (a)      Lehman US’s Obligations. Within a reasonable period of time following the
 Execution Date, the Debtors will (i) file the Amended Plan and seek approval of the Amended Disclosure
 Statement and voting procedures with respect thereto, and (ii) prosecute the Amended Plan and seek entry
 of a Confirmation Order. If the Bankruptcy Court allows other parties to solicit acceptances of any
 Alternative Plan or Alternative Plans and subject to Lehman Singapore’s obligations in Section 4(b)(5)
 below, Lehman US agrees not to object to Lehman Singapore voting to accept any Alternative Plan or
 Alternative Plans in the amounts set forth on Schedule A with respect to each Proof of Claim.


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                (b)     Lehman Singapore’s Obligations. Each Lehman Singapore entity agrees to
 perform and comply with the following obligations as to the Amended Plan, which obligations shall
 become effective upon the Execution Date:

                          (1)     Lehman Singapore shall (i) support approval of the Amended Disclosure
 Statement, (ii) neither oppose nor object to the Amended Disclosure Statement, and (iii) neither join in
 nor support any objection to the Amended Disclosure Statement.

                          (2)     If the Bankruptcy Court allows the Debtors to solicit acceptances of the
 Amended Plan before acceptances are solicited for any Alternative Plan or Alternative Plans, and
 provided that Lehman Singapore has been solicited pursuant to section 1125 of the Bankruptcy Code,
 each Lehman Singapore entity shall (i) timely vote to accept the Amended Plan in the amounts set forth
 on Schedule A with respect to each Proof of Claim, and not thereafter withdraw or change such vote, and
 (ii) support approval and confirmation of the Amended Plan.

                         (3)     Lehman Singapore shall not oppose or object to the Amended Plan or the
 solicitation of the Amended Plan, or join in or support any objection the Amended Plan or the solicitation
 of the Amended Plan.

                           (4)     Lehman Singapore shall not (i) participate in the formulation of, file, or
 prosecute any Alternative Plan (ii) join in or support any Alternative Plan, including, without limitation,
 express support in writing of, or enter into any form of plan support agreement with respect to any
 Alternative Plan, or (iii) subject to Section 4(b)(5) below, take any action to alter, delay or impede the
 confirmation and consummation of the Plan; provided that, a vote on an Alternative Plan or Plans shall
 not constitute an action to delay or impede the confirmation or consummation of the Plan.

                          (5)     If the Bankruptcy Court allows other parties to solicit acceptances of any
 Alternative Plan or Alternative Plans at the same time as the Amended Plan, Lehman Singapore may vote
 to accept any Alternative Plan or Alternative Plans only if such Alternative Plan or Alternative Plans
 provide Lehman Singapore with an equal or greater economic recovery than the Amended Plan, provided,
 however, that each Lehman Singapore entity shall also (i) timely vote to accept the Amended Plan, and
 not thereafter withdraw or change such vote, (ii) comply with the provisions of Section 4(b)(3) and
 4(b)(4) above except to the extent 4(b)(4)(iii) is subject to this 4(b)(5), and (iii) support approval and
 confirmation of the Amended Plan, and indicate a preference for the Amended Plan on its voting ballot, if
 the Amended Plan provides Lehman Singapore with an equal or greater economic recovery compared
 with any Alternative Plan that Lehman Singapore votes to accept. Notwithstanding anything contained in
 this section, Lehman Singapore shall not indicate a preference on its voting ballots for any Alternative
 Plan.

                          (6)     Lehman Singapore shall cooperate with and respond to reasonable
 requests for information of the Debtors or the Plan Administrator regarding the resolution of claims of, or
 distributions by Lehman Singapore to, Lehman's Singapore’s creditors who have also asserted claims
 against the Debtors (“Third-Party Creditors”), including whether: (i) the claims of Third-Party Creditors
 have been allowed or disallowed against Lehman Singapore, (ii) the claims of Third-Party Creditors are
 disputed or subject to objection by Lehman Singapore, (iii) the consideration, if any, paid to Third-Party
 Creditors by Lehman Singapore, and (iv) future distributions or consideration are anticipated to be made
 to Third-Party Creditors by Lehman Singapore, including estimates of the amounts of such future
 distributions or consideration.

                          (7)      Lehman Singapore shall promptly seek authority from any appointed
 creditors’ committee or the Singapore High Court, or seek any other requisite approvals, to the extent
 necessary, to perform all of the obligations set forth in this Agreement.



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                  (c)     Solicitation Required in Connection with Amended Plan. Notwithstanding
 anything contained in this Section 4 or elsewhere in this Agreement, this Agreement is not, and shall not
 be deemed to be, a solicitation of a vote for the acceptance of the Amended Plan pursuant to section 1125
 of the Bankruptcy Code, or rejection of any Alternative Plan. Acceptance of the Amended Plan will not
 be solicited until the Bankruptcy Court has approved the Disclosure Statement and related ballots, and
 such Disclosure Statement and ballots have been transmitted to parties entitled to receive the same in
 accordance with an order of the Bankruptcy Court.

         5.       Lehman Singapore’s Representations and Warranties. In order to induce Lehman US
 to enter into and perform their obligations under this Agreement, each Lehman Singapore entity hereby
 represents, warrants and acknowledges as follows:

                     5.1.       Authority.

         (a)     (i) Each Lehman Singapore Liquidation Company has the power and authority to
 execute, deliver and perform its obligations under this Agreement, and to consummate the transactions
 contemplated herein; and (ii) the execution, delivery and performance by such Lehman Singapore
 Liquidation Company of this Agreement and the consummation of the transactions contemplated herein
 have been duly authorized by all necessary action on the part of such Lehman Singapore Liquidation
 Company and no other proceedings on the part of such Lehman Singapore Liquidation Company are
 necessary to authorize and approve this Agreement or any of the transactions contemplated herein.

         (b)     (i) Each Lehman Singapore Non-Liquidation Company has the power and authority to
 execute, deliver and perform its obligations under this Agreement, and to consummate the transactions
 contemplated herein and (ii) the execution, delivery and performance by such Lehman Singapore Non-
 Liquidation Company of this Agreement and the consummation of the transactions contemplated herein
 have been duly authorized by all necessary action on the part of such Lehman Singapore Non-Liquidation
 Company and no other proceedings on the part of such Lehman Singapore Non-Liquidation Company are
 necessary to authorize and approve this Agreement or any of the transactions contemplated herein.

                     5.2.       Validity.

                (a)      This Agreement has been duly executed and delivered by each Lehman
 Singapore Liquidation Company and constitutes the legal, valid and binding agreement of each Lehman
 Singapore Liquidation Company, enforceable against each Lehman Singapore Liquidation Company in
 accordance with its terms.

                (b)    This Agreement has been duly executed and delivered by each Lehman
 Singapore Non-Liquidation Company and constitutes the legal, valid and binding agreement of each
 Lehman Singapore Non-Liquidation Company, enforceable against each Lehman Singapore Non-
 Liquidation Company in accordance with its terms.

                  5.3.     Authorization of Governmental Authorities and Creditors. No action by
 (including any authorization, consent or approval), in respect of, or filing with, any governmental
 authority is required for, or in connection with, the valid and lawful authorization, execution, delivery and
 performance by each Lehman Singapore entity pursuant to this Agreement.

                  5.4.     No Reliance. Each Lehman Singapore entity (i) is a sophisticated party with
 respect to the subject matter of this Agreement, (ii) has been represented and advised by legal counsel in
 connection with this Agreement, (iii) has adequate information concerning the matters that are the subject
 of this Agreement, and (iv) has independently and without reliance upon any Debtor or any Non-Debtor
 Affiliate or any of their Affiliates or any officer, employee, agent or representative thereof, and based on
 such information as each Lehman Singapore entity has deemed appropriate, made its own analysis and
 decision to enter into this Agreement, except that each Lehman Singapore entity has relied upon each

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 Debtor’s and each Non-Debtor Affiliate’s express representations, warranties and covenants in this
 Agreement, each Lehman Singapore entity acknowledges that it has entered into this Agreement
 voluntarily and of its own choice and not under coercion or duress.

                     5.5.       Title; No Prior Transfer of Claims.

                   (a)      Each Lehman Singapore entity owns and has good title to its respective Proofs of
 Claim and Non-Debtor Receivables, free and clear of any and all liens, claims (other than on account of
 claims against the assets of such Lehman Singapore entity), set-off rights of third parties, security
 interests, participations, or encumbrances created or incurred by or against any Lehman Singapore entity
 as of the Execution Date and has not transferred or assigned to any other person any of the claims or
 receivables that are the subject of this Agreement, in whole or in part.

                  (b)      Each Lehman Singapore entity may not transfer any of the claims or receivables
 that are the subject of this Agreement, or any rights or interests arising thereunder or related thereto, in
 whole or in part, prior to the Effective Date.

          6.     Lehman US’s Representations and Warranties. In order to induce Lehman Singapore to
 enter into and perform its obligations under this Agreement, each Lehman US entity hereby represents,
 warrants and acknowledges as follows:

                     6.1.       Authority.

                 (a)      Subject to the occurrence of the Effective Date, (i) each signatory Debtor has the
 power and authority to execute, deliver and perform its obligations under this Agreement, and to
 consummate the transactions contemplated herein and (ii) the execution, delivery and performance by
 such Debtor of this Agreement and the consummation of the transactions contemplated herein have been
 duly authorized by all necessary action on the part of such Debtor and no other proceedings on the part of
 such Debtor are necessary to authorize and approve this Agreement or any of the transactions
 contemplated herein.

                  (b)     (i) Each Non-Debtor Affiliate has the power and authority to execute, deliver and
 perform its obligations under this Agreement, and to consummate the transactions contemplated herein
 and (ii) the execution, delivery and performance by such Non-Debtor Affiliate of this Agreement and the
 consummation of the transactions contemplated herein have been duly authorized by all necessary action
 on the part of such Non-Debtor Affiliate and no other proceedings on the part of such Non-Debtor
 Affiliate are necessary to authorize and approve this Agreement or any of the transactions contemplated
 herein.

                     6.2.       Validity.

                 (a)     Subject to the occurrence of the Effective Date, this Agreement has been duly
 executed and delivered by each Debtor and constitutes the legal, valid and binding agreement of each
 Debtor, enforceable against each Debtor in accordance with its terms.

                 (b)       This Agreement has been duly executed and delivered by each Non-Debtor
 Affiliate and constitutes the legal, valid and binding agreement of each Non-Debtor Affiliate, enforceable
 against each Non-Debtor Affiliate in accordance with its terms.

                 6.3.    Authorization of Governmental Authorities. No action by (including any
 authorization, consent or approval), in respect of, or filing with, any governmental authority is required
 for, or in connection with, the valid and lawful authorization, execution, delivery and performance by
 each Lehman US entity of this Agreement, other than entry of the Confirmation Order.


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                 6.4.     No Reliance. Each Lehman US entity (i) is a sophisticated party with respect to
 the matters that are the subject of this Agreement, (ii) has had the opportunity to be represented and
 advised by legal counsel in connection with this Agreement, (iii) has adequate information concerning the
 matters that are the subject of this Agreement, and (iv) has independently and without reliance upon
 Lehman Singapore, and based on such information as such Lehman US entity has deemed appropriate,
 made its own analysis and decision to enter into this Agreement, except that such Lehman US entity has
 relied upon Lehman Singapore’s express representations, warranties and covenants in this Agreement,
 which it enters, or as to which it acknowledges and agrees, voluntarily and of its own choice and not
 under coercion or duress.

                     6.5.       Title; No Prior Transfer of Claims.

                   (a)      Each Lehman US entity owns and has good title to its respective Liquidation
 Claims and Non-Liquidation Receivables, free and clear of any and all liens, claims (other than on
 account of claims against the assets of such Lehman US entity), set-off rights of third parties, security
 interests, participations, or encumbrances created or incurred by or against any such Lehman US entity as
 of the Execution Date, and has not transferred or assigned to any other person any of the claims or
 receivables that are the subject of this Agreement.

                    (b)     Each Lehman US entity may not transfer any of the Liquidation Claims or the
 Non-Liquidation Receivables, or any rights or interests arising thereunder or related thereto, in whole or
 in part, prior to the Effective Date.

         7.       Withholding Rights and Allocation of Payments. Each Party shall be entitled to deduct
 and withhold from the amounts otherwise payable to any other Party pursuant to this Agreement such
 amounts as it is required to deduct and withhold with respect to the making of such payment under any
 requirement of any applicable tax law. Any amounts so withheld shall be treated for all purposes of this
 Agreement as having been paid to such Party in respect of the allowed claim for which such deduction
 and withholding is made. The Parties agree that any payments made by Lehman Singapore and Lehman
 US on account of the claims and receivables that are the subject of this Agreement shall be allocated for
 all purposes first to the principal portion of such claims and receivables, and, only after the principal
 portion of such respective claims and receivables is satisfied in full, to any portion of such claims and
 receivables comprising interest (but solely to the extent that interest is an allowable portion of such claims
 and receivables).

         8.     Executory Contracts. All pre-petition executory contracts between the Debtors and
 Lehman Singapore shall be rejected pursuant to section 365 of the Bankruptcy Code in accordance with
 the Plan. Any claims that arise from the rejection of pre-petition executory contracts between the Debtors
 and Lehman Singapore are deemed to be satisfied in full by the claims allowed pursuant to Section 2
 hereof.

          9.      Cooperation. The Parties will continue to exchange data relating to the respective
 bankruptcy cases and insolvency proceedings based on the data sharing agreement and the cross border
 international protocol in order to assist each other in resolving claims of Affiliates and other creditors.

           10.       Releases.

                   10.1. Lehman US’s Releases. Upon the occurrence of the Effective Date, and except
 as to (i) the allowed claims set forth in Section 2 hereof, (ii) Lehman US’s distribution entitlements in the
 Lehman Singapore Liquidations, (iii) the agreements, promises, settlements, representations and
 warranties set forth in this Agreement, and (iv) the performance of the obligations set forth herein, and
 subject to the effectiveness of this Agreement in accordance with Section 11 below, and in consideration
 of the foregoing and each Lehman Singapore entity’s execution of this Agreement, each Lehman US
 entity on behalf of itself, its estate (where applicable), and its successors and assigns, will fully and

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 forever release, discharge and acquit each Lehman Singapore entity, and the Lehman Singapore
 Liquidators and their respective successors, assigns, officers, directors, employees, agents,
 representatives, consultants, financial advisors, accountants and attorneys, from all manners of action,
 causes of action, judgments, executions, debts, demands, rights, damages, costs, expenses, and claims of
 every kind, nature, and character whatsoever existing as of the date hereof, whether at law or in equity,
 whether based on contract (including, without limitation, quasi-contract or estoppel), statute, regulation,
 tort (excluding intentional torts, fraud, recklessness, gross negligence or willful misconduct) or otherwise,
 accrued or unaccrued, known or unknown, matured or unmatured, liquidated or unliquidated, certain or
 contingent, including all US Avoidance Actions.

                  10.2. Lehman Singapore’s Releases. Upon the occurrence of the Effective Date, and
 except as to (i) the allowed claims set forth in Section 2 hereof, (ii) Lehman Singapore’s distribution
 entitlements in the Chapter 11 Cases, (iii) the agreements, promises, settlements, representations and
 warranties set forth in this Agreement, and (iv) the performance of the obligations set forth herein, and
 subject to the effectiveness of this Agreement in accordance with Section 11 below, and in consideration
 of the foregoing and each Lehman US entity’s execution of this Agreement, each Lehman Singapore
 entity, its estate (where applicable), and its successors and assigns, will fully and forever release,
 discharge and acquit each Lehman US entity and Alvarez & Marsal North America LLC, and their
 respective successors, assigns, officers, directors, employees, agents, representatives, consultants,
 financial advisors, accountants and attorneys, from all manners of action, causes of action, judgments,
 executions, debts, demands, rights, damages, costs, expenses, and claims of every kind, nature, and
 character whatsoever existing as of the date hereof, whether at law or in equity, whether based on contract
 (including, without limitation, quasi-contract or estoppel), statute, regulation, tort (excluding intentional
 torts, fraud, recklessness, gross negligence or willful misconduct) or otherwise, accrued or unaccrued,
 known or unknown, matured or unmatured, liquidated or unliquidated, certain or contingent, including,
 without limitation, (i) any administrative expense claims arising under section 503 of the Bankruptcy
 Code, and (ii) Singapore Avoidance Actions.

                 10.3. Nothing in this Agreement shall operate as a release or waiver of any rights,
 claims or defenses by or against any Non-Settling Entity.

           11.       Effectiveness of Agreement.

                  11.1. Sections 2.1(e), 2.1(f), 4, 5.5, 6.5, 9 and 11 through 25 of this Agreement shall be
 effective upon the Execution Date.

                     11.2.      All other provisions of this Agreement shall be effective upon the Effective Date.

           12.       Termination.

                    12.1. Automatic Termination. This Agreement shall automatically terminate on any
 date on which (i) the Bankruptcy Court denies the motion seeking the Confirmation Order with prejudice
 or (ii) the Plan is not confirmed on or before December 31, 2012.

                  12.2. Lehman US’s Right to Terminate. Each Debtor and each Non-Debtor Affiliate
 shall have the right, at its election, to terminate this Agreement by written notice to Lehman Singapore if
 (a) there is a breach, in any material respect, of the representations, warranties and/or covenants of
 Lehman Singapore hereunder, taken as a whole, and Lehman Singapore shall fail to cure such breach
 within ten (10) days following written notice of such breach from Lehman US, (b) Lehman Singapore
 fails to obtain authority from any appointed creditors committee or the Singapore High Court, or obtain
 any other requisite approvals, to the extent necessary, to perform all of the obligations set forth in this
 Agreement, or (c) other than as set forth herein, Lehman Singapore allows and provides for materially
 different treatment of claims held by other creditors of Lehman Singapore that are legally similar to the


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 Allowed US Claims that results in such other creditors having a recovery entitlement in respect of said
 claims that is materially higher than the recovery entitlement in respect of the Allowed US Claims.

                   12.3. Lehman Singapore’s Right to Terminate. Lehman Singapore shall have the right,
 at its election, to terminate this Agreement by written notice to Lehman US if (a) the Debtors file or
 support a chapter 11 plan that provides for the substantive consolidation of one or more Debtor or
 Affiliate or any Lehman Singapore entity, commences any proceeding seeking similar relief, or joins with
 any other party in any proceeding seeking similar relief; (b) there is a breach, in any material respect, of
 the representations, warranties and/or covenants of Lehman US hereunder, taken as a whole, and Lehman
 US shall fail to cure such breach within ten (10) days following written notice of such breach from
 Lehman Singapore; (c) the Debtors make a material modification to the structure, classification or
 distribution scheme under the Amended Plan that would materially reduce the recovery estimates set forth
 in the Disclosure Statement with respect to classes that include the Allowed Singapore Claims; or (d) the
 Amended Plan provides for materially different treatment of claims held by other creditors that are legally
 similar to the Allowed Singapore Claims (including claims currently classified in the same class as the
 Allowed Singapore Claims) that results in such other creditors having a recovery entitlement in respect of
 said claims that is materially higher than the recovery entitlement provided for in the Amended Plan in
 respect of the Allowed Singapore Claims; provided, however, that with respect to Sections 12.3(b) and
 12.3(c), (i) the Debtors are not guaranteeing or committing to any specific recovery amount under the
 Amended Plan, and (ii) modifications to the projected recovery amounts set forth in the disclosure
 statement approved by the Bankruptcy Court with respect to the Amended Plan that are based upon
 revised projections of asset values shall not constitute material modifications to the Amended Plan.

                  12.4. Effect of Termination. In the event that this Agreement is terminated, then
 neither this Agreement, nor any motion or other pleading filed in the Bankruptcy Court with respect to the
 approval of this Agreement or confirmation of the Amended Plan, shall have any res judicata or collateral
 estoppel effect or be of any force or effect, each of the Parties’ respective interests, rights, remedies and
 defenses shall be restored without prejudice as if this Agreement had never been executed and the Parties
 hereto shall be automatically relieved of any further obligations hereunder. Except as expressly provided
 herein, this Agreement and all communications and negotiations among the Parties with respect hereto or
 any of the transactions contemplated hereunder are without waiver of or prejudice to the Parties rights and
 remedies and the Parties hereby reserve all claims, defenses and positions that they may have with respect
 to each other.

           13.       Venue and Choice of Law.

                   13.1. Venue. To the maximum extent permissible by law, the Parties expressly consent
 and submit to the exclusive jurisdiction of the Bankruptcy Court over any actions or proceedings relating
 to the enforcement or interpretation of this Agreement and any Party bringing such action or proceeding
 shall bring such action or proceeding in the Bankruptcy Court; provided that the Parties may appear
 before another court of competent jurisdiction if a non Party brings any action relating to this Agreement
 before such other court of competent jurisdiction, provided further that any actions or proceedings arising
 out of disputes in the amount or validity of the Liquidation Claims shall be within the exclusive
 jurisdiction of the Singapore High Court; provided further, that any actions or proceedings arising out of
 disputes in the amount or validity of Non-Liquidation Receivables or Non-Debtor Receivables shall be
 within the non-exclusive jurisdiction of any court of competent jurisdiction. Each of the Parties agrees
 that a final judgment in any such action or proceeding, including all appeals, shall be conclusive and may
 be enforced in other jurisdictions (including any foreign jurisdictions) by suit on the judgment or in any
 other manner provided by applicable law. If the Bankruptcy Court refuses or abstains from exercising
 jurisdiction over the enforcement of this Agreement and/or any actions or proceedings arising hereunder
 or thereunder, then the Parties agree that venue shall be in any other state or federal court located within
 the County of New York in the State of New York having proper jurisdiction. Each Party hereby
 irrevocably and unconditionally waives, to the fullest extent it may legally and effectively do so, (i) any
 objection which it may now or hereafter have to the laying of venue of any suit, action or proceeding

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 arising out of or relating to this Agreement with the Bankruptcy Court or with any other state or federal
 court located within the County of New York in the State of New York, or with the Singapore High Court
 or other court of competent jurisdiction as described above solely relating to any actions or proceedings
 arising out of disputes in the amount or validity of the Liquidation Claims or Non-Liquidation
 Receivables and (ii) the defense of an inconvenient forum to the maintenance of such action or
 proceeding in any such court. Each Party irrevocably consents to service of process in the manner
 provided for notices in Section 14 hereof. Nothing in this Agreement will affect the right, or requirement,
 of any Party to this Agreement to serve process in any other manner permitted or required by applicable
 law.

                 13.2. Choice of Law. This Agreement and all claims and disputes arising out of or in
 connection with this Agreement, shall be governed by and construed in accordance with the laws of the
 State of New York and the Bankruptcy Code, without regard to choice of law principles to the extent such
 principles would apply a law other than that of the State of New York or the Bankruptcy Code; provided,
 however, that any claims and disputes arising out of the Liquidation Claims or the Non-Liquidation
 Receivables shall be governed by and construed in accordance with Singaporean law except as otherwise
 provided in the underlying agreements or applicable law.

         14.      Notices. All notices and other communications given or made pursuant to this
 Agreement shall be in writing and shall be deemed effectively given: (a) upon personal delivery to the
 party to be notified, (b) when sent by confirmed electronic mail or facsimile if sent during normal
 business hours of the recipient, and if not so confirmed, then on the next Business Day, (c) three days
 after having been sent by registered or certified mail, return receipt requested, postage prepaid, or (d) one
 Business Day after deposit with a nationally recognized overnight courier, specifying next day delivery,
 with written verification of receipt. All communications shall be sent:

                    To Lehman US at:

                    1271 Avenue of the Americas, 39th Floor
                    New York, New York 10020
                    U.S.A.
                    Attn: John Suckow and Daniel J. Ehrmann
                    Facsimile: (646) 834-0874

                    With a copy (which shall not constitute notice) to:

                    Weil, Gotshal & Manges LLP
                    767 Fifth Avenue
                    New York, New York 10153
                    U.S.A.
                    Attn: Lori R. Fife, Esq.
                    Facsimile: (212) 310-8007

                    To Lehman Singapore at:

                    KPMG Advisory Services Pte. Ltd.
                    16 Raffles Quay #22-00
                    Hong Leong Building
                    Singapore 048581
                    Attn: Peter Chay and Martin Wong
                    Facsimile: +65 62253083

                    With a copy (which shall not constitute notice) to:


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                    Kramer Levin Naftalis & Frankel LLP
                    1177 Avenue of Americas
                    New York, New York 10036
                    Attn: Thomas Moers Mayer and Daniel M. Eggermann
                    Facsimile (212) 715-8000

 or to such other address as may have been furnished by a Party to each of the other Parties by notice given
 in accordance with the requirements set forth above.

          15.    Expenses. The fees and expenses incurred by each Party (including the fees of any
 attorneys, accountants, investment bankers, financial advisors or any other professionals engaged by such
 Party) in connection with this Agreement and the transactions contemplated hereby, whether or not the
 transactions contemplated hereby are consummated, will be paid by such Party.

         16.     No Admission of Liability. Each Party acknowledges that this Agreement effects a
 settlement of potential claims and counterclaims that might be denied and contested, and that nothing
 contained herein shall be construed as an admission of liability or wrongdoing.

          17.    Entire Agreement. This Agreement constitutes the entire and only agreement of the
 Parties concerning the subject matter hereof. This Agreement supersedes and replaces any and all prior or
 contemporaneous verbal or written agreements between the Parties concerning the subject matter hereof,
 and to the extent of any conflicts between the Amended Plan and the terms of this Agreement, the terms
 of this Agreement shall control. The Parties acknowledge that this Agreement is not being executed in
 reliance on any verbal or written agreement, promise or representation not contained herein.

          18.    No Oral Modifications. This Agreement may not be modified or amended orally. This
 Agreement only may be modified or amended by a writing signed by a duly authorized representative of
 each Party hereto. Any waiver of compliance with any term or provision of this Agreement on the part of
 Lehman US must be provided in a writing signed by Lehman Singapore. Any waiver of compliance with
 any term or provision of this Agreement on the part of Lehman Singapore must be provided in a writing
 signed by each Debtor and each Non-Debtor Affiliate. No waiver of any breach of any term or provision
 of this Agreement shall be construed as a waiver of any subsequent breach.

         19.     Construction. This Agreement constitutes a fully negotiated agreement among
 commercially sophisticated parties and therefore shall not be construed or interpreted for or against any
 Party, and any rule or maxim of construction to such effect shall not apply to this Agreement.

          20.     Binding Effect; Successor and Assigns. Any declaration, representation or statement of
 the Lehman Singapore Liquidators shall only be made in their capacity and function as the Joint and
 Several Liquidators of the Lehman Singapore Liquidation Companies, and shall in no circumstance be
 construed as being a declaration, representation or statement of the Lehman Singapore Liquidators on
 their own and personal behalf. This Agreement shall inure to the benefit of and be binding upon the
 Parties and their respective successors and permitted assigns; provided, however, that no Party may assign
 its rights or obligations under this Agreement without the written consent of the other Party, which
 consent shall not be unreasonably withheld or delayed, and any assignment not in accordance with the
 terms hereof shall be null and void ab initio.

         21.      Counterparts. This Agreement may be executed in counterparts, each of which
 constitutes an original, and all of which, collectively, constitute only one agreement. The signatures of all
 of the Parties need not appear on the same counterpart.

        22.      Headings; Schedules and Exhibits. The headings utilized in this Agreement are
 designed for the sole purpose of facilitating ready reference to the subject matter of this Agreement. Said
 headings shall be disregarded when resolving any dispute concerning the meaning or interpretation of any

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 language contained in this Agreement. References to sections, unless otherwise indicated, are references
 to sections of this Agreement. All Schedules to this Agreement are hereby made a part hereof and
 incorporated herein by reference for all purposes. Reference to any Schedule herein shall be to the
 Schedules attached hereto.

           23.     No Personal Liability. The Parties acknowledge and agree that this Agreement and all
 actions and measures contained herein or following herefrom do not and will not give rise to any personal
 liability on the part of the Lehman Singapore Liquidators, their firm and its partners and employees, and
 their representatives or other professional advisors, and to the extent any such personal liability existed,
 the Parties explicitly waive any and all potential rights and claims against them, their firm and its partners
 and employees, and their representatives and other professional advisors, personally. Lehman Singapore
 further acknowledges and agrees that this Agreement and all transactions and measures contained herein
 do not give rise to any personal liability on the part of any of the officers, directors, employees, members,
 consultants, asset managers, representatives or professional advisors of Lehman US and to the extent any
 such personal liability existed, Lehman Singapore explicitly waives any and all potential rights and claims
 against all of the aforementioned persons. Any claim by a Party against the Lehman Singapore
 Liquidators or the Lehman Singapore Liquidation Companies arising under or relating to this Agreement
 shall only be satisfied out of the assets of the insolvency estate of the relevant Lehman Singapore
 Liquidation Company, and any claim by a Party against Lehman US arising under or relating to this
 Agreement shall only be satisfied out of the assets of such Debtor or such Non-Debtor Affiliate.

          24.     Severability and Construction. If any term or other provision of this Agreement is
 invalid, illegal or incapable of being enforced, all other terms and provisions of this Agreement shall
 nevertheless remain in full force and effect so long as the economic and legal substance of the
 transactions contemplated hereby is not affected in any manner materially adverse to the Parties. Upon
 any determination that any term or other provision is invalid, illegal, or incapable of being enforced, each
 Party hereto shall negotiate in good faith to modify this Agreement so as to effect the original intent of
 this Agreement as closely as possible in a mutually acceptable manner in order that the transactions
 contemplated hereby be consummated as originally contemplated to the greatest extent possible.

       25.   Waiver of Jury Trial. EACH OF THE PARTIES HERETO HEREBY AGREE NOT TO
 ELECT A TRIAL BY JURY OF ANY ISSUE TRIABLE OF RIGHT BY JURY, AND HEREBY
 KNOWINGLY, VOLUNTARILY, INTENTIONALLY, UNCONDITIONALLY AND IRREVOCABLY
 WAIVES ANY RIGHT TO TRIAL BY JURY FULLY TO THE EXTENT THAT ANY SUCH RIGHT
 SHALL NOW OR HEREAFTER EXIST WITH REGARD TO THIS AGREEMENT OR ANY CLAIM,
 COUNTERCLAIM OR OTHER ACTION ARISING IN CONNECTION THEREWITH OR IN
 RESPECT OF ANY COURSE OF CONDUCT, COURSE OF DEALING, STATEMENT (WHETHER
 VERBAL OR WRITTEN) OR ACTION OF ANY PARTY OR ARISING OUT OF ANY EXERCISE
 BY ANY PARTY OF ITS RESPECTIVE RIGHTS UNDER THIS AGREEMENT OR IN ANY WAY
 RELATING TO THE TRANSACTIONS CONTEMPLATED HEREBY (INCLUDING, WITHOUT
 LIMITATION, WITH RESPECT TO ANY ACTION TO RESCIND OR CANCEL THIS AGREEMENT
 AND WITH RESPECT TO ANY CLAIM OR DEFENSE ASSERTING THAT THIS AGREEMENT
 WAS FRAUDULENTLY INDUCED OR IS OTHERWISE VOID OR VOIDABLE). THIS WAIVER
 OF RIGHT TO TRIAL BY JURY IS INTENDED TO ENCOMPASS INDIVIDUALLY EACH
 INSTANCE AND EACH ISSUE AS TO WHICH THE RIGHT TO A TRIAL BY JURY WOULD
 OTHERWISE ACCRUE. EACH OF THE PARTIES HERETO IS HEREBY AUTHORIZED TO FILE
 A COPY OF THIS SECTION 25 IN ANY PROCEEDING AS CONCLUSIVE EVIDENCE OF THIS
 WAIVER. THIS WAIVER OF JURY TRIAL IS A MATERIAL INDUCEMENT FOR THE PARTIES
 HERETO TO ENTER INTO THIS AGREEMENT.




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                                                        Schedule A

                                                   Proofs of Claim


                                                Claim                                                         Amount
Debtor Against which Claim was Filed           Number       Lehman Singapore Claimant                          (USD)

Lehman Brothers Commercial Corporation          65148       Lehman Brothers Finance Asia Pte. Ltd.            155,152,038
                                                           (In Creditors' Voluntary Liquidation)

Lehman Brothers Commodity Services Inc.         57866       Lehman Brothers Commodities Pte. Ltd.               7,827,944
                                                            (In Creditors' Voluntary Liquidation)
Lehman Brothers Commodity Services Inc.         65149       Lehman Brothers Finance Asia Pte. Ltd.              2,296,416
                                                           (In Creditors' Voluntary Liquidation)
Lehman Brothers Commodity Services Inc.         18553       Lehman Brothers Singapore Pte. Ltd.                     4,159

Lehman Brothers Holdings Inc.                   65146       Lehman Brothers Finance Asia Pte. Ltd.                  9,819
                                                           (In Creditors' Voluntary Liquidation)
Lehman Brothers Holdings Inc.                   65150       Lehman Brothers Finance Asia Pte. Ltd.                89,999
                                                           (In Creditors' Voluntary Liquidation)
Lehman Brothers Holdings Inc.                   65151       Lehman Brothers Finance Asia Pte. Ltd.               329,171
                                                           (In Creditors' Voluntary Liquidation)
Lehman Brothers Holdings Inc.                   65152       Lehman Brothers Finance Asia Pte. Ltd.               229,122
                                                           (In Creditors' Voluntary Liquidation)
Lehman Brothers Holdings Inc.                   67286       Lehman Brothers Finance Asia Pte. Ltd.            160,004,486
                                                           (In Creditors' Voluntary Liquidation)
Lehman Brothers Holdings Inc.                   57867       Lehman Brothers Pacific Holdings Pte. Ltd.           719,547
                                                            (In Creditors' Voluntary Liquidation)
Lehman Brothers Holdings Inc.                   18552       Lehman Brothers Pte Ltd                                42,210
Lehman Brothers Holdings Inc.                   18555       Lehman Brothers Pte Ltd                            14,255,155
Lehman Brothers Holdings Inc.                   18559       Lehman Brothers Securities Taiwan Limited           4,394,739
Lehman Brothers Holdings Inc.                   18556       Lehman Brothers Singapore Pte. Ltd.                56,353,552

Lehman Brothers Special Financing Inc.          65147       Lehman Brothers Finance Asia Pte. Ltd.              4,852,449
                                                           (In Creditors' Voluntary Liquidation)
Lehman Brothers Special Financing Inc.          18554       Lehman Brothers Singapore Pte. Ltd.                        23
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                                                      Schedule B

                                                   Liquidation Claims


Lehman Singapore Entity                                                                             Amount
Against which Claim is Held                         Claimant                                         (USD)

 Lehman Brothers Commodities Pte. Ltd.             Lehman Brothers Global Services Limited              23,764
(In Creditors' Voluntary Liquidation)
 Lehman Brothers Commodities Pte. Ltd.             Lehman Brothers Holdings Inc.                       690,118
(In Creditors' Voluntary Liquidation)
 Lehman Brothers Commodities Pte. Ltd.             Lehman Brothers Holdings Inc.                       772,261
(In Creditors' Voluntary Liquidation)

Lehman Brothers Asia Pacific (Singapore)           Lehman Brothers Holdings Inc.                      2,268,197
Pte. Ltd. (In Creditors' Voluntary Liquidation)
Lehman Brothers Asia Pacific (Singapore)           Lehman Brothers Holdings Inc.                    369,433,956
Pte. Ltd. (In Creditors' Voluntary Liquidation)
Lehman Brothers Asia Pacific (Singapore)           Lehman Brothers Holdings Inc.                        24,610
Pte. Ltd. (In Creditors' Voluntary Liquidation)

 Lehman Brothers Finance Asia Pte. Ltd.            Lehman Brothers Commercial Corporation           500,000,000
(In Creditors' Voluntary Liquidation)
 Lehman Brothers Finance Asia Pte. Ltd.            Lehman Brothers Holdings Inc.                       248,725
(In Creditors' Voluntary Liquidation)
 Lehman Brothers Finance Asia Pte. Ltd.            Lehman Brothers Holdings Inc.                        53,546
(In Creditors' Voluntary Liquidation)
 Lehman Brothers Finance Asia Pte. Ltd.            Lehman Brothers Holdings Inc.                      2,228,947
(In Creditors' Voluntary Liquidation)
 Lehman Brothers Finance Asia Pte. Ltd.            Lehman Brothers Holdings Inc.                        35,357
(In Creditors' Voluntary Liquidation)
 Lehman Brothers Finance Asia Pte. Ltd.            Lehman Brothers Holdings Inc.                          5,018
(In Creditors' Voluntary Liquidation)
 Lehman Brothers Finance Asia Pte. Ltd.            Lehman Brothers Special Financing Inc.           500,000,000
(In Creditors' Voluntary Liquidation)

 Lehman Brothers Investments Pte Ltd               Lehman Brothers Holdings Inc.                    450,000,000
(In Creditors' Voluntary Liquidation)
 Lehman Brothers Investments Pte Ltd               Lehman Brothers Holdings Inc.                      6,455,639
(In Creditors' Voluntary Liquidation)
 Lehman Brothers Investments Pte Ltd               Lehman Brothers Holdings Inc.                       548,660
(In Creditors' Voluntary Liquidation)
 Lehman Brothers Investments Pte Ltd               Lehman Brothers Opportunity Holdings Inc.                 410
(In Creditors' Voluntary Liquidation)
 Lehman Brothers Investments Pte Ltd               Principal Transactions Inc.                          28,611
(In Creditors' Voluntary Liquidation)
 Lehman Brothers Investments Pte Ltd               Revival Holdings Limited                                  81
(In Creditors' Voluntary Liquidation)
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                                                                   Schedule C

                                                           Allowed Singapore Claims



                                                                                                                               Allowed
                                                                                              Allowed                         Singapore
                                                                                            Claims before    Available Set-    Claims               Plan
Debtor against which Claim is Allowed           Lehman Singapore Claimant                   Setoff (USD)      off (USD)        (USD)           Classification

Lehman Brothers Holdings Inc.                  Lehman Brothers Finance Asia Pte. Ltd.          14,394,909                 0    14,394,909         Note A
                                               (In Creditors' Voluntary Liquidation)
Lehman Brothers Holdings Inc.                  Lehman Brothers Pte Ltd                          2,138,273                 0     2,138,273           4B
Lehman Brothers Holdings Inc.                  Lehman Brothers Securities Taiwan Limited          659,211          (54,687)       604,524           4B
Lehman Brothers Holdings Inc.                  Lehman Brothers Singapore Pte. Ltd.             10,605,107         (428,794)    10,176,313           4B
Lehman Brothers Holdings Inc.                  Lehman Brothers Pacific Holdings Pte. Ltd.         107,932           (5,246)       102,686           4B
                                               (In Creditors' Voluntary Liquidation)
Lehman Brothers Holdings Inc.                  Lehman Brothers Commodities Pte. Ltd.            1,176,492          (51,369)     1,125,123           4B
                                               (In Creditors' Voluntary Liquidation)
Lehman Brothers Holdings Inc.                  Lehman Brothers Finance Asia Pte. Ltd.               9,382                 0         9,382           4A
                                               (In Creditors' Voluntary Liquidation)
Lehman Brothers Holdings Inc.                   Lehman Brothers Pte Ltd                            42,210                 0        42,210           4A

Lehman Brothers Special Financing Inc.         Lehman Brothers Finance Asia Pte. Ltd.           4,266,907                 0     4,266,907           5C
                                               (In Creditors' Voluntary Liquidation)
Lehman Brothers Special Financing Inc.         Lehman Brothers Singapore Pte. Ltd.                      23                0               23        5C

Lehman Brothers Commodity Services Inc.        Lehman Brothers Commodities Pte. Ltd.            7,843,278                 0     7,843,278           5C
                                               (In Creditors' Voluntary Liquidation)
Lehman Brothers Commodity Services Inc.        Lehman Brothers Finance Asia Pte. Ltd.           1,910,000                 0     1,910,000           5C
                                               (In Creditors' Voluntary Liquidation)
Lehman Brothers Commodity Services Inc.        Lehman Brothers Singapore Pte. Ltd.                  4,192                 0         4,192           5C

Lehman Brothers Commercial Corporation         Lehman Brothers Finance Asia Pte. Ltd.          89,140,861                 0    89,140,861           5C
                                               (In Creditors' Voluntary Liquidation)

Note A: $14,332,033 is Class 8 and $62,876 is Class 4B.
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                                                      Schedule D

                                             Agreed Non-Debtor Receivables


                                                                                               Agreed Non-
                                                                                                 Debtor
                                                                                               Receivables
Non-Debtor Affiliate                              Lehman Singapore entity                        (USD)

Lehman Brothers P.A. LLC                          Lehman Brothers Singapore Pte. Ltd.                     54

Lehman Brothers (Thailand) Limited                Lehman Brothers Finance Asia Pte. Ltd.            167,677
                                                 (In Creditors' Voluntary Liquidation)
Lehman Brothers (Thailand) Limited                Lehman Brothers Singapore Pte. Ltd.                     27

Lehman Brothers Capital (Thailand) Limited        Lehman Brothers Singapore Pte. Ltd.                     21
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                                                                      Schedule E -1

                                                          Allowed Non-Subordinated US Claims



                                                                                                                                   Allowed Non-
                                                                                                  Allowed                          Subordinated
Singapore Liquidation Company                                                                  Claims before     Available Set-     US Claims
against which Claim is Allowed                    Lehman US Claimant                           Setoff (USD)       off (USD)           (USD)

 Lehman Brothers Commodities Pte. Ltd.            Lehman Brothers Holdings Inc.                       51,369           (51,369)                 0
(In Creditors' Voluntary Liquidation)
 Lehman Brothers Commodities Pte. Ltd.            Lehman Brothers Global Services Limited             33,305                  0          33,305
(In Creditors' Voluntary Liquidation)

 Lehman Brothers Finance Asia Pte. Ltd.           Lehman Brothers Global Services Limited             49,455                  0          49,455
(In Creditors' Voluntary Liquidation)
 Lehman Brothers Finance Asia Pte. Ltd.           Falcon Holdings II Inc.                              1,133                  0            1,133
(In Creditors' Voluntary Liquidation)

Lehman Brothers Asia Pacific (Singapore)          Lehman Brothers Holdings Inc.                       19,166                  0          19,166
Pte. Ltd. (In Creditors' Voluntary Liquidation)

 Lehman Brothers Investments Pte Ltd              Lehman Brothers Opportunity Holdings Inc.              409                  0               409
(In Creditors' Voluntary Liquidation)
 Lehman Brothers Investments Pte Ltd              Principal Transactions Inc.                         28,429                  0          28,429
(In Creditors' Voluntary Liquidation)
 Lehman Brothers Investments Pte Ltd              Revival Holdings Limited                                  81                0               81
(In Creditors' Voluntary Liquidation)
 Lehman Brothers Investments Pte Ltd              Lehman Brothers Holdings Inc.                  450,000,000                  0      450,000,000
(In Creditors' Voluntary Liquidation)

 Lehman Brothers Pacific Holdings Pte. Ltd.       Lehman Brothers Holdings Inc.                        5,246             (5,246)                0
(In Creditors' Voluntary Liquidation)
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                                                           Schedule E-2

                                                  Allowed Subordinated US Claims


                                                                                             Allowed
                                                                                           Subordinated
Singapore Liquidation Company                                                               US Claims
against which Claim is Allowed                          Lehman US Claimant                    (USD)

Lehman Brothers Asia Pacific (Singapore)                Lehman Brothers Holdings Inc.        365,909,347
Pte. Ltd. (In Creditors' Voluntary Liquidation)

 Lehman Brothers Investments Pte Ltd                    Lehman Brothers Holdings Inc.          6,424,896
(In Creditors' Voluntary Liquidation)
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                                                                  Schedule F

                                                      Agreed Non-Liquidation Receivables


                                                                                                                             Agreed Non-
                                                                                           Receivables                       Liquidation
                                                                                           before Setoff    Available Set-   Receivables
Singapore Non-Liquidation Company             Lehman US Entity                                (USD)          off (USD)         (USD)

Lehman Brothers Singapore Pte. Ltd.           Lehman Brothers Holdings Inc.                      428,974         (428,974)                 0

Lehman Brothers Bangkok Riverside             Lehman Brothers Holdings Inc.                           280                0             280
Development Pte. Ltd.
Lehman Brothers Bangkok Riverside             Revival Holdings Limited                                184                0             184
Development Pte. Ltd.

Lehman Brothers Securities Taiwan Limited     Lehman Brothers Holdings Inc.                       54,687          (54,687)                 0
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                                                                               Schedule G

                                                              Singapore Non-Settled Claims Against Debtors


Claimant                                 Debtor Against which                      Claim Number              Claim Amount for Voting
                                         Claim was Filed                                                     and Reserve Purposes

Sail Investor Pte. Ltd. (In Creditors’   Lehman Brothers Holdings Inc.            57868                      $48,008,782.99
Voluntary Liquidation)

Sail Investor Pte. Ltd. (In Creditors’   Lehman Brothers Holdings Inc.            57865                      $34,320.49
Voluntary Liquidation)

Lehman Brothers Investment               Lehman Brothers Commodity                48815                      $85,857.17
Consulting (Shanghai) Co., Ltd.          Services Inc.
